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Chapter 11 Debtor and Debtor-in-Possession

                         UNITED STATES BANKRUPTCY COURT
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FOR THE DISTRICT OF NEW JERSEY
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 In re:                                            Chapter 11
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 THE DIOCESE OF CAMDEN, NEW JERSEY,                Case No. 20-21257 (JNP)                  Formatted: Left, Right: 1", No widow/orphan control
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               Debtor.                                                                      Formatted: Left, Indent: First line: 0", Right: 1", No
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   SEVENTHEIGHTH AMENDED DISCLOSURE STATEMENT PURSUANT TO
 SECTION 1125 OF THE BANKRUPTCY CODE DESCRIBING SEVENTHEIGHTH                               Formatted: Left, Indent: First line: 0", Right: 1", No
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CHAPTER 11 PLAN      OF REORGANIZATION OF THE DIOCESE OF CAMDEN,                            widow/orphan control
            NEW JERSEY                                                                      Formatted: Right: 1", No widow/orphan control
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 Counsel to The Diocese of Camden, New          Counsel to the Official Committee of Tort
 Jersey                                         Claimant Creditors
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Dated: June 1, 2022




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      PLEASE READ THIS SEVENTHEIGHTH AMENDED DISCLOSURE STATEMENT          Formatted: Footer distance from edge: 0.5"
(THIS “DISCLOSURE STATEMENT”) CAREFULLY. THIS DISCLOSURE STATEMENT
CONTAINS INFORMATION THAT MAY BEAR ON YOUR DECISION TO ACCEPT OR
REJECT THE SEVENTHEIGHTH AMENDED PLAN OF REORGANIZATION (THE
“PLAN”), WHICH IS ANNEXED HERETO AS EXHIBIT A, BEING PROPOSED BY THE
DIOCESE OF CAMDEN, NEW JERSEY (THE “DIOCESE” OR THE “DEBTOR”) AND ITS
OFFICIAL COMMITTEE OF TORT CLAIMANT CREDITORS (THE “TORT COMMITTEE,”
AND COLLECTIVELY WITH THE DIOCESE, THE “PLAN PROPONENTS”).

     THE DIOCESE AND THE TORT COMMITTEE BELIEVEBELIEVES THAT THIS          Formatted: Font: Not Bold
PLAN IS IN THE BEST INTERESTS OF ALL CREDITORS AND THAT THE PLAN IS FAIR   Formatted: Font: Not Bold
AND EQUITABLE. THE DIOCESE AND THE TORT COMMITTEE URGEURGES THAT           Formatted: No widow/orphan control
CREDITORS ENTITLED TO VOTE ACCEPT THE PLAN.                                Formatted: Font: Not Bold

     FOR REASONS MORE FULLY SET FORTH HEREIN AND IN THE TORT
COMMITTEE STATEMENT (DEFINED BELOW), THE TORT COMMITTEE URGES
CLASS 5 CREDITORS TO ACCEPT THE PLAN BECAUSE THE TORT COMMITTEE
BELIEVES THAT THE PLAN IS IN THE BEST INTERESTS OF CLASS 5 CREDITORS.

     FOR REASONS MORE FULLY SET FORTH HEREIN AND IN THE TRADE
COMMITTEE STATEMENT (DEFINED BELOW), THE TRADE COMMITTEE URGES
CLASS 3 CREDITORS TO ACCEPT THE PLAN BECAUSE THE TRADE COMMITTEE
ASSERTS THAT THE PLAN IS IN THE BEST INTERESTS OF CLASS 3 CREDITORS.
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                                                   DISCLAIMER                                                      Formatted: Footer distance from edge: 0.5"


     THIS DISCLOSURE STATEMENT FOR THE PLAN OF THE DIOCESE AND
RELATED MATERIALS DELIVERED HEREWITH ARE BEING PROVIDED BY THE
DEBTORPLAN PROPONENTS TO KNOWN HOLDERS OF CLAIMS PURSUANT TO
SECTIONS 1125 AND 1126 OF THE BANKRUPTCY CODE.1

     THERE HAS BEEN NO INDEPENDENT AUDIT OF THE FINANCIAL
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT EXCEPT AS
EXPRESSLY INDICATED HEREIN.     THIS DISCLOSURE STATEMENT WAS
COMPILED FROM INFORMATION OBTAINED FROM NUMEROUS SOURCES
BELIEVED TO BE ACCURATE TO THE BEST OF THE DEBTOR’S KNOWLEDGE,
INFORMATION AND BELIEF. NO GOVERNMENTAL AUTHORITY HAS PASSED
ON, CONFIRMED OR DETERMINED THE ACCURACY OR ADEQUACY OF THE
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT.

     FOR THE CONVENIENCE OF HOLDERS OF CLAIMS, THIS DISCLOSURE
STATEMENT SUMMARIZES THE TERMS OF THE PLAN. IF ANY INCONSISTENCY
EXISTS BETWEEN THE PLAN AND THIS DISCLOSURE STATEMENT, THE TERMS
OF THE PLAN ARE CONTROLLING. NOTHING STATED HEREIN SHALL BE
DEEMED OR CONSTRUED AS AN ADMISSION OF ANY FACT OR LIABILITY BY
ANY PARTY, NOR BE ADMISSIBLE IN ANY PROCEEDING INVOLVING THE
DEBTOR OR ANY OTHER PARTY, OR BE DEEMED CONCLUSIVE EVIDENCE OF
THE TAX OR OTHER LEGAL EFFECTS OF THE PLAN ON THE DEBTOR OR
HOLDERS OF CLAIMS.     CERTAIN STATEMENTS CONTAINED IN THIS
DISCLOSURE STATEMENT, BY NATURE, ARE FORWARD-LOOKING AND
CONTAIN ESTIMATES AND ASSUMPTIONS. THERE CAN BE NO ASSURANCE
THAT SUCH STATEMENTS WILL REFLECT ACTUAL OUTCOMES.

     THE STATEMENTS CONTAINED HEREIN ARE MADE AS OF THE DATE
HEREOF, UNLESS ANOTHER TIME IS SPECIFIED. THE DELIVERY OF THIS
DISCLOSURE STATEMENT SHALL NOT BE DEEMED OR CONSTRUED TO
CREATE ANY IMPLICATION THAT THE INFORMATION CONTAINED IN THIS
DISCLOSURE STATEMENT IS CORRECT AT ANY TIME AFTER THE DATE
HEREOF.




1
    Capitalized terms used but not defined herein shall have the same meaning ascribed to such term in the Plan.
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                                          ARTICLE I.
                                        INTRODUCTION

        On the Petition Date, the Diocese commenced its bankruptcy case by filing a voluntary
petition pursuant to Chapter 11 of the Bankruptcy Code in the Bankruptcy Court. Chapter 11 of
the Bankruptcy Code allows the Debtor to propose a plan of reorganization. Since the Petition
Date, the Diocese has remained in possession of its assets and management of its mission as debtor-
in-possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code.

        The document you are reading is the Disclosure Statement for the Plan which is annexed
hereto as Exhibit A. The Plan constitutes a Chapter 11 plan of reorganization. Except as set forth
in the Plan or otherwise provided by order of the Bankruptcy Court, Distributions will occur on
the Effective Date or as soon thereafter as is practicable and at various intervals thereafter. In the
Plan Proponents’ opinions, the treatment of Claims under the Plan provides a greater recovery for
Creditors than that which is likely to be achieved under other alternatives.

       Accordingly, the Plan Proponents believe that Confirmation of the Plan is in the best
interests of all Creditors and, therefore, urge all Creditors to vote to accept the Plan.

                                     ARTICLE II.
                       PURPOSE OF THIS DISCLOSURE STATEMENT

        This Disclosure Statement summarizes what is in the Plan and tells you certain information
relating to the Plan and the process the Bankruptcy Court follows in determining whether or not
to confirm the Plan. This Disclosure Statement contains the following exhibits: (i) the Plan
(Exhibit A); (ii) Financial Projections (Exhibit B); (iii) Order Approving the Disclosure Statement
(Exhibit C); (iv) the Debtor’s liquidation analysis (Exhibit D); (v) the analysis performed by the
Debtor’s financial advisers of the value of IVCP claims (Exhibit E); and (vi) the Debtor’s analysis
of the valuation of Abuse Claims (Exhibit F).

    READ THIS DISCLOSURE STATEMENT CAREFULLY IF YOU WANT TO KNOW
ABOUT:

                (1)      WHO CAN VOTE OR OBJECT,

                (2)      THE PROPOSED TREATMENT OF YOUR CLAIM (I.E., WHAT YOUR
                         CLAIM WILL RECEIVE IF THE PLAN IS CONFIRMED), AND HOW
                         THIS TREATMENT COMPARES TO WHAT YOU WOULD RECEIVE
                         IN A CHAPTER 7 LIQUIDATION,

                (3)      THE HISTORY OF THE DEBTOR AND SIGNIFICANT EVENTS
                         DURING THE BANKRUPTCY,

                (4)      WHAT THE BANKRUPTCY COURT WILL CONSIDER WHEN
                         DECIDING WHETHER TO CONFIRM THE PLAN,

                (5)      THE EFFECT OF CONFIRMATION, AND


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                (6)      THE FEASIBILITY OF THE PLAN.

       This Disclosure Statement cannot tell you everything about your rights. You should
consider consulting your own lawyer to obtain more specific advice on how the Plan will affect
you and what is the best course of action for you.

      Be sure to read the Plan as well as the Disclosure Statement. If there are any inconsistencies
between the Plan and the Disclosure Statement, the Plan provisions will govern.

        Section 1125 of the Bankruptcy Code requires a Disclosure Statement to contain “adequate
information” concerning the Plan. The term “adequate information” is defined in section 1125(a)
of the Bankruptcy Code as “information of a kind, and in sufficient detail,” about the Debtor and
its operations “that would enable a hypothetical reasonable investor typical of holders of claims or
interests” of the Debtor to make an informed judgment about accepting or rejecting the Plan. The
Bankruptcy Court determined that the information contained in this Disclosure Statement is
adequate, and it has approved this document in accordance with section 1125 of the Bankruptcy
Code.

        This Disclosure Statement is provided to each Creditor whose Claim has been scheduled
by the Debtor or who has filed a proof of claim against the Debtor as of the date of approval of
this Disclosure Statement. Under the Bankruptcy Code, your acceptance of the Plan may not be
solicited unless you receive a copy of this Disclosure Statement prior to or concurrently with such
solicitation.

                               ARTICLE III.
             OVERVIEW OF PROPOSED TREATMENT OF ABUSE CLAIMS

        The Plan classifies Claims in various Classes, and proposes specific treatment to be
provided to all Holders of Claims in that class. This Section is meant only to provide a summary
overview of the treatment of Abuse Claims for purposes of convenience. Claimants should read
the entirety of this Disclosure Statement and the Plan before making a determination on how to
vote on the Plan.

       The Plan classifies Abuse Claims into two classes: Class 5 Abuse Claims Other Than
Unknown Abuse Claims, and Class 6 Unknown Abuse Claims. All Abuse Claims are classified
into Class 5 unless the claim was not filed by the Bar Date (defined herein) and is held by an
individual meeting certain criteria such that the individual was not required to file a claim prior to
the Bar Date.

        The Plan proposes to create a Trust to fund payments for Class 5 and Class 6 Claims
pursuant to the guidelines in the Plan and Trust Agreement. The Trust will be funded by
$87,500,000 in cash from the Debtor and Other Catholic Entities. As of the date of this Disclosure
Statement, 324 non-duplicative Class 5 Claims have been filed, which will share collectively in
the funds contributed to the Trust in accordance with the Trust Distribution Protocols. In exchange
for this contribution, the Plan proposes that the Abuse Claims against the Diocese and the Other
Catholic Entities, other than accused perpetrators of Abuse, will be channeled to the Trust and
released in accordance with the terms of the Plan and the Trust Distribution Protocols, and all


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currently pending and future causes of action against these parties will be forever barred.
Notwithstanding the foregoing, Abuse Claims will not be released or enjoined against the Covered
Parties for any Abuse that may be covered under Non-Settling Insurer Policies until such claims
are settled with the Covered Parties and their Non-Settling Insurers, or are fully adjudicated,
resolved, and subject to Final Order.

        In addition to the Diocese and Other Catholic Entity contribution, the Plan provides that
the proceeds of the Diocese’s insurance policies shall be assigned to the Trust for the benefit of
Holders of Class 5 and Class 6 Claims. The Trust will then have the responsibility for litigating
the claims against the Non-Settling Insurers at its sole cost and expense. There is no guarantee
that the Trust will be successful in this litigation in light of the defenses that the insurance
companies assert they have to these claims. The Diocese makes no representations or
warranties regarding the value of the Insurance Policies whatsoever, including, but not
limited to, any defenses the Non-Settling Insurers may have.                                            Formatted: Font: Bold


        NEW JERSEY STATE LAW LIMITS THE AMOUNT OF FEES AN ATTOREY
MAY CHARGE UNDER A CONTINGENT FEE ARRANGEMENT. THE PLAN
PROPONENTS RECOMMEND THAT EACH HOLDER OF A CLASS 5 AND CLASS 6
CLAIM         REVIEW          NEW         JERSEY         COURT      RULE     1:21-7
(https://www.njcourts.gov/attorneys/assets/rules/r1-21.pdf) TO MAKE CERTAIN THEIR
RETENTION AGREEMENT WITH THEIR ATTORNEY, IF ANY, IS CONSISTENT
THEREWITH. ANY HOLDER OF A CLASS 5 OR CLASS 6 CLAIM WITH QUESTIONS
ABOUT NEW JERSEY COURT RULE 1:21-7 SHOULD CONTACT COUNSEL FOR THE
TORT COMMITTEE FOR ADDITIONAL INFORMATION.

       The Tort Committee believes that treatment of Abuse Claims under the Plan is fair and            Formatted: No widow/orphan control
equitable and that the Plan should be approved. As a result, the Tort Committee recommends that
Abuse Claimants vote to accept the Plan.

                                     ARTICLE IV.
                              CONFIRMATION PROCEDURES

     THE BANKRUPTCY COURT HAS NOT YET CONFIRMED THE PLAN
DESCRIBED IN THIS DISCLOSURE STATEMENT. IN OTHER WORDS, THE TERMS
OF THE PLAN ARE NOT YET BINDING ON ANYONE. IF THE BANKRUPTCY
COURT LATER CONFIRMS THE PLAN, THEN THE PLAN WILL BE BINDING ON
THE DEBTOR AND ON ALL HOLDERS OF CLAIMS IN THE CHAPTER 11 CASE.

        If the Plan is confirmed, the Distributions provided for in the Plan will be in exchange for,
and in complete satisfaction, discharge and release of, all Claims against the Debtor or any of its
assets or properties, including any Claim accruing after the Petition Date and before the Effective
Date, and of currently unknown Abuse Claims. AsExcept as set forth otherwise in the Plan or
Trust Distribution Procedures, as of the Effective Date of the Plan, all Holders of Claims will be
precluded from asserting any Claim against the Debtor, the Reorganized Debtor or their assets, or
other interests in the Debtor or the Reorganized Debtor based on any transaction or other activity
of any kind that occurred before the Effective Date except as otherwise provided in the Plan.. In
addition, the Plan provides for a release and channeling injunction based on a contribution to the

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Plan by the Covered Parties and the Settling Insurers, which release shall be provided for solely as
set forth in the Plan and Trust Distribution Procedures. Notwithstanding the foregoing, Abuse
Claims will not be released or enjoined against the Covered Parties for any Abuse that may be
covered under Non-Settling Insurer Policies until such claims are settled with the Covered Parties
and their Non-Settling Insurers, or are fully adjudicated, resolved, and subject to Final Order.

           A. Requirements for Confirmation

        PERSONS OR ENTITIES CONCERNED WITH CONFIRMATION OF THIS PLAN
SHOULD CONSULT WITH THEIR OWN ATTORNEYS BECAUSE THE LAW ON
CONFIRMING A PLAN OF REORGANIZATION IS VERY COMPLEX. The following
discussion is intended solely for the purpose of alerting readers about basic confirmation issues,
which they may wish to consider, as well as certain deadlines for filing claims. The Debtor
CANNOT and DOES NOT represent that the discussion contained below is a complete summary
of the law on this topic.

        The Bankruptcy Court will confirm the Plan only if it meets all the applicable requirements
of section 1129 of the Bankruptcy Code. Among the requirements for confirmation in this Chapter
11 Case are that the Plan (a) is accepted by Impaired Classes that have the right to vote; and (b)
the Plan is feasible. The Bankruptcy Court must also find that:

                1.       the Plan has classified Claims in a permissible manner;

             2.     the Plan complies with the technical requirements of Chapter 11 of the
       Bankruptcy Code; and

                3.       the Plan has been proposed in good faith. See 11 U.S.C. §§ 1123, 1129.

           B. Persons Potentially Eligible to Vote on the Plan

        In determining acceptance of the Plan, votes will only be counted if submitted by a Creditor
whose claim is duly scheduled by the Debtor as undisputed, non-contingent and unliquidated, or
who, prior to the hearing on Confirmation of the Plan, has filed with the Bankruptcy Court a proof
of claim which has not been disallowed or suspended prior to computation of the votes on the Plan.
The Ballot Form that you received does not constitute a proof of claim. If you are uncertain
whether your Claim has been correctly scheduled, you should check the Debtor’s Schedules, which
are on file at the office of the Clerk of the Bankruptcy Court located at: United States Bankruptcy
Court, Mitchell H. Cohen U.S. Courthouse, 400 Cooper Street, Fourth Floor, Camden, New Jersey
08101. The Clerk of the Bankruptcy Court will not provide this information by telephone. The
Debtor’s Schedules are also available at https://cases.primeclerk.com/camdendiocese.

       The following are the unclassified Claims: Fee Claims, Administrative Expense Claims,
U.S. Trustee Fees, and Priority Tax Claims. Unclassified Claims are not Impaired by the Plan.
Each Holder of an unclassified Claim is conclusively presumed to have accepted the Plan and,
therefore, is not entitled to vote to accept or reject the Plan.

       Classes 7A and 7B are fully Impaired and are not receiving any Distributions under the
Plan and, pursuant to section 1126(g) of the Bankruptcy Code, are conclusively presumed to have

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rejected the Plan. Classes 2, 3, 4, 5, 6, and 8 are Impaired under the Plan and are entitled to vote
on the Plan.

           C. Solicitation and Confirmation Hearing Notice

        All Holders of Claims in Classes 2, 3, 4, 5, 6, and 8 will receive (i) notice of the
Confirmation Hearing (defined below) (the “Confirmation Hearing Notice”) and (ii) a Ballot. All
other creditors and parties in interest not entitled to vote on the Plan will receive a copy of the
Confirmation Hearing Notice and a Notice of Non-Voting Status (as defined in the Disclosure
Statement Order). Because of the significant cost of printing and mailing the Disclosure Statement
and Plan, copies of the Disclosure Statement and Plan will be available in electronic format online
at https://cases.primeclerk.com/camdendiocese.

       The Debtor’s counsel will provide a hard copy of the Disclosure Statement and Plan at the
request of any party in interest. Parties may request a hard copy of the Disclosure Statement and
Plan by contacting the Debtor’s counsel, Richard D. Trenk or Robert S. Roglieri at 973-533-1000
or by emailing them at rroglieri@trenkisabel.law.

           D. Plan Voting Procedures

        The Ballots received by Holders of Impaired Claims do not constitute a proof of claim. If
a creditor is uncertain whether its claim has been correctly scheduled, the creditor should check
the Debtor’s Schedules, which are on file at the Office of the Clerk of the Bankruptcy Court located
at: United States Bankruptcy Court for the District of New Jersey, U.S. Post Office and
Courthouse, 401 Market Street, Camden, New Jersey 08101. The Clerk of the Bankruptcy Court
will not provide this information by telephone.

      Alternatively, a creditor may obtain copies of the Debtor’s schedules on the website of
Prime ClerkKroll, LLC, the Debtor’s Claims and Noticing Agent (the “Claims and Noticing
Agent”), at https://cases.primeclerk.com/camdendiocese.

                     a. Deadline For Voting For or Against the Plan

        In order for a Ballot to count, the creditor must (1) complete, date and properly execute the
Ballot and (2) properly deliver the Ballot to the Claims and Noticing Agent by: (a) the E-Balloting
Portal; or (b) mail or overnight courier to the Claims and Noticing Agent at the following address:

                The Diocese of Camden, New Jersey Ballot Processing Center
                c/o Kroll Restructuring Administration LLC (f/k/a Prime Clerk LLC)
                830 3rd850 Third Avenue, 9th FloorSuite 412
                New York, New York 10022
                Brooklyn, NY 11232
                                                                                                        Formatted: No widow/orphan control
        The Claims and Noticing Agent must ACTUALLY RECEIVE original ballots on or
before __________ ___, 2022 at 5:00 p.m. (prevailing Eastern Time) in accordance with the
solicitation procedures approved by the Bankruptcy Court (the “Voting Deadline”). Except as
otherwise provided, you may not change your vote once the Claims and Noticing Agent receives
your ballot.

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        Any ballot that is timely received, that contains sufficient information to permit the
identification of the claimant and that is cast as an acceptance or rejection of the Plan will be
counted and will be deemed to be cast as an acceptance or rejection, as the case may be, of the
Plan.

      The following ballots will not be counted or considered for any purpose in determining
whether the Plan has been accepted or rejected:

              1.       any ballot received after the Voting Deadline, unless the Debtor, with the
       consent of the Tort Committee, grants an extension of the Voting Deadline with respect to
       such ballot or the Bankruptcy Court grants such an extension;

               2.      any ballot that is illegible or contains insufficient information to permit the
       identification of the claimant after the Debtor reaches out to the person or entity that
       submitted such Ballot for clarification;

                3.      any ballot cast by a person or entity that does not hold a Claim in a class
       that is entitled to vote to accept or reject the Plan;

               4.      any ballot cast for a Claim designated as unliquidated, contingent or
       disputed or as zero or unknown in amount and for which no Rule 3018(a) motion has been
       filed by the Rule 3018(a) motion deadline;

              5.     any ballot timely received that is cast in a manner that indicates neither
       acceptance nor rejection of the Plan or that indicates both acceptance and rejection of the
       Plan;

                 6.      any unsigned ballot; or

                 7.      any ballot that is electronically submitted other than through the E-Balloting
       Portal.

        Voting Questions. If there are any questions regarding the provisions or requirements for
voting to accept the Plan or require assistance in completing a Ballot, creditors may contact counsel
to the Debtor, Richard D. Trenk or Robert S. Roglieri at 973-533-1000 or by emailing them at
rtrenk@trenkisabel.law or rroglieri@trenkisabel.law. Class 3 Claimants may contact counsel for
the Trade Committee, John S. Mairo or Rachel A. Parisi at (973) 538-4006 or by emailing them at
jsmairo@pbnlaw.com or raparisi@pbnlaw.com. Abuse Claimants holding Claims classified in
Class 5 or Class 6 may contact counsel for the Tort Committee, Jeffrey D. Prol or Brent
Weisenberg at 973-597-2500 or by emailing them at jprol@lowenstein.com or
bweisenberg@lowenstein.com.

                      b. Acceptance of Plan

       The acceptance of the Plan by Impaired Creditors is important. In order for the Plan to be
accepted by Impaired Creditors, a majority in number (i.e., more than half) and two-thirds in dollar
amount of the Impaired Classes that vote must vote to accept the Plan. The Debtor urges that
Creditors vote to accept the Plan. CREDITORS ARE URGED TO COMPLETE, DATE,

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SIGN AND PROMPTLY RETURN THEIR BALLOT. PLEASE BE SURE TO
COMPLETE THE BALLOT PROPERLY AND LEGIBLY IDENTIFY THE EXACT
AMOUNT OF THE CREDITOR’S CLAIM AND THE NAME OF THE CREDITOR.

           E. Time and Place of the Confirmation Hearing

        The hearing at which the Bankruptcy Court will determine whether to confirm the Plan
will take place on __________ ___, 2022 at __:00 __.m. (prevailing Eastern Time) in
Courtroom 4C of the United States Bankruptcy Court for the District of New Jersey, Mitchell H.
Cohen U.S. Courthouse, 400 Cooper Street, 4th Floor, Camden, New Jersey, 08101. The
Confirmation Hearing may be adjourned from time to time by the Bankruptcy Court without
further notice, except for an announcement of the adjourned date made at the hearing.

           F. Procedure for Objections to Confirmation of the Plan

        Any objection to Confirmation of the Plan must (a) be in writing; (b) state the name and
address of the objecting party and the amount of the Claim of such party; and (c) state with
particularity the grounds for the objection. Any objection must be filed with the Bankruptcy Court
and served so as to be actually received on or before __________ ___, 2022 at 4:00 p.m.
(prevailing Eastern Time) (the “Objection Deadline”) by:

 The Debtor and Reorganized Debtor                Richard D. Trenk, Esq.                             Formatted Table
                                                  Robert S. Roglieri, Esq.
                                                  Trenk Isabel Siddiqi & Shahdanian P.C.
                                                  290 W. Mt. Pleasant Ave., Suite 2350
                                                  Livingston, New Jersey 07039
                                                  rtrenk@trenkisabel.law
                                                  rroglieri@trenkisabel.law

 The Official Committee of Tort Claimant Jeffrey Prol, Esq.
 Creditors (the “Tort Committee”)        Brent Weisenberg, Esq.
                                         Lowenstein Sandler LLP
                                         One Lowenstein Drive
                                         Roseland, New Jersey 07068
                                         JProl@lowenstein.com
                                         BWeisenberg@lowenstein.com

 The Official Committee of Trade Creditors        John S. Mairo, Esq.
 (the “Trade Committee”)                          Rachel A. Parisi, Esq.
                                                  Porzio, Bromberg & Newman, P.C.
                                                  100 Southgate Parkway, P.O. Box 1997
                                                   Morristown, NJ 07962-1997
                                                  jsmairo@pbnlaw.com
                                                  raparisi@pbnlaw.com




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    The Office of the United States Trustee                Jeffrey M. Sponder, Esq.
                                                           Lauren Bielskie, Esq.
                                                           Office of the United States Trustee
                                                           for the District of New Jersey
                                                           One Newark Center
                                                           1085 Raymond Boulevard, Suite 2100
                                                           Newark, New Jersey 07102
                                                           Jeffrey.M.Sponder@usdoj.gov
                                                           Lauren.Bielskie@usdoj.gov

    The Unknown Claims Representative                      Judge Michael Hogan (Ret.)
                                                           PO Box 1375
                                                           Eugene, OR 97440
                                                           judge@hoganmediation.net

      Unless an objection is timely filed and served, it may not be considered by the                                  Formatted: No widow/orphan control
Bankruptcy Court.

              G. Identity of Person to Contact for More Information Regarding the Plan

        Any interested party desiring further information about the Plan should contact Debtor’s
counsel, Richard D. Trenk, Esq. or Robert S. Roglieri, Esq. at Trenk Isabel Siddiqi & Shahdanian
P.C., 290 W. Mt. Pleasant Ave., Suite 2350, Livingston, New Jersey 07039, telephone (973) 533-
1000 or by emailing rroglieri@trenkisabel.law. Class 3 Claimants may contact counsel to the
Trade Committee, John S. Mairo, Esq. or Rachel A. Parisi, Esq., at Porzio Bromberg & Newman,
P.C., 100 Southgate Parkway, P.O. Box 1997, Morristown, New Jersey 07962, telephone (973)
538-4006 or by emailing them at jsmairo@pbnlaw.com or raparisi@pbnlaw.com. Class 5 or 6
Claimants may contact counsel to the Tort Committee, Jeffrey D. Prol, Esq. or Brent Weisenberg,
Esq., at Lowenstein Sandler LLP, One Lowenstein Drive, Roseland, New Jersey 07068, telephone
(973) 597-2500 or by emailing them at jprol@lowenstein.com or bweisenberg@lowenstein.com.

                                   ARTICLE V.
                    BACKGROUND AND SUMMARY OF CHAPTER 11 CASE

      A. Background of Debtor

                        a. The Roman Catholic Church

        It is a matter of faith that the Catholic Church (the “Church”)2 was founded by Jesus Christ
to carry out the mission to teach, sanctify and serve the needs of others. The Church is a worldwide
community with over 1.2 billion members who adhere to a common creed. The Code of Canon



2
 As used herein, “Church” means the universal Catholic Church (i.e., the “one, holy, catholic and apostolic church”
of Catholic belief, seated in the Vatican and headed by Pope Francis). For the avoidance of doubt, particular places
of worship are referred to herein as “churches” without capitalization.


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Law3 establishes the internal organizational structure and procedures to be followed within the
Church. Canon Law also identifies property rights and agency relationships among the various
structures within the community of the Church.

        While the Church is organized in a hierarchical structure, it is not a monolithic corporate
entity. A variety of organizations operate in ecclesiastical harmony to carry out the mission of the
Church. The Church is organized by territorial districts, the most common of which is a diocese.4
A diocese usually is defined by a geographic area and is created to serve the community of Latin
Rite Catholics present in that area. The bishop of a diocese is appointed by the Pope.5

        Within the territory of a diocese are separately constituted parishes.6 Like a diocese, a
parish usually is defined territorially.7

        “Juridic persons” are constituted pursuant to Canon Law or by a special grant of competent
authority given through a decree, and they have perpetual existence unless extinguished in
accordance with Canon Law. Juridic persons within the Church are either aggregates of persons
or things, ordered for a purpose which is in keeping with the mission of the Church. Similar to the
civil law concept of a corporation, a juridic person is distinct and separate from any natural person,
and from other juridic persons. A public juridic person is a type of juridic person that fulfills its
purposes in the name of the Church. Dioceses and parishes are separate public juridic persons in
Canon Law.8

        Each public juridic person owns all the property it has acquired. A juridic person possesses
property in order to carry out its mission to teach, sanctify and serve. These purposes are broadly
defined as the conduct of worship, the support of employees and ministers, and the works of the
apostolate.9 Canon Law requires the ownership of property to be protected by valid means under
secular civil law, and permits the formation of secular legal entities, like the Diocese and parishes
located within its ecclesiastical boundaries to hold property and conduct the business of a public


3
  Canon Law comes from several sources of Church law that together establish the internal organizational structure
and relationships among the entities and organizations that comprise the Church. Canon Law was originally codified
in 1917, and revised by Pope John Paul II on January 25, 1983. See 1983 Code of Canon Law c. 1-1752 (1983)
(“Canon Law”).
4
    Canon Law, c. 369.
5
    Id. at c. 377 § 1.
6
    Id. at c. 374.
7
    Id. at c. 515.
8
    Juridic personality is articulated in 1983 Code in canons 113-123.
9
 1983 Code c. 1254. The works of the apostolate include activities associated with easing human suffering, promoting
the general welfare, and advancing the social mission of the Church: feeding the hungry, clothing the poor, welcoming
the stranger, caring for the sick and offering education - and any other activity that can promote the good of an
individual and society.


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juridic person.

        The administration of property is the responsibility of a public juridic person’s
administrator,10 such as a diocesan bishop over the property of a diocese or a pastor over the
property of a parish. The administrator of the property of a public juridic person must exercise
this responsibility in concert with a Finance Council.11 It is a fundamental canonical understanding
that property owned by one public juridic person cannot be simultaneously owned or controlled
by another.

        The persons who populate a diocese or a parish are first of all those who are baptized and
live in communion with the successor of St. Peter (the Pope, otherwise known as the Supreme
Pontiff of the Roman Catholic Church) and those in communion with him.12 Among the baptized
are laypersons and clerics.13 Clerics are also called sacred ministers and perform many of the
liturgical services within the worship of the Church. Clerics are deacons, priests or bishops. There
are other individuals, called “Religious,” who contribute to the mission of the Church by joining
together through common life and the profession of the evangelical counsels of poverty, chastity,
and obedience.14 Religious may be either laypersons or clerics. If a Religious is not a cleric, that
person is referred to as a sister or brother.

     In the Diocese, there are 4 communities of Religious men, and 15 communities of Religious
women.

                           b. The Diocese of Camden

        Catholics who lived in New Jersey were initially the responsibility of the Diocese of
Baltimore until 1808, when South New Jersey passed under the authority of the Diocese of
Philadelphia. On August 15, 1830, Bishop Francis Kenrick dedicated the St. Mary’s Church in
Pleasant Mills, New Jersey. St. Mary’s Church was the fourth Catholic church in New Jersey and
the first in the area that makes up present-day Diocese of Camden. The first parish and school
were established at St. Mary’s, Gloucester in 1849 and 1859, respectively.

        In 1853, the Diocese of Newark was created and South New Jersey passed under the
authority of the Diocese of Newark. Catholics in the area remained under the care of the Diocese
of Newark until 1881 when the Diocese of Trenton was established.

       With continued growth in the Catholic population during the first decades of the twentieth
century, Pope Pius XI on December 9, 1937 established the Diocese of Camden. This also marked
the time that New Jersey, previously part of the ecclesiastical province of New York, became a


10
     Id. at c. 1279 § 1.
11
     Id. at c. 1280.
12
     Id. at c. 204.
13
     Id. at c. 207 § 1.
14
     Id. at c. 207 § 2.

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separate province, with the metropolitan see at Newark, which established it as an archdiocese.

        Under New Jersey Law, the Diocese is an incorporated legal entity formed pursuant to New
Jersey’s Religious Corporations Law, Title 16 of the Revised Statutes of New Jersey, with its own
corporate structure and governance, separate from the Parishes, Missions, Schools, and Catholic
Ministry Entities which are other Catholic entities within its territory. The Other Catholic Entities
are separate civil corporations, several of which predate the establishment of the Diocese, with
their own employees and which maintain their own books, records, bank accounts and employee
payrolls. These Other Catholic Entities are not debtors in this chapter 11 proceeding and have not
otherwise sought relief under the Bankruptcy Code. TheThese Other Catholic Entities listed on
Exhibits G and H are seeking releases under the Plan and for claims against them to be channeled
pursuant to the Channeling Injunction.

        The juridic person of the Diocese of Camden was canonically established on December 9,
1937. Thereafter, on June 17, 1938, a corporation was formed to constitute the Diocese of Camden
under N.J.S.A. 16:15-9 to 16:15-17. By statute, N.J.S.A. 16:15-10, the five trustees of the Diocese
are the Bishop, the Vicar General and the Chancellor and two priests of the Diocese whom they
elect.

       The Diocese serves a 6-county region in Southern New Jersey and serves 486,368 Catholic
individuals within its territory.

             B. Other Catholic Entities Located Within the Territory of the Diocese

                       a. The Parishes

        The secular legal embodiments of the Parishes extant within the Diocese are incorporated,
and function pursuant to, separate provisions of the Religious Corporation Law that provide for
the incorporation and operations of Dioceses. There are currently 62 Parishes. The Parishes are
incorporated under N.J.S.A. 16:15-1 to 16:15-8. Pursuant to N.J.S.A. 16:15-1 and 15-3. Pursuant
to New Jersey law, each of the Parish corporations is governed by a Board of Trustees comprised
of the Bishop, the Vicar General of the Diocese, the Pastor of the Parish and two lay members of
the Parish.

       Each Parish corporation owns the real and personal property that is used in its ministry.
Each Parish pays its own employees, has its own taxpayer/employer identification number, holds
its own meetings, and appoints its own councils and committees.

      As of the Petition Date, the Parishes were served by 124 active Diocesan priests, 88 retired
Diocesan priests, 31 Religious priests that reside in the Diocese, 15 extern priests15, 66 active
permanent deacons serving in the Diocese, 38 retired permanent deacons living in the Diocese,



15
  An extern priest is a priest incardinated in another diocese or institute of consecrated life who comes with the
permission of the diocesan bishop to exercise ministry in the territory of the Diocese. Incardination is the bond that
exists between a cleric and a diocese or institute of consecrated life.


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and 15 permanent deacons serving outside the Diocese.16 Deacons are men ordained for the
ministry of the word (catechetics and preaching), service to the poor, and liturgical assistance.
Deacons may preside at baptisms, officiate at marriages, and provide for the funeral rites apart
from the celebration of the Eucharist.

                         b. The Missions

        In addition, there are four “missions” within the Diocese. Three of them, Mater Ecclesiae
Chapel, Inc., Saint Yi Yun Il John Cherry Hill Korean Catholic Mission, Inc., and Saint Andrew
Kim Korean Catholic Mission, Inc. are organized and operated as nonprofit corporations in
accordance with Title 15A of New Jersey Law. These Missions are not considered to be “parishes”
under Canon Law since they serve specific communities that cross Parish boundaries. They cannot
be incorporated under N.J.S.A. 16:15-1, et seq., which only provides for the incorporation of
Catholic parishes, although their respective corporate governance structures mirror that of a Title
16 parish. The fourth mission is Padre Pio Shrine in Buena Borough, N.J., Inc., which is a non-
profit membership corporation of which the Diocese is the member.

                         c. Independent Catholic Schools (Elementary and Secondary)

       There are twenty-two (22) elementary schools operated in conjunction with the Diocese.
With the exception of the Bishop McHugh Regional School in Dennis Township in Cape May
County, each elementary school is owned by the respective parish where it is located, although
most are regional schools that serve multiple parishes. The Bishop James T. McHugh Regional
School, Inc. (Pre-K through 8th Grade), located in Cape May County, is a separate nonprofit
corporation whose trustees are ex officio the pastors of parishes in that County. Additionally, the
junior high school (7th and 8th grades) affiliated with Gloucester Catholic High School in
Gloucester City in Camden County is owned by St. Mary’s Church, Gloucester, and the pre-K-
12th grade Wildwood Catholic Academy in Wildwood, in Cape May County, is owned by Notre
Dame de la Mer Parish, Wildwood, N.J. Additionally, there are four elementary schools (three of
which are in Camden, and one of which is in Pennsauken), which are owned by Parishes but
operated by Catholic Partnership Schools, Camden, N.J., Inc.

        St. Joseph Child Development Center, Inc., which was incorporated in 2003, operates a
pre-school daycare program and facilitates early childhood education in Camden, New Jersey for
approximately 120 children ages 2½ through 6. The pastor of St. Joseph’s Pro-Cathedral is an ex
officio trustee, and the other trustees are appointed by the Bishop. The current trustees are the
pastor, Reverend Jaime Hostios, and the lay trustees: Mr. James Catrambone and Ms. Frances
Montgomery.

        There are five high schools affiliated with the Diocese. Three of these high schools are
Title 15A nonprofit corporations: (i) Camden Catholic High School located in Cherry Hill, New
Jersey (incorporated as Camden Catholic High School, Cherry Hill, N.J.); (ii) Holy Spirit High
School located in Absecon, New Jersey (incorporated as Holy Spirit High School, Absecon, N.J.);
and (iii) Pope Paul VI High School located in Haddon Township, New Jersey (incorporated as
Pope Paul VI High School, Haddon Township, N.J.). The Bishop of the Diocese is the member
16
     The statistics cited in this paragraph are as of December 31, 2019.


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of the corporation, and he appoints the trustees and certain corporate officers and has certain
reserved powers. Gloucester Catholic High School is located in Gloucester City, New Jersey; it is
part of St. Mary’s Church, Gloucester and is not separately incorporated. Wildwood Catholic
Academy (pre-kindergarten through 12th grade) is located in Wildwood, New Jersey; it is part of
Notre Dame de la Mer Parish in Wildwood and is not separately incorporated.

       While each of the Schools set forth herein are independently owned by the Parishes, except
as otherwise noted herein, these schools are subject to the general supervision of the Diocese’s
Superintendent of Schools, their budgets must be approved by the Diocese or the Bishop, and they
must comply with the Diocese’s child protection policies.

       Based on a projected census of 5,016 grammar school students for 2020-2021 and the
sending municipality’s per pupil expenditure to educate these students, a financial burden of over
$108 million would be incurred if these students were educated in public schools. These figures
do not include the students in the three grammar schools in Camden City and the one grammar
school in Pennsauken Township, which are administered by Catholic Partnership Schools.

       With respect to the high schools, based on a projected census of 2,446 high school students
for 2020-2021, and the sending municipality’s per pupil expenditure to educate these students, a
financial burden of $51.2 million would be incurred if these students were educated in public
schools. These figures do not include the students enrolled in the three private Catholic high
schools (Bishop Eustace Preparatory School in Pennsauken, Our Lady of Mercy Academy in
Newfield, and St. Augustine’s Preparatory School in Richland).

                     d. Catholic Ministry Entities

        There are several nonprofit corporations that work to carry out various ministries of the
Church within the territory of the Diocese. All the Catholic Ministry Entities were created under
the New Jersey Nonprofit Corporation law or other New Jersey organizational statutes to carry out
a variety of works of the apostolate.

       The Catholic Ministry Entities include the following:

                              i. Catholic Charities, Diocese of Camden, Inc.

       Catholic Charities, Diocese of Camden, Inc. (“Catholic Charities”) was incorporated in
2000 and assumed the operations of Catholic Social Services, Diocese of Camden. Catholic Social
Services, Diocese of Camden had been established in 1971 through the merger of Catholic
Charities of the Diocese of Camden, N.J. and Catholic Aid Society of the Diocese of Camden,
New Jersey.

        Catholic Charities is a nonprofit New Jersey corporation governed by its trustees. The
trustees include (all serving ex officio): the Bishop of the Diocese, the Vicar General of the
Diocese, and the Chancellor of the Diocese. In addition, these three trustees elect an additional
two trustees for Catholic Charities. The current ex officio trustees are Bishop Dennis Sullivan,
Reverend Robert Hughes and Reverend Jason Rocks, and the elected trustees are Sister Helen Cole
and Mr. Robert DiStanislao. The affairs, property, business, and policies of Catholic Charities are
under the charge, control and direction of the trustees.

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        Catholic Charities participates in the Church’s social mission by recognizing the inherent
dignity and worth of all people and responding with sincere Christian compassion to the corporeal
needs of the poor and marginalized. The purpose of Catholic Charities is to aid, support, advise,
and conduct, by itself or in cooperation with any religious, charitable, benevolent or education
corporation, a wide variety of human services for the benefit of all people in need within the
Diocese without regard to religious, racial, ethnic or economic background. In accordance with
Catholic Social Teaching, Catholic Charities creates programs designed to serve the most
vulnerable populations, while also guiding them towards a life of self-sufficiency. These
populations include: (i) those affected by housing and financial crises or disasters; (ii) refugees,
immigrants, and asylees; (iii) veterans and their families; (iv) those struggling with mental health
or addiction who are in need of counseling; (v) individuals looking for employment; (vi) the
incarcerated; and (vii) families considering adoption.

        Catholic Charities’ headquarters is located at 1845 Haddon Avenue, Camden, New Jersey.
In addition to its headquarters, Catholic Charities has a Family and Community Services Center in
each of the New Jersey counties within the territory of the Diocese. These are located in Westville
(Gloucester County), Atlantic City (Atlantic County), Rio Grande (Cape May County), Vineland
(Cumberland County), Bridgeton (Cumberland County), Salem City (Salem County), and Penns
Grove (Salem County). The headquarters is the Family and Community Services Center in
Camden County. Through the Family and Community Services Centers, those in need have access
to a wide array of services including food pantries, housing counseling, rental assistance, nutrition
education, thrift stores, utilities assistance, SNAP (food stamps) enrollment, and a community
resource warehouse.

       Catholic Charities employs approximately eighty (80) people and has a budget of
approximately $8 million per year. Over half of Catholic Charities’ budget is obtained from grants
from government entities. In addition, the Diocese provides approximately $3 million per year,
mainly through an annual fund-raising appeal.

         Specifically, with respect to veterans, the Catholic Charities’ Veteran Services Program is
designed to assist homeless veterans in leaving homelessness through meaningful, competitive
employment and permanent housing. The Veteran Services Program focuses a significant portion
of its time on preventing homelessness within the veteran community. Through a $1.6 million
grant from the United States Department of Veterans Affairs, Catholic Charities provides various
assistance to veterans. Catholic Charities assists homeless veterans in finding and procuring safe
and secure places to live. Approximately $500,000 of the grant from Veterans Affairs is
specifically designated for rental assistance. Catholic Charities provides up to four months of
rental assistance to qualifying veterans. These services can be provided to veterans and their
families who live at 35% of the area median income.

      Catholic Charities also receives approximately $1 million in grants from the New Jersey
Department of Community Affairs. These grants support the following homeless programs:

              a.      Homeless Prevention and Rapid Rehousing Program, which provides up to
       six months of rental assistance;

                b.       Supportive Services for Homeless People, which provides up to one month


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       of rental assistance; and

               c.    The Homeless Prevention Program, which also provides rental assistance to
       struggling families.

      In 2019, Catholic Charities served 17,143 people within the Diocese’s territory. The 2019
Annual Report is annexed to the Reverend Hughes’ Declaration at Exhibit I. [ECF 3].

       The following entities also fall under the responsibility of Catholic Charities.




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                              ii. The Diocesan Housing Services Corporation of the Diocese of            Formatted: No widow/orphan control
                                  Camden, Incorporated

       The Diocesan Housing Services Corporation of the Diocese of Camden, Incorporated
(“Diocesan Housing Services”) is a nonprofit membership corporation, which was incorporated in
2000. Diocesan Housing Services provides housing services to persons in need, including low-
and moderate-income families, the disabled, and senior citizens.

       Catholic Charities is the member of Diocesan Housing Services. The trustees of Diocesan
Housing Services are Peter O’Connor, Esq. (President), Ms. Alma Johnson (Vice President), Mrs.
Laura J. Montgomery (Secretary/Treasurer), Monsignor John Burton, Reverend Thomas Newton,
Mr. Joseph Fahy, Mr. William Murray and Reverend Walter Norris, Esq.

       In total, Diocesan Housing Services serves approximately 1,100 residents in 847 units
across 9 locations in Southern New Jersey.

                                    1. Senior Housing Services

       The Diocese is the sponsor of Shepherd’s Farm, a senior housing development located in
West Deptford in Gloucester County. The development is owned by Shepherd’s Farm Senior
Housing at West Deptford, Inc., a nonprofit corporation, a majority of whose trustees are appointed
by the Diocese.

       Diocesan Housing Services is a sponsor or developer and the manager of the following
affordable senior housing developments:

             a.       Stonegate at St. Stephen is located in Pennsauken in Camden County.
       Stonegate at St. Stephen, Inc., a nonprofit corporation, owns the development. Diocesan
       Housing Services appoints a majority of the trustees.

             b.       Haven House is located in North Cape May in Cape May County. Haven
       House at St. John of God, Inc., a nonprofit corporation, owns the development. Diocesan
       Housing Services appoints a majority of the trustees.

               c.       Village at St. Peter’s is located in Pleasantville in Atlantic County. Village
       at St. Peter’s, Inc., a nonprofit corporation, is the General Partner in the partnership which
       owns the development. Diocesan Housing Services appoints a majority of the trustees.

               d.      Benedict’s Place is located in Cherry Hill in Camden County. Benedict’s
       Place, Inc., a nonprofit corporation, is the General Partner in the partnership which owns
       the development. Diocesan Housing Services appoints the trustees.

                e.     Stonegate II is located in Pennsauken in Camden County. Diocesan
       Housing Services is the sole member of SG II MM, LLC, which is the Managing Member
       of the limited liability company which owns the development.

             f.      Victorian Towers is located in Cape May in Cape May County. Diocesan
       Housing Services is the sole member of DHSC Cape May LLC, which has a 50% interest

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        in the Managing Member of the limited liability company that owns the development.

                                       2. Other Housing Services

       Village Apartments of Cherry Hill, N.J., Inc. is a nonprofit corporation, which was
incorporated in 1981, and owns an affordable housing development for seniors and disabled
individuals located in Cherry Hill in Camden County. The trustees are the trustees of the Diocese
or individuals approved by the Diocese. The current trustees are Bishop Dennis Sullivan,
Reverend Jason Rocks, Monsignor John Burton and Reverend Joseph Szolack and Reverend
Robert E. Hughes. Diocesan Housing Services manages the property.

       Diocesan Housing Services manages Davenport Village, an affordable family housing
development located in Hainesport in Burlington County, and controls the partnership which owns
the development. The General Partner of the partnership is Domicilium Corporation, a nonprofit
corporation, which was incorporated in 2000 and whose trustees are elected by Diocesan Housing
Services. The current trustees are Reverend Walter Norris, Esq., Mr. Felix Torres-Colon, and Mr.
George Tutwiler.

       Bishop Guilfoyle Housing Fund, Inc. is a nonprofit membership corporation, which was
incorporated in 2017 and supports the work of Diocesan Housing Services. Diocesan Housing
Services is its sole member and appoints its trustees. The current trustees are Monsignor John
Burton, Monsignor Thomas Morgan, and Reverend Joseph Perreault.

       DHS Communities, Inc. is a nonprofit membership corporation, which was incorporated
in 2019 and provides housing to people with autism spectrum disorder and similar disabilities.
Diocesan Housing Services is the sole member and appoints the trustees. The current trustees are
Mr. James Reynolds, Mr. Robert Waite, and Mr. Stephen Schoch.

       The Mews at St. Mary’s LLC is currently a single-member LLC formed to develop an
affordable housing development for seniors in Monroe Township in Glocester County. Diocesan
Housing Services is the member.

                               iii. St. Mary’s Catholic Home, Delaware Township, NJ

        St. Mary’s Catholic Home, Delaware Township, NJ is a nonprofit membership corporation
that formerly operated a nursing home and residential health care facility in Cherry Hill, New
Jersey (formerly known as “Delaware Township”). The nursing home and care facility was sold
in 2015.17 Catholic Charities is the member.


17
   On December 14, 2015, the Healthcare Foundation entered into a Guaranty and Suretyship Agreement (the
“Agreement”) with Center Management Group, LLC and its affiliates (collectively, “CMG”), as the buyers of (i) St.
Mary’s Catholic Home, (ii) Bishop McCarthy Residence, and (iii) Our Lady’s Residence (collectively, the “Nursing
Homes”). Pursuant to the Agreement, the Healthcare Foundation unconditionally guaranteed and became the surety
for certain claims that may arise between CMG and the former owners of the Nursing Homes. In connection with the
Agreement, the Healthcare Foundation pledged an investment account it owns that is held at PNC Bank. The maximum
amount of the guaranty under the Agreement is $8,000,000 for years 2-8 of the Agreement. On December 14, 2023,
the Agreement will expire by its own terms.


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       The entity continues to own land in Cherry Hill, portions of which were conveyed for
Village Apartments in 1981 and for Benedicts Place in 2012. In addition, other facilities have
been constructed on this property (Sacred Heart Residence for Priests, its ancillary residences, and
a convent).18

                                  iv. Bishop McCarthy Residence, Vineland, NJ

       Bishop McCarthy Residence, Vineland, NJ is a nonprofit membership corporation that
formerly operated a nursing home and residential health care facility in Vineland, New Jersey.19
Bishop McCarthy Residence was sold in 2015. The member is Catholic Charities.

                                  v. Our Lady’s Residence, Pleasantville, NJ

       Our Lady’s Residence, Pleasantville, NJ is a nonprofit membership corporation that
formerly operated a nursing home and residential health care facility in Pleasantville, New Jersey,
which was sold in 2015. 20 The member is Catholic Charities.

                                  vi. VITALity Catholic Healthcare Services

        VITALity Catholic Healthcare Services (“VITALity”) is a department of the Diocese and
provides various healthcare services within the Diocese. VITALity began in 2015 with funding
from the Healthcare Foundation. VITALity employs approximately 30 people, including
registered nurses, social workers, chaplains and associate chaplains. VITALity is funded through
the Diocese and grants from the Healthcare Foundation. In 2019, VITALITY had annual funding
of $2,383,964, which came from the House of Charity/Bishop’s Annual Appeal ($916,105), the
Healthcare Foundation ($1,347,856), and a grant through Diocesan Housing Services ($120,000).
A copy of the 2019 Annual Report is annexed to the Reverend Hughes’ Declaration at Exhibit J.
[ECF 3]. VITALity is a department of the Diocese and is funded by the Diocese. It has no assets
other than its yearly funding by the Diocese and other grants set forth herein.

           VITALity provides the following programs and missions, amongst others:

                   a.       Staffed by registered nurses and social workers, VITALity Care
           Coordination provides assistance to individuals and families to navigate healthcare options
           and support services available. VITALity gives guidance and assistance to help access
           medical services that are needed, as well as monitor and oversee those services to evaluate
           their quality and effectiveness. The most used services through VITALity’s Care
           Coordination Programs are home health aides, insurance assistance, housing/assisted
           living, nutritional services/Meals on Wheels, utility assistance, Catholic Charities referrals,
           prescription assistance, mental health counseling, transportation and in-home medical care.
           VITALity provides assistance to individuals in completing Medicaid applications for

18
     The net proceeds from this sale were used to fund The Diocese of Camden Healthcare Foundation, Inc.
19
     The net proceeds from this sale were used to fund The Diocese of Camden Healthcare Foundation, Inc.
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     The net proceeds from this sale were used to fund The Diocese of Camden Healthcare Foundation, Inc.


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   expanded Medicaid in New Jersey. This is a long, complicated, and detailed process.

           b.     Through the Hospital Chaplaincy Program, VITALity ensures that all
   parishioners have timely access to Catholic Chaplains when hospitalized. Priest chaplains
   are partnered with deacons, religious sisters or lay ministers, as associate chaplains to
   administer pastoral care to patients, families and hospital staff. The chaplaincy team helps
   in coordinating the visits of parish Extraordinary Ministers of the Eucharist; maintaining
   communication with the local parishes and pastors to inform them of parishioners that are
   hospitalized; and assisting patients being discharged to access other health-related services.
   Through the Hospital Chaplaincy Program, VITALity gave the following care in 2019:

                     1. Pastoral care visits with patients: 128,863

                     2. Pastoral care visits with staff and families: 14,276

                     3. Holy Communion distributed: 68,625

                     4. Sacrament of the Sick administered: 4,563

                     5. Pastoral care hours by chaplains and associate chaplains: 25,116

            c.      Ministry to Persons with Disabilities, which facilitates access to spiritual
   development for persons with disabilities. The Ministry works to evangelize and serve
   persons with disabilities in the Diocese, so that they may be affirmed in all aspects of their
   faith life and reach their full potential as baptized members of the Church. In this regard,
   VITALity assists families in finding transitional care after persons with disabilities age out
   of the education system and assist families in applying for state aid and grants.

           d.      Ministry of the Deaf, which facilitates access to spiritual development for
   the deaf. The Ministry works to evangelize and serve the deaf in the Diocese of Camden,
   so that they may be affirmed in all aspects of their faith life and reach their full potential
   as baptized members of the Church. VITALity provides for a special mass each Sunday
   for deaf individuals. In addition, VITALity establishes programs in the Parishes to provide
   opportunity for deaf individuals to gather in social environments.

           e.      Parish Nurses Program, which provides parishioners ongoing access to
   trained registered nurses at their parish. These nurses can screen, educate, and coordinate
   care needs, all with an added spiritual dimension, allowing seniors and those dealing with
   health challenges, to stay healthy and more effectively deal with chronic medical
   conditions in order to remain safe and independent at home, while continuing to be a vital
   part of their community. The parish nurse ministries sponsor programs such as “Opioid
   Prevention and Awareness”, “Alzheimer’s Awareness”, and “The Dangers of Vaping”. In
   addition, VITALity works to ensure that each Parish has an AED in all facilities for
   emergencies.

          f.     The Resource and Referral Help Line (1-888-26VITAL) is available 24/7
   and provides information on programs and services within the parish or community to
   address pertinent issues related to aging and disability. Callers are connected to the

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       resource they need to provide appropriate care and support. Live email chats also provide
       additional access and a means to connect with VITALity staff.

               g.     With the support of VITALity, three Parishes provide daily programs for
       physical activity, nutritious meals, social interaction and recreation, spiritual exercises
       along with health screening and monitoring for the elderly. VITALity currently supports
       the three Senior Social Day Centers: (i) “The Renaissance Center Senior Ministry” at St.
       Andrew the Apostle in Gibbsboro, New Jersey; (ii) “Prime Timers” at Church of the
       Incarnation in Mantua, New Jersey; and (iii) “Golden Slippers Senior Ministry at St. Simon
       Stock in Berlin, New Jersey. VITALity assists the Parishes in organizing senior day
       centers, including providing grants for renovations to Senior Day Centers areas of the
       Parish and ensuring there is appropriate programming and activities. VITALity also
       provides a grant for 50% of the salary of the director for each Senior Day Centers up to
       $16,000 per year. While the Senior Day Centers were closed due to COVID-19, isolation
       for seniors was even more pronounced, with individuals confined to their own homes and
       separated from their loved ones. As a result, VITALity continued to ensure that seniors
       were provided with social activities and, in this regard, supported the Renaissance Center
       in having weekly Zoom meetings for its seniors. The weekly sessions lasted approximately
       two hours, with the first hour devoted to Bible study or a fun activity like trivia, while the
       second half of the meetings are time to chat amongst themselves. Prior to COVID-19, the
       Senior Day Centers served approximately 60-100 seniors each.

               h.       The Stephen Ministry is a program through which selected parishioners of
       a parish are trained and organized to help provide one on one confidential Christian care to
       parishioners of parishes and communities. Trained Stephen Ministers are paired with
       individuals in order to help them through any crisis, including the loss of a loved one,
       divorce, grief, terminal illness, loss of job, hospitalization, loneliness, being a caregiver to
       a loved one, and other stresses and challenges. Stephen Ministers receive at least 50 hours
       or training through the Stephen Ministry International Christian program or from “Stephen
       Leaders” within the Parish. Currently, there are 15 Stephen Ministry Parishes with 36
       trained “Stephen Leaders” and 295 trained “Stephen Ministers,” all of whom are
       volunteers.

         Even during COVID-19 and the subsequent lockdown orders, VITALity has continued to
provide assistance to the community. From January 1 through July 31, 2020, VITALity provided
for: (i) 613 intakes, compared to 585 during the same time period in 2019; (ii) 486 in person visits
by a nurse or social worker, compared to 705 during the same time period in 2019; and (iii) 1,124
phone consultations by a nurse or social worker, compared to 425 during the same time period in
2019. In total, VITALity has served approximately 4,000 persons from January 1, 2020 through
July 31, 2020.

       In addition, VITALity has approximately 2,000 participants in its “Life to the Fullest”
program, which is a health and well-being membership program. “Life to the Fullest” is a free
program available to all residents 65 and older. As a member, participants receive quarterly
newsletters with upcoming events, health topics and information about VITALity programs.

                              vii. Other Ministry Entities

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        The Diocese is also affiliated with the following entities. To the extent that they have or
are the beneficiaries of any assets, the Diocese asserts that such assets belong to or are solely to
the benefit of a separately incorporated entity, in which entity the Diocese has no legal interest,
are not assets of the estate, and are not available for distribution under a plan of reorganization.

                                 a.        Sacred Heart Residence for Priests, Inc.: Sacred Heart
                         Residence for Priests, Inc. is a nonprofit corporation that was incorporated
                         in 1996 to provide accommodations for retired priests. The three trustees
                         are, ex officio, the Bishop for the Diocese, the Vicar General of the Diocese,
                         and the Vicar for Priests. The current trustees are Bishop Dennis Sullivan,
                         Reverend Robert Hughes, and Reverend Nicholas Dudo.

                                 b.     Catholic Business Network of South Jersey, Inc.: Catholic
                         Business Network of South Jersey Inc. is a nonprofit membership
                         corporation that was incorporated in 2016 and is intended to strengthen and
                         support the application of faith and charity in the marketplace. The Bishop
                         of the Diocese is the member.

                                c.       The Catholic-Jewish Commission of Southern N.J.,
                         Incorporated: The Catholic Jewish Commission of Southern N.J.,
                         Incorporated is a nonprofit membership corporation that was incorporated
                         in 2002 and is intended to promote communication between the Jewish and
                         the Catholic communities. The members are the Jewish Federation of
                         Southern New Jersey and the Diocese.

                                 d.      The Catholic Star Herald: The Catholic Star Herald is a
                         nonprofit corporation that was incorporated in 1951 to publish newspapers,
                         journals, magazines and books. It publishes thirty-six issues per year. The
                         Bishop, the Vicar General, and the Chancellor are ex officio trustees and
                         they elect two priests as the other trustees. The ex officio trustees are Bishop
                         Dennis Sullivan, Reverend Robert Hughes, and Reverend Jason Rocks. The
                         elected trustees are Reverend Monsignor John Burton and Reverend Joseph
                         Szolack.

                                 e.     The Collegium Center for Faith and Culture: The
                         Collegium Center for Faith and Culture is a nonprofit membership
                         corporation that was incorporated in 1994 to engage in evangelization, and
                         spiritual and moral formation. Since 2003, the Diocese has been the
                         member.

                                 f.      The Camden Center for Law and Social Justice: The
                         Camden Center for Law and Social Justice (i) provides direct legal services
                         to poor or moderate-income individuals and families in the City of Camden
                         and its environs; (ii) promotes justice for all under the law through
                         education, cooperation with other legal service providers, and litigation of
                         wide impact; and (iii) brings together individuals and agencies to advocate
                         for social justice and the vindication of individual rights through the law.


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                         The Diocese supports approximately 9-12% of its budget each year with the
                         remainder of its income is obtained from government grants, direct
                         donations, and fees.

                                 g.       Guadalupe Family Services, Inc.: Guadalupe Family
                         Services, Inc. (“GFS”) was incorporated in 1995 with the belief that the
                         complex needs of urban family life in North Camden must be better served.
                         From its offices in North Camden, GFS offers clinical counseling and direct
                         social services focusing on families in distress. These services are offered
                         with particular sensitivity to the cultural needs of the community. GFS
                         directly serves one thousand persons annually.

           C. Diocese of Camden Trusts, Inc.

        Diocese of Camden Trusts, Inc. (“DOC Trusts”) is a separately incorporated non-profit
corporation, formed in 2001, and is more fully described in Reverend Hughes’ Declaration. DOC
Trusts is organized for the purpose of assisting the Diocese in fulfilling its religious, charitable and
educational mission by providing funding for education, religious personnel development, health
care needs, canonically required offices and long-term capital needs.

       At the time of its formation, the Debtor was the sole member of DOC Trusts. Currently,
the Bishop of the Diocese is the member. The current trustees of DOC Trusts are Monsignor
Thomas Morgan, Judge Joseph Rodriguez, and Kenneth J. Bossong, Esq. The Board of Trustee
of DOC Trusts is responsible for the overall governance of DOC Trusts. The Board of Trustees of
DOC Trusts are fiduciaries to DOC Trusts. When the Diocese seeks funds from DOC Trusts, such
requests are required to be reviewed and approved by the Board of DOC Trusts before any
disbursement can be made.

       The Board of Trustees of DOC Trusts is assisted by the Diocese’s Investment Committee
with respect to the investment of the DOC Trusts’ assets. All of the investments are managed
based on the Diocese of Camden Trusts, Inc. Statement of Investment Policies and Objectives.

        The investments of DOC Trusts are administered by Cobble Hill Financial Services, Inc.
(“Cobble Hill”), which acts as the investment consultant and advisor for the Diocese and DOC
Trusts.

        As set forth below, DOC Trusts has pledged certain of its investment accounts as collateral
for the Diocese’s line of credit with PNC Bank, National Association (“PNC”). The value of DOC
Trusts was $110,025,286 as of September 30, 2021. These assets are subject to market
fluctuations.

           D. The Revolving Fund

      The Diocese holds cash and investments in the following accounts (collectively, the
“Revolving Fund”):

             a.    PNC Bank NA as Custodian under agreement dated 12/12/11 for Diocese
       of Camden CHFS – Revolving Fund;

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             b.     PNC Bank NA as Custodian under agreement dated 12/12/11 for Diocese
       of Camden Stock CHFS;

             c.    PNC Bank NA as Custodian under agreement dated 12/12/11 for Diocese
       of Camden CHFS - Targeted General;

             d.    PNC Bank NA as Custodian under agreement dated 12/12/11 for Diocese
       of Camden CHFS - Treasury General; and

             e.    PNC Bank NA as Custodian under agreement dated 12/12/11 for Diocese
       of Camden CHFS – Investment Fund General.

        The Diocese, as trustee, holds and invests certain funds for the Other Catholic Entities in
the Revolving Fund. The Diocese holds these cash and investments in the Revolving Fund for the
Parishes pursuant to trust agreements (collectively, the “Parish Trusts”). As set forth above, each
Parish is separately formed and incorporated under civil law, and holds a significant portion of its
cash and investments in the Revolving Fund.

        Each of the parish trust agreements (collectively, the “Parish Trust Agreements”) are
identical. The Diocese has operated in conformance with the Parish Trust Agreements. All Parish
assets are separate and distinct from the Diocese assets and fully accounted for in such a manner.
These accounts are managed by Cobble Hill and are in the custody of PNC.

           E. Other Foundations and Investments

                     a. The Diocese of Camden Healthcare Foundation

       The Diocese of Camden Healthcare Foundation, Inc. (the “Healthcare Foundation") is a
separate legal entity from the Diocese, formed in 2015, and is more fully described in Reverend
Hughes' Declaration. [ECF 3, ¶ 101]. The Healthcare Foundation assists in funding the
development, implementation and ongoing support of healthcare programs.

       The Bishop of the Diocese is its member. The current trustees are Mary Bettina Kemps,
R.N., Judge Donald Smith, and Reverend Monsignor Peter M. Joyce.

       The Board of Trustees of the Healthcare Foundation is responsible for the overall
governance of the Healthcare Foundation. All of the investments are managed based on the
Diocese of Camden Healthcare Foundation, Inc. Statement of Investment Policies and Objectives
and are managed by the Investment Committee.

        The investments of the Healthcare Foundation are administered by Cobble Hill, which acts
as the investment consultant and advisor for the Healthcare Foundation.

        The Foundation’s assets are the result of an assignment of the net proceeds of the purchase
price of the sale of the Nursing Homes in 2015 pursuant to the Order and Opinion of the Honorable
Deborah Silverman Katz, Assignment Judge. The Nursing Homes were sold by the following
entities: (i) St. Mary’s Catholic Home, Delaware Township, N.J., Inc.; (ii) Bishop McCarthy
Residence, Inc.; and (iii) Our Lady’s Residence, Pleasantville, N.J., Inc. (collectively, the “Nursing

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Home Entities”). As part of the transaction, $10 million must remain in an account with PNC (the
“Control Account”) until December 14, 2023 as a guarantee of certain covenants in the transaction.

        Prior to the sale of the Nursing Homes, Catholic Charities was the sole member of each of
the Nursing Home Entities. At the time of the sale, the Diocese had no legal interest in those
entities. This is confirmed by the cy pres order entered by Judge Katz, which states that “Catholic
Charities . . . is the sole member and owner of the three (3) nursing home facilities . . . .” See In
the Matter of Approval of the Sale of the Assets of St. Mary’s Catholic Home Delaware Township,
New Jersey, our Lady’s Residence, Pleasantville, N.J. d/b/a Our Lady’s Multi-Care Center, Inc.
and Bishop McCarthy Residence to Center Management Group, LLC, Docket No. CAM-L-4377-
15 (N.J. Super. Ct. Law Div. Camden Cty. Dec. 3, 2015) (the “Cy Pres Action”).

        The Superior Court of New Jersey found in the Cy Pres Action that the continued operation
of the Nursing Homes was financially unsustainable due to the decreased occupancy and the
negative financial impact from the reduced per diem levels currently provided by Medicaid. Id. at
9. The Court further found that “Petitioner’s request to deposit net consideration from the sale of
the facilities to the Camden Diocese Healthcare Foundation is appropriate, as its overriding
purpose is to remain ‘responsible to the needs of God’s most vulnerable people and their families,
by delivering care where people are most comfortable and best able to receive it – at home and
within their community.’” Id. at 15.

       As described below, two of the three facilities were owned by the Diocese at some point;
however, much like the DOC Trusts, all such transfers are beyond that statute of repose set forth
in N.J.S.A. 25:2-31 and the only possible way that such transfers could be avoided would be
through an actual fraudulent transfer articulated in N.J.S.A. 25:2-25(a), which is impossible as
described below.

        Saint Mary’s Catholic Home was transferred from the Diocese to Catholic Charities of the
Diocese of Camden, Inc. in 1940. Given the fact that such transfer is greater than 80 years old and
Saint Mary’s Catholic Home continued its charitable mission for more than 75 years following the
transfer from the Diocese, the Diocese believes that it is extremely unlikely that any fraudulent
transfer claim exists regarding the transfer of Saint Mary’s Catholic Home. Our Lady’s Residence
was never owned by the Diocese. It was originally acquired in 1966 by Catholic Charities of the
Diocese of Camden, a nonprofit corporation. Accordingly, the Diocese has no grounds to avoid
any transfer not related to the Diocese.

        The Diocese transferred Bishop McCarthy Residence to a newly formed Bishop McCarthy
Residence, Inc. on May 21, 2015. Such transfer was recorded in the Cumberland County Clerk’s
Office on May 29, 2015. The transfer was completed in order to effectuate the ultimate transfer of
the Nursing Homes to Center Management Group, LLC as described in the Cy Pres Action. The
Diocese does not believe that it would be successful in any cause of action related to the 2015
transfer of Bishop McCarthy Residence for many of the reasons set forth with respect to the DOC
Trusts. Additionally, it is important to consider that through the sale of the Nursing Homes, the
Diocese received repayment of $8,653,326.00 in debt due from the Nursing Home Entities to the
Diocese. This repayment was likely impossible without the sale of the Nursing Homes when
considering the Nursing Homes’ financial difficulties.



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        The value of the Healthcare Foundation’s assets was $46,452,908 as of September 30,
2021. The Diocese contends the assets of the Healthcare Foundation are protected trust funds,
assets of a separately incorporated entity of which the Diocese has no legal interest, not assets of
the Diocese, and not available for distributions under a plan of reorganization.

                     b. Special Gifts Account

       In addition to the Revolving Fund accounts set forth above, the Diocese holds certain
investments in an account titled “PNC Bank NA as Custodian under agreement dated 12/12/11 for
Diocese of Camden CHFS - Special Gifts” (the “Special Gifts Account”). The Special Gifts
Account holds certain donor restricted funds. In addition, the Special Gifts Account holds funds
on behalf of certain foundations and entities that support the mission of the Diocese. These
foundations include, but are not limited to, the following:

                              i. The Frank J. and Rosina W. Suttill Catholic Foundation

         The Frank J. and Rosina W. Suttill Catholic Foundation (the “Suttill Foundation”) is a
nonprofit membership corporation and was incorporated in 1972. The principal purpose of the
Suttill Foundation is to provide a scholarship program for students from Camden to attend college.

        The members are the Bishop of the Diocese, the Vice President of the Diocesan
Corporation, and an individual selected by the Diocese. The current members are Bishop Dennis
Sullivan, Reverend Robert Hughes, and Reverend Joseph Szolack. There are two Priest Directors
(trustees) and one Lay Director (trustee) who are appointed by the Bishop. The current directors
are Reverend Joseph Szolack, Reverend Robert Hughes, and Mrs. Laura J. Montgomery.

       The value of the Suttill Foundation’s assets was $2,660,321 as of September 30, 2021. The
Diocese asserts the assets of the Sutill Foundation are protected trust funds, assets of a separately
incorporated entity of which the Diocese has no legal interest, not assets of the Diocese, and not
available for distribution under a plan of reorganization.




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                     c. Other Investment Accounts

       The Diocese holds certain funds on behalf of other separately incorporated entities in
investment accounts with PNC Bank. These are:

                               i. The Tuition Assistance Fund, Inc.

       The account is titled “DOC Tuition Assistance Fund” and held at PNC Bank as
custodian. The Tuition Assistance Fund, Inc. (the “Tuition Fund”) is a nonprofit membership
corporation that was incorporated in 1980. The Tuition Fund provides tuition assistance to needy
families whose children attend schools affiliated with the Diocese. The members are, ex officio,
the Bishop of the Diocese, the Vicar for Administration, and the Chancellor of the Diocese. The
current members are Bishop Dennis Sullivan, Reverend Robert Hughes and Reverend Jason
Rocks. In addition, there are five trustees: (i) the Bishop or his designee; (ii) the Superintendent
of Catholic Schools or his/her designee; and (iii) three trustees elected by the members.

       The value of the Tuition Fund’s assets was $1,376,681 as of December 31, 2021. The
Diocese asserts the assets of the Tuition Fund are protected trust funds, assets of a separately
incorporated entity of which the Diocese has no legal interest, not assets of the Diocese, and not
available for distribution under a plan of reorganization.

                              ii. The Sharkey Family Charitable Trust

       The account is titled “DOC CHFS Sharkey Trust” and held at PNC Bank as custodian. The
Sharkey Family Charitable Trust” (the “Sharkey Family Trust”) was established in 1988 to
contribute to Catholic organizations and engage in activities supported by the Church.

      The Sharkey Family Trust regularly provides scholarships for students in Catholic
secondary schools. There are three trustees, two of whom are appointed by the Bishop of the
Diocese, and the third of whom is elected by the two appointed trustees. The current trustees are
Reverend Robert Hughes, Reverend Jason Rocks, and Mrs. Laura J. Montgomery.

       The value of the Sharkey Family Trust’s assets was $2,692,240 as of December 31, 2021.
The Diocese asserts the assets of the Sharkey Family Trust are protected trust funds, assets of a
separately incorporated entity of which the Diocese has no legal interest, not assets of the Diocese,
and not available for distribution under a plan of reorganization.

                              iii. James and Johanna Guilfoyle Trust

         The James and Johanna Guilfoyle Trust was established under the November 16, 1990 Last
Will and Testament of Bishop Guilfoyle. Bishop Guilfoyle died on June 11, 1991. The account
is titled “DOC CHFS Guilfoyle Trust” and held at PNC Bank as custodian.

       The value of the Guilfoyle Trust’s assets was $1,517,094 as of December 31, 2021. The
Diocese asserts the assets of the James and Johanna Guilfoyle Trust are protected trust funds, assets
of a separately incorporated entity of which the Diocese has no legal interest, not assets of the
Diocese, and not available for distribution under a plan of reorganization.


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           F. The Debtor’s Management

                     a. Background of the Most Reverend Dennis J. Sullivan

      The Most Reverend Dennis J. Sullivan, D.D. was appointed as the eighth Bishop of the
Diocese by Pope Benedict XVI on January 8, 2013 and was installed as Bishop on February 12,
2013.

        Bishop Sullivan was born in the Bronx on March 17, 1945. He was educated at St. Anthony
Parish Elementary School and Mount St. Michael Academy in the Bronx. Thereafter, Bishop
Sullivan attended Iona College in New Rochelle, New York, but left after his second year to enter
St. Joseph’s Seminary in Yonkers, New York. There, Bishop Sullivan earned a bachelor’s degree
in 1967 and a Master of Divinity in 1970.

       Bishop Sullivan was ordained a priest for the Archdiocese of New York in 1971. From
1971 to 1981, he served as assistant pastor at the Parish of St. Elizabeth’s Church in Manhattan,
the Church of the Ascension in Manhattan, and Saints Philip and James Church in the Bronx.
From 1982 to 2002, he was assigned to St. Teresa’s Church in Manhattan, and from 2002 to 2004
he was assigned to Saints John and Paul Church in Larchmont, New York.

       Bishop Sullivan also was ordained as an Auxiliary Bishop for the Archdiocese of New
York in 2004 and served eight years as Vicar General of the Archdiocese under Cardinal Timothy
Dolan, and the late Cardinal Edward Egan.

      In 1999, the Bishop was named a Prelate of Honor to His Holiness (with the title
“Monsignor”). Throughout his ministry, Bishop Sullivan has served on a variety of boards and
committees, including:

              a.    The Presbyteral Council of the Archdiocese of New York as representative
       of South Manhattan priests;

                b.       The Lower East Side Catholic Area Conference, a pastoral agency;

                c.       The Inter Parish Finance Committee, which assists poor parishes;

                d.       Cabrini Immigrant Services;

             e.     Immigrant Social Service, Inc., an agency that provides services for Asian-
       American youth;

             f.     Two Bridges Neighborhood Association, which built 2,200 moderate
       income apartments;

               g.     The Catholic Campaign for Human Development Committee, which is part
       of the United States Conference of Catholic Bishops for a two-year term; and

              h.      At the United States Catholic Conference of Bishops, as the representative
       of Region II to the Committee for the Protection of Children and Young People.


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        In March 2020, pursuant to Canon Law, when Bishop Sullivan became 75 years old, he
submitted his resignation to the Vatican. No action has been taken and Bishop Sullivan continues
to serve.

                      b. Background of Reverend Robert E. Hughes

       The Reverend Robert E. Hughes is the Vicar General of the Roman Catholic Diocese of
Camden and the Vice President of the civil corporation, The Diocese of Camden, New Jersey. He
has served in such capacity since December 3, 2013.

        He was raised within the territory21 of the Diocese, having lived in West Berlin, New Jersey
and Voorhees, New Jersey. In 1981, he graduated from Paul VI High School in Haddonfield, New
Jersey, one of the high schools affiliated with the Diocese.

        Following high school, he attended La Salle University in Philadelphia, PA for two years
to study pre-med before entering the seminary. He was assigned to St. Pius X Seminary in Dalton,
Pennsylvania. He graduated from the University of Scranton in 1985 with a Bachelor of Arts in
Philosophy.

        Thereafter, he attended the Pontifical North American College in Rome, Italy, where he
studied for five years, receiving the equivalent of a Master’s Degree in Sacred Theology from the
Pontifical University of St. Thomas in Rome in 1988. In 2001, he also received a Master’s Degree
in Education from Seton Hall University.

        On August 4, 1990, he was ordained by the Most Reverend James T. McHugh at the
Cathedral of the Immaculate Conception in Camden, New Jersey. On that same date, he was
assigned to Holy Saviour Church in Westmont, New Jersey by Bishop McHugh as an assistant
pastor. He served in that capacity until July 2, 1996, when he was assigned to St. Francis de Sales
Church in Barrington, New Jersey. From August 14, 1999 to June 20, 2000, he was assigned to
St. Mary’s Church in Gloucester City, New Jersey. From June 20, 2000 through June 17, 2002,
he was assigned to Mary, Mother of the Church in Bellmawr, New Jersey. Thereafter, from
June 17, 2002 through July 5, 2003, he served as the Parochial Vicar in Residence for St. Thomas
More Church in Cherry Hill, New Jersey. From July 5, 2003 through February 1, 2014, he served
as Pastor of the Church of the Holy Family in Washington Township, Gloucester County.

       In addition, from July 2, 1996 through 1999, he served as a Religion and Latin teacher and
the chairperson of the Religion Department at Paul VI High School. Thereafter, on August 26,
1999, he was appointed the Vice Principal of Gloucester Catholic High School.

        On October 10, 2001, he was appointed the President of Paul VI High School. In that
capacity, he administered the School in conjunction with the Principal until 2003. In 2005, he was
again appointed as the President of Paul VI High School and served in that capacity for two three-
year terms.

        In addition to his roles as a Pastor and school administrator during this time period,

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  The territory of the Diocese is coextensive with the following six (6) counties: Atlantic, Camden, Cape May,
Cumberland, Gloucester, and Salem.

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Reverend Hughes served as the Vicar for Pastoral Life for the Diocese from January of 2003
through January of 2006 and as a Consultant to the College of Consultors from September of 2009
through November of 2011. He also served on the Diocesan Liturgical Commission, the
Continuing Education & Spiritual Formation of Priests Committee, the Liturgical Art &
Architecture Committee, the Priest Personnel Board and the Presbyteral Council.

        On August 16, 2011, Reverend Hughes was appointed as the Chancellor of the Diocese.
Reverend Hughes was appointed as the Vicar General on December 3, 2013. The Vicar General
is essentially the chief operations officer of the Diocese. All departments within the Diocese report
to him. On a regular basis, he oversees the Diocesan operations, the cemeteries, housing, charitable
activities of the Diocese, and relationships with the parishes, schools, housing operations and
Catholic Charities. As Vicar General, he serves these various ministries and programs within the
Diocese in any way possible as the need arises.

                     c. Professional Background of Laura J. Montgomery

     Laura J. Montgomery is the Diocesan Finance Officer and the Bishop’s Delegate for
Temporalities for the Diocese.

       In 1985, Ms. Montgomery graduated from Drexel University with a Bachelor of Science
in Business Administration focused on accounting. In 1998, she successfully completed the
Uniform Certified Public Accountant Examination.

        Ms. Montgomery has nearly 30 years of experience working in finance and accounting
roles for non-profit organizations. From June 1996 to August 2001, she was the Director of
Accounting Services for the Archdiocese of Philadelphia after having worked as Assistant
Treasurer and in other financial positions beginning in November 1990. From August 2001
through January 2004, she was the Controller for Project H.O.M.E., a non-profit organization that
focuses on breaking the cycle of homelessness and poverty and alleviating the underlying causes
of poverty.

        In January 2004, Ms. Montgomery became the Controller for Catholic Charities, Diocese
of Camden, Inc. and The Diocesan Housing Services Corporation of the Diocese of Camden,
Incorporated and later added four nursing homes associated with the Diocese. In 2015, she became
the Director of Finance for the Diocese of Camden. In 2018, she became the Chief Financial
Officer and Diocesan Finance Officer and Bishop’s Delegate for Temporalities of the Diocese.
The position of Finance Officer is established under Can. 494 §1 of Canon Law, which requires:
“every diocese, after having heard the College of Consultors and the Finance Council, the Bishop
is to appoint a Finance Officer who is truly expert in Financial affairs and absolutely distinguished
for honesty.”

           G. Retirement Programs

       The Diocese administers several retirement programs for the priests and lay employees of
the Diocese.




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                      a. Pension Plan for Priests of the Diocese of Camden

        As part of its retirement programs, the Diocese has a Pension Plan for Priests of the Diocese
of Camden (the “Priest Pension Plan”). The Priest Pension Plan is a non-contributory defined
benefit plan covering all incardinated priests in good standing of the Diocese. The Priest Pension
Plan qualifies as a church institution under the Internal Revenue Code and is, therefore, not subject
to the provisions of the Employee Retirement Income Security Act of 1974 (ERISA), nor are the
Priest Pension Plan’s benefits guaranteed by the Pension Benefit Guarantee Corporation. The
Priest Pension Plan is exempt from federal income tax under provisions of Section 501(c)(3) of
the Internal Revenue Code. The Priest Pension Plan is covered under Code Section 414(e) -
Church Plans.

        Priests who serve in a Diocesan assignment for at least 25 years begin receiving benefits
upon retirement with approval from the Ordinary of the Roman Catholic Diocese of Camden.
Priests with less than 25 years, but at least 10 years of service receive a reduced benefit upon
retirement. Under the Priest Pension Plan, normal retirement age is 70 with mandatory retirement
at age 75. The Priest Pension Plan permits early retirement at age 65 due to permanent mental or
physical disability, or with the approval of the Bishop.

        Retired priests received $2,340 per month for the years ended June 30, 2021and 2020 if
they live outside a rectory or Diocesan facility. If the priest lives in a rectory or a Diocesan facility,
the monthly benefit to the participant was $1,408 for the years ended June 30, 2021 and 2020,
respectively, with the difference being paid each month to the parish or Diocesan facility providing
residence. If a priest receives a pension benefit from another source, the monthly benefit is reduced
by the amount of the outside benefit.

         Contributions to the Priest Pension Plan are assessed by the Diocese to the Parishes and
affiliated organizations being served by priests in a Diocesan assignment. For the years ended
June 30, 2021 and 2020, the amount assessed on behalf of each priest was $7,350. As of the filing
date, this plan was not fully funded.

        The value of the Priest Pension Plan and the Priest Post-Retirement Plan (defined below)
was $ 28,794,406.73 as of June 30, 2021. This amount is subject to fluctuation. The Priest Pension
Plan and the Priest Post-Retirement Plan are combined investments. The Diocese asserts that these
assets are protected pension trust funds, not assets of the Diocese, and not available for
distributions under a plan of reorganization.

                      b. Pension Plan for Certain Lay Employees of the Diocese of Camden

        As part of its retirement programs, the Diocese has a Pension Plan for Certain Lay
Employees of the Diocese of Camden (the “Lay Pension Plan”). The Lay Pension Plan is a non-
contributory defined benefit plan covering certain employees of the Diocese and affiliated
organizations designated by the Diocese as entitled to adopt the Lay Pension Plan. The Lay Pension
Plan qualifies as a church institution under the Internal Revenue Code and is, therefore, not subject
to the provisions of the Employee Retirement Income Security Act of 1974 (ERISA), nor are the
Lay Pension Plan’s benefits guaranteed by the Pension Benefit Guarantee Corporation. The Lay
Pension Plan is exempt from federal income tax under provisions of Section 501(c)(3) of the


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Internal Revenue Code. The Plan is covered under Code Section 414(e) - Church Plans.

        An employee became eligible to participate in the Lay Pension Plan after age 21 and
completing one full year of service to the Diocese or other affiliated organization. An employee
received a 100% vested benefit after ten years of credited service. Effective July 1, 2009,
participation in the Lay Pension Plan was frozen for employees hired on or after such date. Current
Lay Pension Plan participants continue to participate in the Lay Pension Plan with no change. Any
former participant who vested and left the Diocese can re-enter the Plan upon rehire. Non-vested
former employees can re-enter the Lay Pension Plan within two years from the date of separation
unless such participant was separated as part of a merger or closure in which case the participant
may re-enter within four years of separation. Additionally, a participant is enrolled in the Lay
Pension Plan as of his or her date of eligibility, and the participating organization is billed for his
or her contribution.

        The Lay Pension Plan provides for normal retirement on the last day of the month
coinciding with or next following the later of the date the participant attains age 65 or the tenth
anniversary of the date he or she becomes a plan participant. The Lay Pension Plan permits early
retirement for participants on the last day of the month in which a participant attains age 62, or the
tenth anniversary of the date he or she becomes a plan participant, if later. Benefits under early
retirement are reduced by 1/2 of 1% for each month prior to normal retirement date.

       A participant who retires on or after his or her normal retirement date is entitled to an
annual pension benefit equal to 1.4% of annual earnings for the first ten years of credited service
plus 1.8% of annual earnings for the next fifteen years of credited service plus 2.2% of annual
earnings for the remaining years of credited service. In no event does a participant receive less
than $100 per month in full retirement.

        In the event of the death of a vested active or vested terminated participant, a death benefit
is paid to the employee’s eligible spouse beginning when the deceased participant would have
reached the age of 65. The benefit is equal to one-half of the amount the eligible employee would
have received had the employee retired the day before the employee's death and elected a 50%
contingent annuitant option.

       Contributions to the Lay Pension Plan are assessed by the Diocese to each participating
organization. For each of the years ended June 30, 2021 and 2020, these assessments were made
based upon 14.5% and 14% of participating employees’ W-2 salaries for the years ended
December 31, 2020 and 2019, respectively. As of the filing date, this plan was also underfunded.

       The value of the Lay Pension Plan was $126,765,229 as of September 30, 2021. The
Diocese asserts that these assets are protected pension trust funds, not assets of the Diocese, and
not available for distributions under a plan of reorganization.

                     c. Post-Retirement Benefits Plan for Priests of the Diocese of Camden

        As part of its retirement programs, the Diocese has a Post-Retirement Benefits Plan for
Priests of the Diocese of Camden (the “Priest Post-Retirement Plan”). The Priest Post-Retirement
Plan is a non-contributory defined benefit plan that provides health benefits and automobile
insurance for all incardinated priests in good standing of the Diocese. The Priest Post-Retirement

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Plan qualifies as a church institution under the Internal Revenue Code and is, therefore, not subject
to the provisions of the Employee Retirement Income Security Act of 1974 (ERISA), as amended.
The Priest Post-Retirement Plan is exempt from federal income tax under provisions of Section
501(c)(3) of the Internal Revenue Code. The Priest Post-Retirement Plan is covered under Code
Section 414(e) - Church Plans.

        Under the Priest Post-Retirement Plan, participants who have served in a Diocesan
assignment for at least 25 years receive health benefits (medical, dental, vision and prescription)
upon retirement with approval from the Ordinary of the Roman Catholic Diocese of Camden.
Normal retirement age is 70 with mandatory retirement at age 75. The Priest Post-Retirement Plan
permits early retirement at age 65 due to permanent mental or physical disability, or with approval
of the Bishop. Participants who retire at age 70 and have at least 10 years of service in a Diocesan
assignment also receive full health benefits upon retirement. Automobile insurance premiums are
also paid by the Priest Post-Retirement Plan for certain priests.

        The Diocese assesses the parishes and affiliated organizations in which priests are serving
for the Priests Post-Retirement Plan. For the years ended June 30, 2021 and 2020, the amount
contributed on behalf of each priest was $3,650 and $3,150, respectively. As of the filing date,
this plan was also underfunded.

        The value of the Priest Post-Retirement Plan is set forth above. The Diocese asserts that
these assets are protected pension trust funds, not assets of the Diocese, and not available for
distributions under a plan of reorganization.

                     d. The Diocese of Camden Retirement Plan

        As part of its retirement programs, the Diocese has established The Diocese of Camden
Retirement Plan (the “Lay Retirement Plan”). The Lay Retirement Plan is a non-contributory
defined contribution “profit sharing” plan covering certain employees of the Diocese and affiliated
organizations designated by the Diocese as entitled to adopt the Lay Retirement Plan. The Lay
Retirement Plan qualifies as a church institution under the Internal Revenue Code and is, therefore,
not subject to the provisions of the Employee Retirement Income Security Act of 1974 (ERISA).
The Lay Retirement Plan is exempt from federal income tax under provisions of Section 501(c)(3)
of the Internal Revenue Code. The Plan is covered under Code Section 414(e) - Church Plans.

        An employee becomes eligible to participate in the Lay Retirement Plan after age 21 and
completing one full year of service. An employee has a 100% vested benefit after ten years of
credited service.

        Employer discretionary contributions are allocated to a participant’s account as a uniform
percentage of the employee’s annual earnings. Each participant’s account is credited with
contributions, allocated forfeitures and earnings thereon. The benefit to which a participant is
entitled is the benefit that can be provided by the participant’s vested balance.

        The Lay Retirement Plan provides for normal retirement on the first day of the calendar
year month immediately following the date the participant attains age 65 with ten years of credited
service. A participant’s normal form of distribution is a single lump sum cash distribution. A
participant who has not terminated employment and has attained age 59-1/2 may elect a

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withdrawal of all, or any portion of, his/her vested account benefit.

       A person who terminates employment is entitled to elect to receive a distribution of all or
any portion of his/her vested account benefit as soon as reasonably possible following the
termination date. The participant may elect to receive a distribution of any deferred amount at any
time.

       The Diocese assesses participating organizations to the Plan. For each of the years ended
June 30, 2021 and 2020, assessments were made based upon 3% of participating employees’ W-2
wages for each of the years ended December 31, 2020 and 2019.

        The benefit of a participant who is not vested is retained by the Diocese, as the Trustee of
the Lay Retirement Plan, and deposited into the forfeiture account after that participant has
incurred two consecutive one-year breaks in service and is applied to reduce employer
contributions under the Lay Retirement Plan or to pay Lay Retirement Plan expenses. At June 30,
2021 and 2020, the forfeiture balance was $233,901 and $132,747, respectively. As of the filing
date, this plan was also underfunded.

        These assets are protected pension trust funds, not assets of the Diocese, and not available
for distributions under a plan of reorganization.

           H. Catholic Cemeteries

       The Diocese administers several Catholic Cemeteries within its territory. The Diocese has
been serving Catholic families in this capacity since before the establishment of the Diocese of
Camden in 1937. There are fifteen Diocesan cemeteries throughout the six counties in southern
New Jersey. The fifteen locations are as follows: (i) Calvary Cemetery and Mausoleum in Cherry
Hill, NJ; (ii) New St. Mary Cemetery and Mausoleum in Bellmawr, NJ; (iii) Gate of Heaven
Cemetery in Berlin, NJ; (iv) St. Joseph Cemetery in Swedesboro, NJ; (v) St. Mary’s Cemetery in
Williamstown, NJ; (vi) All Saints Cemetery and Mausoleum in Newfield, NJ; (vii) Our Lady of
Assumption Cemetery in Pleasant Mills, NJ; (viii) Our Lady of Victories in Landisville, NJ; (ix)
Holy Cross Cemetery and Mausoleum in Mays Landing, NJ; (x) Sacred Heart Cemetery and
Mausoleum in Vineland, NJ; (xi) St. Casimir’s Cemetery in Woodbine, NJ; (xii) St. Bernard
Cemetery in Dorothy, NJ; (xiii) St. Elizabeth’s Cemetery in Goshen, NJ; (xiv) Resurrection
Cemetery in Clermont, NJ; and (xv) St. Mary’s Cemetery and Mausoleum in Cape May, NJ.

        The Catholic Cemeteries offer in-ground and above-ground burial options such as cemetery
plots, cremation graves, chapel and garden mausoleums, and cremation niches.

       The cemeteries are not separately incorporated. Except as set forth herein, the above-
referenced cemeteries are owned by parishes, but administered and operated by the Diocese. The
Diocese owns the land for All Saints Cemetery and Mausoleum in Newfield, New Jersey and
Resurrection Cemetery in Clermont, New Jersey.

       The employees of the cemeteries are members of Teamsters Local Union No. 676 (the
“Union”). The Union is the sole and exclusive representative for all full-time cemetery field
workers/foremen employed by the Diocese. The Diocese is current on all its obligations to the
Union.

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        The Diocese asserts that it has a fiduciary responsibility to ensure that its cemeteries are
maintained in perpetuity with adequate funding. As of the Petition Date, no reserves existed. The
Diocese has been advised by its financial advisers that, as part of its reorganization, it must establish
reserves for the care and maintenance of the cemeteries and mausoleums. Pursuant to Court Order,
the Debtor assumed a contract with Perpetualcareadequacy.com for the purpose of conducting a
perpetual care analysis to fulfill the above noted needs of the cemeteries. [ECF 201]. The Diocese
filed the actuarial report on July 28, 2021. [ECF 731]. The actuarial report demonstrated that the
Diocese needed to invest $2,305,000 immediately in a perpetual care fund plus additional money
annually in order to provide for the perpetual care of the cemeteries. Id.

            I. The Debtor’s Prepetition Capital Structure

                      a. Revolving Line of Credit

        On December 9, 2011, the Diocese entered into a Loan Agreement with PNC Bank for a
revolving line of credit (the “Loan”) wherein the Diocese may borrow the lesser of (a) $25 million
dollars or (b) 90% of the margin value of the “Pledged Collateral” (as defined in the Loan
Agreement).

        In addition to the Loan Agreement, the Diocese and PNC Bank entered into a Committed
Line of Credit Note (the “Note”). Pursuant to the Note, the Loan carries a rate of interest equal to
(a) the Daily LIBOR Rate plus (b) the “Applicable Margin” (as that term is defined in the Note).
The current “Applicable Margin” is .55%. Interest payments are due monthly, and the entire
principal balance of the Loan is due upon expiration of the Loan. The original expiration date of
the Loan was December 9, 2014, which was extended to December 9, 2017, and further extended
to December 9, 2020.

        In connection with, and as security for, the Loan, DOC Trusts entered into a Pledge
Agreement with PNC Bank. Through the Pledge Agreement, DOC Trusts pledged the following
collateral as security for the Loan: all investment property held in security account nos. xx-xx-
xxx-xxx7115; xx-xx-xxx-xxx7123; xx-xx-xxx-xxx7131; xx-xx-xxx-xxx7149; xx-xx-xxx-
xxx7157; xx-xx-xxx-xxx7165; and xx-xx-xxx-xxx7173 maintained with PNC Investments, LLC
in its capacity as custodian (collectively, the “Pledged Accounts”), all assets credited to the
Accounts and all additions, substitutions, replacements, proceeds, income, dividends and
distributions thereon.

      In addition to the Pledge Agreement, DOC Trusts entered into a Guaranty and Suretyship
Agreement (the “Guaranty”) with PNC, whereby DOC Trusts unconditionally guaranteed and
became the surety for, the prompt payment of all amounts due under the Loan.

        On December 11, 2017, the Diocese entered into an Amendment with PNC Bank. Pursuant
to the Amendment, the expiration date of the Loan was extended to December 9, 2020.

        As of September 30, 2020, the outstanding balance of the Loan is $22,807,500. The value
of the Pledged Accounts as of September 30, 2021 was $100.2 million. The existing Loan expired
on December 9, 2020.

        On August 12, 2021, the Diocese filed a motion for approval from the Bankruptcy Court

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to enter a settlement with PNC regarding the Loan. If approved, the Diocese and PNC have agreed,
in part, to amend the Loan documents to extend the expiration of the Loan.

                     b. Other Unsecured Debt

       The Diocese owed its vendors approximately $1,500,000 as of the Petition Date. These
claims are for the delivery of goods and services to the Diocese, which are used in the operation
of the Diocese’s business, including providing support for its ministries and other outreach
programs.

           J. Abuse Claims Against the Diocese

         The Diocese publicly released the names of fifty-six (56) priests (which was reduced to
fifty-five (55) after further review) and one (1) deacon of the Diocese who have been credibly
accused of abuse of minors. These fifty-five (55) priests are a small percentage of the more than
800 priests who have faithfully served the people of South Jersey since the Diocese was founded
in 1937.

       From 1990 to 2019, the Diocese paid 99 settlements to abuse victims totaling
approximately $10,120,000 (approximately $102,222 per claim). In addition, the Diocese has
expended approximately $945,000 to provide therapeutic assistance to victims.

        On December 1, 2019, amendments to New Jersey’s statute of limitations went into effect
allowing individuals to assert claims of child abuse regardless of when it is reported to have
occurred, and to file claims against institutions and individuals, even if those claims had already
expired and/or were dismissed because they were filed late. Additionally, the new law also
expands the statute of limitations for victims to bring claims of child sexual abuse to age 55 or
until seven years from the time that an alleged victim became aware of his/her injury, whichever
comes later.

        From December 1, 2019 through the Petition Date, fifty-five (55) lawsuits were filed
against the Diocese by plaintiffs who are seeking damages as a result of alleged abuse, three (3) of
which have been voluntarily withdrawn. In addition, demand letters and or notices have been
received from other claimants who have not commenced lawsuits against the Diocese.

       The Diocese does not believe it has insurance coverage for any claims that occurred before
November 27, 1969 because it has not been able to locate insurance policies or evidence of
insurance policies issued to the Diocese prior to that date. The Diocese and the Tort Committee
have jointly retained an insurance archeologist to determine if there are any insurance policies
available to the Diocese or its parishes for the pre-1969 period.




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                     a. New Jersey Independent Victim Compensation Program

       Beginning on June 15, 2019, the Roman Catholic Archdiocese of Newark and the dioceses
of Camden, Metuchen, Paterson and Trenton established the Independent Victim Compensation
Program (“IVCP”) to begin accepting claims related to the abuse of minors by priests of these
dioceses. The Diocese paid over $842,000 for the IVCP administration.

        The IVCP is administered by Kenneth R. Feinberg and Camille S. Biros (collectively, the
“IVCP Administrators”), two noted victims’ compensation experts who have designed and
administered similar compensation programs for the Catholic Dioceses in New York and
Pennsylvania. They also have administered similar programs for the September 11th Victim
Compensation Fund, the Hokie Spirit Memorial Fund (Virginia Tech shootings), Deepwater
Horizon/BP oil spill fund, the Penn State abuse claims, Aurora, Colorado shooting victim relief
fund, The Newtown-Sandy Hook Community Foundation, the One Fund (2013 Boston Marathon
bombings), and the Archdiocese of New York Independent Reconciliation and Compensation
Program. The IVCP Administrators act independently in evaluating and compensating individual
claims.

       The IVCP provided for:

                a.      The complete independence of the IVCP Administrators in determining
       eligibility and the amount of compensation.

              b.      The program was completely voluntary; no individual claimant was
       required to participate.

              c.     All payments authorized by the IVCP Administrators came from funds
       which the Diocese borrowed; no public money was used to compensate victims.

              d.       A signed release was only required if the individual victim accepted the
       amount offered by the IVCP Administrators, in which the victim agreed not to engage in
       any further litigation against the particular diocese.

               e.      The program gave first priority to claimants who previously filed a claim
       directly with diocesan officials about abuse, prior to the establishment of the IVCP.

       The Diocese did not fund IVCP payments by using money: (i) donated by the people of the
Diocese to support parishes, schools, and charitable works; (ii) given to the House of Charity-
Bishop’s Annual Appeal or the Catholic Strong campaigns; or (iii) given by a donor for a specific
ministry or apostolate. The funding of IVCP payments came from diocesan operations or the
Diocese’s line of credit from PNC.

        Through the IVCP Administrators, seventy-one (71) claims were resolved with payments
totaling $8,102,500 (average claim settled for approximately $114,000). Effective July 31, 2020,
the Diocese suspended its participation in the operation of the IVCP due to its fiscal realities, which
were worsened by the COVID‐19 pandemic.



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                     b. Steps Taken by the Diocese to Protect Children

        In 2002, there was widespread recognition on the part of both civil and church authorities
that the abuse and exploitation of minor children by Catholic priests was a serious problem that
needed to be urgently and comprehensively addressed. The Catholic dioceses in New Jersey,
including the Diocese of Camden, responded by entering into a Memorandum of Understanding
with the New Jersey Division of Law and Public Safety and the twenty-one prosecutors of the
counties in which each diocese is located. In addition, the United States Conference of Catholic
Bishops addressed this issue by adopting the Charter for the Protection of Children and Young
People and, at the request of the Conference of Bishops, the Holy See approved the Essential
Norms for Diocesan/Eparchial Policies Dealing with Allegations of Sexual Abuse of Minors by
Priests or Deacons.

                              i. Memorandum of Understanding

        In the December 2002 Memorandum of Understanding (the “MOU”), the Attorney General
of New Jersey, the twenty-one county prosecutors of New Jersey, and New Jersey’s Catholic
bishops, including the Bishop of Camden, pledged “their continuing commitment to work together
to protect victims of crimes,” acknowledging “the value of cooperation and communication and
the need to have in place clearly defined policies and procedures so that all employees” of Catholic
dioceses and parishes “know what they are expected to do” when they have cause to believe that
criminal activity – primarily the exploitation or abuse of children – has been committed. See
Reverend Hughes’ Declaration at Exhibit C. [ECF 3]. The MOU added that the parties “are
committed to addressing and alleviating the injuries caused by these crimes and to preventing the
reoccurrence of such crimes to the greatest extent possible.” Id. It stated that “the parties to this
Memorandum will continue to work together to prevent criminal activity,” recognizing that “the
crimes addressed in this Memorandum are serious matters that warrant a full and prompt
investigation by appropriate law enforcement authorities.” Id.

        In accordance with the MOU, since 2002 the Diocese has reported every allegation of the
abuse of a minor by diocesan priests – whether or not it was believable – to law enforcement
authorities in the locales where the abuse was said to have happened. These reports have been
made to county prosecutors in Atlantic, Burlington, Camden, Cape May, Cumberland, Essex,
Gloucester, Mercer, Monmouth, Ocean, Salem and Union counties, the Crown Prosecution Service
in London, the Director of Prosecutions in San Juan, the district attorneys in Philadelphia and
Allegheny counties, and the consular representatives of Mexico, Portugal, and Spain.

        Even prior to the MOU, the Diocese reported the names of 43 diocesan priests, whether
living or dead, against whom an allegation of child abuse had been received to the prosecutor of
each county in the Diocese in which the abuse was reported to have occurred. Where a Prosecutor
requested additional information (civil complaints, correspondence, etc.) it was readily provided.

                              ii. Charter for the Protection of Children and Young People

       In addition, the Charter for the Protection of Children and Young People is a
comprehensive set of procedures originally established by the United States Conference of
Catholic Bishops in June 2002 (and subsequently revised and expanded in 2005, 2011, and 2018)


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for addressing allegations of sexual abuse of minors by Catholic clergy. See Reverend Hughes’
Declaration at Exhibit D. [ECF 3]. The Charter also includes guidelines for reconciliation,
healing, accountability, and prevention of future acts of abuse, and it urges actions by Catholic
dioceses in the United States for creating a safe environment for children and young people, the
healing and reconciliation of victims and survivors, the establishment of methods for making
prompt and effective response to allegations of abuse, the disciplining of offenders, and
cooperation with civil authorities. Id.

        The Charter states that “the sexual abuse of children and young people by some priests and
bishops, and the ways in which we bishops addressed these crimes and sins, have caused enormous
pain, anger, and confusion. Id. Innocent victims and their families have suffered terribly.” Id.
The Conference of Bishops added that “as bishops, we acknowledge our mistakes and our role in
that suffering, and we apologize and take responsibility for too often failing victims and our people
in the past. We also take responsibility for dealing with this problem strongly, consistently, and
effectively in the future.” Id.

       The Charter requires mandatory background checks for all personnel of the Diocese who
have regular contact with minors. In this regard, Article 13 of the Charter provides as follows:

       Dioceses/eparchies will evaluate the background of all diocesan/eparchial and parish
personnel who have regular contact with minors. Specifically, they will utilize the resources of
law enforcement and other community agencies. In addition, they will employ adequate screening
and evaluative techniques in deciding the fitness of candidates for ordination (cf. National
Conference of Catholic Bishops, Program of Priestly Formation, 1993, no. 513).22 Id.

         In accordance with the Charter, the Diocese has issued its policy with respect to employees
and volunteers. It applies to all priests, and to all adult employees and volunteers (18 years of age
or older) who have regular contact with minors (under 18 years of age). The policy requires the
employee or volunteer to undergo appropriate evaluation, which must include a fingerprint-
facilitated criminal history background check. See Father Hughes’ Declaration at Exhibit E. [ECF
3]. The policy is comprehensive and mandatory.

                                iii. Other Actions Taken by the Diocese

         Since 2002, the Diocese of Camden has reviewed, updated, strengthened, and enforced its
safe environment protocols, including but not limited to conducting criminal history background
checks of all clergy, employees, and volunteers who have regular contact with minors, and
instituting, maintaining, and enhancing safe environment education and training. In addition, the
Diocese routinely updates its guidelines for reporting abuse. See id.

        Rebuilding the confidence of the Diocese’s congregants and society is a paramount goal
for the Diocese, and in this regard the Diocese has taken substantial steps. In addition to what was
discussed above, every adult having regular contact with minors is required to take a safe
environment training program. In July 2018, the Diocese transitioned from Child Assault
Prevention (CAP) to the VIRTUS child abuse training awareness program entitled “Protecting

22
   “Eparchies” in the churches of the Eastern rite are the functional equivalent of dioceses in the Latin (or “western”)
rite.

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God’s Children.” The Diocese requires retraining every five years. Also, the VIRTUS training
program “Empowering God’s Children” teaches such matters as “protecting our bodies,” “safe
adults” and “boundaries” and is presented to children in diocesan-affiliated educational programs
in age-appropriate tiers.

           K. Litigation Involving Public Nuisance Claim

        On November 14, 2019, the Superior Court of New Jersey, Essex County, Civil Division,
dismissed a lawsuit captioned Hanratty v. New Jersey Catholic Conference; Archdiocese of
Newark; Diocese of Trenton; Diocese of Camden; Diocese of Paterson; and Diocese of Metuchen,
Docket No. ESX-L-003360-19. This complaint alleged two counts involving public nuisance and
civil conspiracy. The Honorable Jeffrey B. Beacham, Judge of the Superior Court, issued a
seventeen (17) page Opinion. No appeal was taken.

           L. Events Precipitating the Chapter 11 Filing

        New Jersey Senate Bill No. 477 (“S477”) was introduced to the New Jersey Senate on
January 9, 2018, and ultimately approved on May 13, 2019. S477 reopened the statute of
limitations in civil actions for certain sexual abuse claims, expanded categories of potential
defendants in civil actions, and created a two-year window for parties to bring previously time-
barred actions based on sexual abuse (“Revived Claims”). The two-year window became effective
December 1, 2019, and ultimately expired on November 30, 2021 (“Renewed Deadline”).

         The Diocese filed this Chapter 11 Case for the purpose of reorganizing and maximizing its
assets for the benefit of all individuals presenting bona fide claims of abuse while ensuring that
the critical mission of the Diocese is accomplished for its congregants and the greater community
especially during the global COVID-19 pandemic. Although there has been no claim of abuse
having occurred within the past 19 years (since the 2002 Charter for the Protection of Children
and Young People, the Essential Norms and the Memorandum of Understanding, all of which are
discussed above), that does not diminish the pain of the horrific acts which occurred before then,
and which have affected far too many.

       During COVID-19, while government stay-at-home orders were in place, Diocese revenue
was reduced by nearly 25%. Moreover, collections have reduced significantly over the past two
years.

                                     ARTICLE VI.
                              THE DIOCESE’S BANKRUPTCY

           A. The Diocese’s Chapter 11 Filing

       The Diocese filed its voluntary Chapter 11 petition on October 1, 2020.




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                     a. First Day Orders

        Concurrently with the filing of its chapter 11 petition, the Diocese filed certain motions
and proposed Orders (collectively, the “First-Day Orders”). A summary of the relief granted in
the First Day Orders is set forth below:

          i.    Complex Case Order. Pursuant to the Application for Designation As Complex
                Chapter 11 Cases [ECF 5], the Bankruptcy Court entered an Order [ECF 52]
                designating this Chapter 11 Case as a Complex Chapter 11 Case.

         ii.    Motion to Seal Order. Pursuant to Motion to Seal Portions of Schedule F, The
                Master Creditor Matrix, and Other Pleadings and Documents Under Seal [ECF 6],
                the Bankruptcy Court entered an Order [ECF 54] that, among other things, sealed
                certain portions of Schedule F and the Master Creditor Matrix relating to Abuse
                Claims.

        iii.    Cash Management Order. Pursuant to the Motion For An Order (I) Authorizing
                The Debtor To Continue And Maintain Their Existing Cash Management System,
                Bank Accounts And Business Forms, (II) Modifying The Investment Guidelines,
                (III) Providing The United States Trustee With A 60-Day Objection Period, And
                (IV) Granting Related Relief [ECF 7], the Bankruptcy Court entered an Interim
                Order [ECF 34], a Second Interim Order [ECF 57], a Third Interim Order [ECF
                199], and a Fourth Interim Order [ECF 248] that, among other things, (i) authorized
                the Debtor to continue to use its existing bank accounts and cash management
                system, and existing checks and business forms; and (ii) waived certain bank
                account and related requirements of the Office of the United States Trustee. On
                December 16, 2020, the Bankruptcy Court entered a final order in connection with
                the Cash Management Motion. [ECF 284].

        iv.     Wages Order. Pursuant to the Motion For An Order (I) Authorizing The Debtor
                To (A) Pay Prepetition Wages, and Related Obligations, (B) Pay And Remit Payroll
                Taxes And Other Deductions To Third Parties, And (C) Honor And Process
                Workers’ Compensation And Employee Benefit Obligations, And (II) Authorizing
                and Directing All Banks To Honor Checks And Transfers For Payment of Pre-
                petition Employee Obligations [ECF 8], the Bankruptcy Court entered an Interim
                Order [ECF 44] and a Final Order [ECF 130] authorizing the Debtor to, among
                other things, pay certain prepetition wages and other compensation, continue
                various benefit programs, and pay other employee-related obligations.

         v.     Self-Insurance Order. Pursuant to the Motion for Entry of Interim & Final Orders
                (i) Authorizing the Continued Maintenance of the Diocese's Self Insurance
                Programs; and (ii) Authorizing the Payment of Prepetition Obligations in Respect
                Thereof [ECF 9], the Bankruptcy Court entered an Interim Order [ECF 50] and a
                Final Order [ECF 131] authorizing the Debtor to, among other things, continue its
                self-insurance program and pay prepetition obligations related thereto.

        vi.     Premium Finance Order. Pursuant to the Motion For Interim And Final Orders


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                Authorizing (I) The Continuation Of The Debtor’s Insurance Policies (II) The
                Continuation Of The Debtor’s Premium Financing Agreements And (III) The
                Performance Of All Prepetition Obligations Related Thereto [ECF 10], the
                Bankruptcy Court entered an Interim Order [ECF 49] and a Final Order [ECF 132]
                authorizing the Debtor to continue to pay and perform under various prepetition
                insurance policies and the Debtor’s premium financing agreement, and to pay all
                prepetition and post-petition obligations in respect thereof in the ordinary course of
                their business.

        vii.    Utilities Order. Pursuant to the Motion For Entry Of Interim And Final Orders (I)
                Prohibiting Utility Companies From Discontinuing, Altering Or Refusing Service
                On Account Of Prepetition Invoices, (II) Approving The Debtor’s Proposed Form
                Of Adequate Assurance Of Future Payment And (III) Establishing Procedures For
                Resolving Requests For Additional Adequate Assurance [ECF 14], the Bankruptcy
                Court entered an Interim Order [ECF 51] and a Final Order [ECF 136] authorizing
                and approving the provision of adequate assurance of payment to the Debtor’s
                utility service providers under section 366 of the Bankruptcy Code, while allowing
                the Debtor to avoid the threat of imminent termination of their utility services from
                those utility companies.

       viii.    Credit Card Facilities Order. Pursuant to the Motion for an Order Authorizing
                Debtor to Continue Credit Card Facilities [ECF 12] the Bankruptcy Court entered
                an order [ECF 53] directing certain payment card processors to honor its prepetition
                agreement with the Debtor pending assumption or rejection.

        ix.     Prime Clerk LLC Retention Order. Pursuant to the Application for Entry Of An
                Order Authorizing The Retention And Appointment Of Prime Clerk LLC As Claims
                And Noticing Agent Effective As Of The Petition Date [ECF 17], the Bankruptcy
                Court entered an Order authorizing the Debtor to retain Prime Clerk LLC as claims
                and noticing agent for the Chapter 11 Cases. [ECF 55].

                     b. Appointment of Tort Committee

        On October 23, 2020, the Office of the United States Trustee appointed the Tort Committee
in this Chapter 11 Case. The Notice of Appointment of Official Committee of Tort Claimant
Creditors [ECF 111] sets forth the nine (9) appointed Tort Committee members: (i) Dr. James
Reuter; (ii) Mr. Jack Lechner; (iii) Ms. Jennifer Wydra; (iv) Mr. Paul Harrington; (v) Mr. Robert
Polt; (vi) Mr. Edward Henkel; (vii) Dr. Patrick Lloyd; (viii) Mr. John Collins; and (ix) Mr. Andrew
Napoli.

                     c. Appointment of Trade Committee

      On December 24, 2020, the Office of the United States Trustee appointed the Trade
Committee in this Chapter 11 Case. The Notice of Appointment of Official Committee of
Unsecured Trade Creditors [ECF 293] sets forth the three (3) appointed Trade Committee
members: (i) Porter & Curtis, LLC; (ii) Seton Hall University; and (iii) St. Mary’s Villa.



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                     d. Appointment of the Unknown Claims Representative                          Formatted: No widow/orphan control


      On February 18, 2022, the Diocese filed an Application for Entry of an Order Approving
the Employment and Retention of Judge Michael R. Hogan (Ret.) as Unknown Claims
Representative seeking to retain Judge Michael R. Hogan (Ret.) as Unknown Claims
Representative to represent the interests of Class 6 Claimants (the “UCR”). [ECF 1182]. The
Bankruptcy Court approved retention of the UCR on February 28, 2022. [ECF 1237].

       Pursuant to the Order approving retention of the UCR, the UCR is responsible for the
following duties with respect to Class 6 Claimants:

                       (i)    Undertaking an investigation and analysis regarding
                the estimated number of unknown Abuse claimants and the
                estimated value of unknown Abuse claims;

                      (ii)    Filing proofs of claim on behalf of all unknown
                Abuse claimants within 60 days of entry of the order retaining the
                UCR, subject to extension as set forth in the Order;

                        (iii) Negotiating treatment of unknown Abuse claims in a
                plan of reorganization with the appropriate parties;

                        (iv)  Advocating unknown Abuse claimants’ legal
                positions before the Bankruptcy Court and, if necessary, filing
                pleadings and presenting evidence on any issue affecting such
                claimants;

                        (v)     Taking all other legal actions reasonably necessary
                to represent the interests of unknown Abuse claimants; and

                        (vi)  Serving as an independent fiduciary acting on behalf
                of all unknown Abuse claimants.

                     e. Employment of Professionals and Advisors

                              i. Debtor’s Professionals

      On October 1, 2020, the Diocese filed an application to approve the retention of
McManimon, Scotland & Baumann, LLC (“MSB”) as counsel. [ECF 15]. MSB’s retention was
approved on October 16, 2020. [ECF 86].

       On October 1, 2020, the Diocese filed an application to approve the retention of
EisnerAmper as Financial Advisor. [ECF 16]. EisnerAmper’s retention was approved on October
16, 2020. [ECF 87].

        On October 1, 2020, the Diocese filed an application to approve the retention of Cooper
Levenson, P.A. (“Cooper”) as Special Counsel relating to Abuse Claims. [ECF 18]. Cooper’s
retention was approved on October 16, 2020. [ECF 88].


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       On October 1, 2020, the Diocese filed an application to approve the retention of Duane
Morris LLP (“Duane”) as Special Counsel relating to eminent domain litigation. [ECF 19].
Duane’s retention was approved on October 16, 2020. [ECF 89].

       On October 16, 2020, the Diocese filed an application to approve the retention of A. Atkins
Appraisal Corp. (“Atkins”) as Appraiser. [ECF 81]. Atkin’s retention was approved on October
28, 2020. [ECF 133].

      On March 15, 2021, the Diocese filed an application to approve the retention of
Binswanger Company (“Binswanger”) as Appraiser in order to appraise certain real property
owned by the Diocese. [ECF 496]. Binswanger’s retention was approved on March 23, 2021. [ECF
523].

       On April 27, 2021, the Diocese filed an application to approve the retention of Trenk Isabel,
P.C. (“Trenk Isabel”) as counsel. [ECF 598]. Trenk Isabel’s retention was approved on May 5,
2021. [ECF 616].

       On September 20, 2021, the Diocese and the Tort Committee jointed filed an application
to approve the retention of Insurance Archeology Group (“IAG”) as Insurance Archeologist. [ECF
824]. IAG’s retention was approved on September 28, 2021. [ECF 832].

       On November 16, 2021, the Diocese filed an application to approve the retention of Roux
Associates (“Roux”) as a consultant and expert witness with respect to evaluation of abuse claims.
[ECF 968]. Roux’s retention was approved by the Bankruptcy Court on January 5, 2022. [ECF
1084].

                              ii. Tort Committee Professionals

      On November 9, 2020, the Tort Committee filed an application to approve the retention of
Lowenstein Sandler LLP (“Lowenstein”) as counsel. [ECF 182]. Lowenstein’s retention was
approved on November 17, 2020. [ECF 218].

       On November 13, 2020, the Tort Committee filed an application to approve the retention
of undisclosed experts in connection with this matter. [ECF 204]. Following various objections,
the Tort Committee sought approval to retain Dr. Jennifer Hasselberger and Marci Hamilton as
experts. The Bankruptcy Court entered an order approving such retention on February 3, 2021.
[ECF 392].

       On January 5, 2021, the Tort Committee filed an application to approve the retention of
Berkeley Research Group, LLC (“BRG”) as financial advisor. [ECF 309]. BRG’s retention was
approved on February 5, 2021. [ECF 400].

       On March 3, 2021, the Tort Committee filed an application to approve the retention of
Finance Scholars Group, Inc. (“FSG”) as a consultant on the valuation of abuse claims and expert
witness. [ECF 455]. FSG’s retention was approved on April 28, 2021. [ECF 604].

       On November 16, 2021, the Tort Committee filed an application to approve the retention
of The Claro Group LLC (the “Claro Group”) as an expert consultant and expert witness with

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respect to estimation of abuse claims. [ECF 963]. The Claro Group’s retention was approved on
December 10, 2021. [ECF 1043].

      On February 22, 2022, the Tort Committee filed an application to approve the retention of
Tom Baker as an expert consultant and witness on the valuation of Debtor’s insurance policies.
[ECF 1198]. Mr. Baker’s retention was approved on March 2, 2022. [ECF 1254].

                              iii. Trade Committee Professionals

       On January 15, 2021, the Trade Committee filed an application to approve the retention of
Porzio, Bromberg & Newman, P.C. (“Porzio”) as counsel. [ECF 347]. Porzio’s retention was
approved on February 1, 2021. [ECF 388].

                     f. Claims Process and Bar Date

                               i. Schedules and Statement of Financial Affairs

       On the Petition Date, the Diocese filed for protection under Chapter 11 of the Bankruptcy
Code. [ECF 1]. The Diocese’s schedules and statement of financial affairs were filed
simultaneously with the Chapter 11 Petition. The Debtor filed amended Schedules on October 6,
2020 [ECF 41 & 42], October 19, 2020 [ECF 92] and November 11, 2020 [ECF 198] (as amended,
the “Debtor’s Schedules”).

                              ii. Section 341(a) Meeting of Creditors

       The Debtor’s Initial Debtor Interview was held on October 16, 2020. The Debtor’s Section
341(a) Meeting of Creditors was held on November 13, 2020.

                              iii. Bar Date

        Pursuant to an order of the Bankruptcy Court dated February 11, 2021 [ECF 409] (the “Bar
Date Order”), June 30, 2021 at 11:59 p.m. (prevailing Eastern Time) (the “Bar Date”) was
established as the deadline for Creditors, including Governmental Units and Abuse Claimants, to
file proofs of Claim in this Chapter 11 Case. Notice of this deadline was served on all potential
creditors of the Debtor’s Estate and published in various newspapers as required by the Bar Date
Order.

                     g. Other Significant Events During the Bankruptcy

        On October 14, 2020, the Debtor filed a Motion for Entry of Order Establishing a Deadline
for Filing Proofs of Claim and Approving the Form and Manner of Notice Thereof (the “Bar Date
Motion”) [ECF 74]. Through the Bar Date Motion, the Debtor seeks to set bar dates for general,
abuse and governmental unit related claims against the Debtor. On February 11, 2021, the
Bankruptcy Court entered the Bar Date Order, as set forth above.

       On October 19, 2020, the Debtor filed a Motion for an Order Authorizing and Approving
Sale of (i) 276 White Horse Pike, Galloway Township, New Jersey; and (ii) 1597 Almonesson
Road, Deptford, New Jersey (the “Sale Motion”) [ECF 90]. Through the Sale Motion, the Debtor


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sought approval to sell the following real property: (i) 276 White Horse Pike, Galloway Township,
New Jersey (the “Galloway Property”); and (ii) 1597 Almonesson Road, Deptford, New Jersey
(the “Deptford Property”). The Galloway Property is under contract with Ark Innovations, LLC
for $3.9 million. The Deptford Property is under contract with Raphael Braschoss and Melissa
Fleming for $75,000. On December 23, 2020, the Bankruptcy Court entered an order granting the
Sale Motion. [ECF 290].

        On October 21, 2020, the Debtor filed a Motion of the Diocese of Camden, New Jersey,
Chapter 11 Debtor and Debtor-in-Possession, for Entry of an Order: (i) Establishing Mediation
Process Relating to Survivor and Tort Claims; (ii) Estimating Remaining Survivor and Tort Claims
Pursuant to 11 U.S.C. § 502(c)(1) and Fed. R. Bankr. P. 3018(a) for Purpose of Voting on Plan
of Reorganization and Confirmation Process; and (iii) Granting Related Relief (the “Mediation
Motion”) [ECF 99]. Through the Mediation Motion, the Diocese requested that the Bankruptcy
Court establish certain mediation procedures to fix the Abuse Claims and related issues. In the
alternative, the Diocese requested estimation of the Abuse Claims pursuant to 11 U.S.C. §
502(c)(1) and Fed. R. Bankr. P. 3018(a) for any claimant who is unwilling to participate in the
mediation process. The Bankruptcy Court denied the Mediation Motion.

        On October 21, 2020, the Debtor filed a Motion for Entry of an Order Approving Settlement
and Compromise by and Between the Debtor and State of New Jersey, Department of
Transportation Pursuant to Fed. R. Bankr. P. 9019 (the “Dept. of Transportation Settlement
Motion”) [ECF 97]. Through the Dept. of Transportation Settlement Motion, the Debtor seeks
approval of a settlement and compromise relating to an eminent domain taking by the State of New
Jersey, Department of Transportation. The anticipated net proceeds to the Diocese from the
proposed settlement is $250,250. On November 13, 2020, the Bankruptcy Court entered an Order
granting the Dept. of Transportation Settlement Motion. [ECF 203].

       On October 30, 2020, the Debtor filed a Motion for Entry of an Order Approving Payment
of Certain De Minimis Claims, Refunds and Reimbursements (the “De Minimis Motion”) [ECF
140]. The De Minimis Motion sought payment of certain de minimis unsecured claims against the
Debtor. On November 13, 2020, the Bankruptcy Court entered an Order granting the De Minimis
Motion. [ECF 202].

       On October 30, 2020, the Debtor filed a Motion for the Entry of an Order Approving and
Authorizing the Diocese to Assume Contract with PerpetualCareAdequacy.com Pursuant to 11
U.S.C. §§ 105(a) and 365(a) and Approving Cure Cost (the “Motion to Assume”) [ECF 142]. The
Motion to Assume sought approval from the Bankruptcy Court to assume a contract with
PerpetualCareAdequacy.com and pay all cure costs associated therewith. On November 13, 2020,
the Bankruptcy Court entered an Order granting the Motion to Assume Motion. [ECF 201].

       On October 30, 2020, the Debtor filed a Motion to Extend Time to Remove Civil Actions
(the “Removal Motion”) [ECF 146]. Through the Removal Motion, the Debtor sought to extend
the time that it has to remove related actions from state court to the Bankruptcy Court pursuant to
Rules 9006(b) and 9027 of the Federal Rules of Bankruptcy Procedure. On November 30, 2020,
the Bankruptcy Court entered an Order granting the Removal Motion. [ECF 251].

       On November 19, 2020, the Debtor filed a Motion for a Final Order Authorizing the


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Diocese to (i) Obtain Postpetition Financing Pursuant to 11 U.S.C. §§ 105(a), 362 and 364(c) and
(d), (ii) Granting Liens and Superpriority Claims to the Lender Pursuant to 11 U.S.C. § 364(c),
and (iii) Modifying the Automatic Stay (the “Premium Financing Motion”) [ECF 221]. Through
the Premium Financing Motion, the Debtor sought approval of its entry into a premium financing
agreement with AFS/IBEX in connection with the Debtor’s insurance program for 2021. On
November 25, 2020, the Bankruptcy Court entered an Order granting the Premium Financing
Motion. [ECF 247].

        On December 1, 2020, the Debtor filed a Motion to Extend Exclusive Period to File a
Chapter 11 Plan and Solicit Votes for Chapter 11 Plan Pursuant to 11 U.S.C. § 1121(d) (the
“Exclusivity Motion”) [ECF 252]. Through the Exclusivity Motion, the Diocese sought to extend
the exclusive period for the Debtor to file a chapter 11 plan and solicit votes thereon pursuant to
section 1121(d) of the Bankruptcy Code. On December 23, 2020, the Bankruptcy Court entered
an Order granting the Exclusivity Motion. [ECF 291].

       On December 2, 2020, the Diocese filed a Motion for Entry of an Order Extending the
Deadline to Assume or Reject Unexpired Leases of Nonresidential Real Property Pursuant to
Section 365(d)(4) of the Bankruptcy Code (the “Extension Motion”) [ECF 256]. On December
23, 2020, the Bankruptcy Court entered an Order granting the Extension Motion. [ECF 292].

        On December 31, 2020, the Diocese filed its first Plan and Disclosure Statement. Various
parties filed objections to the Disclosure Statement. The Bankruptcy Court denied approval of the
Disclosure Statement.

       On February 25, 2021, Century Indemnity Company filed a Notice of Appeal of the Bar
Date order. [ECF 446]. This appeal is fully briefed but has not been decided by the District
Bankruptcy Court.

       On March 17, 2021, the Debtor filed a Motion of The Diocese of Camden, New Jersey,
Chapter 11 Debtor and Debtor-In-Possession, for Entry of an Order Further Extending Time to
File Notices of Removal of Civil Actions seeking to extend the deadline to remove civil actions.
[ECF 502]. The Bankruptcy Court granted the Motion on April 14, 2021. [ECF 574].

       On December 1, 2020, the Debtor filed a Second Motion to Extend Exclusive Period to File
a Chapter 11 Plan and Solicit Votes for Chapter 11 Plan Pursuant to 11 U.S.C. § 1121(d) (the
“Second Exclusivity Motion”) [ECF 541]. Through the Second Exclusivity Motion, the Diocese
sought to extend the exclusive period for the Debtor to file a chapter 11 plan and solicit votes
thereon pursuant to section 1121(d) of the Bankruptcy Code. On May 12, 2021, the Bankruptcy
Court entered an Order granting the Second Exclusivity Motion. [ECF 628].

        On April 7, 2021, the Debtor and the Tort Committee filed a Joint Motion of the Diocese
and the Official Committee of Tort Claimant Creditors for Entry of an Order (i) Appointing a
Mediator, (ii) Referring Matters to Mandatory Global Mediation, and (iii) Granting Related Relief
(the “Joint Mediation Motion”). [ECF 562]. On May 20, 2021, the Bankruptcy Court entered an
order granting the Joint Mediation Motion and appointed the Honorable Jose L. Linares (ret.).
[ECF 640]. The parties remain in active mediation.

       On June 23, 2021, the Debtor filed a Third Motion to Extend Exclusive Period to File a

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Chapter 11 Plan and Solicit Votes for Chapter 11 Plan Pursuant to 11 U.S.C. § 1121(d) (the “Third
Exclusivity Motion”) [ECF 678]. Through the Third Exclusivity Motion, the Diocese sought to
extend the exclusive period for the Debtor to file a chapter 11 plan and solicit votes thereon
pursuant to section 1121(d) of the Bankruptcy Code. On July 14, 2021, the Bankruptcy Court
entered an Order granting the Second Exclusivity Motion. [ECF 703].

        On June 23, 2021, the Debtor filed a Second Motion of The Diocese of Camden, New
Jersey, Chapter 11 Debtor and Debtor-in-Possession, for Entry of an Order Further Extending
Time to File Notices of Removal of Civil Actions seeking to extend the deadline to remove civil
actions. [ECF 679]. The Bankruptcy Court granted the Motion on July 16, 2021. [ECF 706].

       On June 25, 2021, the Debtor filed a Motion for Entry of an Order to Approve Settlement
of Controversy by and Among the Diocese and the RH Claimants Pursuant to Federal Rule of
Bankruptcy 9019(a) (the “RH Settlement Motion”). [ECF 682]. The RH Settlement Motion
sought approval of settlements with the RH Claimants, providing them with payment on their claim
over ten years in equal annual installments. Id. On October 15, 2021, the Bankruptcy Court
entered an order granting the RH Settlement Motion. [ECF 884].

        On August 12, 2021, the Diocese filed a Motion for Entry of an Order Approving
Settlement of Controversy by and Between the Diocese and PNC Bank, National Association
Pursuant to Federal Rule of Bankruptcy 9019(a) (the “PNC Settlement Motion”). [ECF 749]. The
PNC Settlement Motion was heard by the Bankruptcy Court on September 9, 2021. On October 5,
2021, the Bankruptcy Court ruled that an evidentiary hearing would be held on the PNC Settlement
Motion.

       On October 12, 2021, the Tort Committee filed the Tort Committee Standing Motion [ECF
871]. The Diocese, DOC Trusts, and the Parishes, Missions, and Schools have objected to the
Tort Committee Standing Motion. On March 24, 2022, the Bankruptcy Court entered an Order
and Opinion denying the Standing Motion. The Tort Committee has filed an appeal of this order.
[ECF 1469]. The terms of the Plan and the settlement between the Diocese and Tort Committee
would resolve this appeal.

       On November 2, 2021, the Debtor filed a Fourth Motion to Extend Exclusive Period to File
a Chapter 11 Plan and Solicit Votes for Chapter 11 Plan Pursuant to 11 U.S.C. § 1121(d) (the
“Fourth Exclusivity Motion”) [ECF 932]. Through the Fourth Exclusivity Motion, the Diocese
sought to extend the exclusive period for the Debtor to file a chapter 11 plan and solicit votes
thereon pursuant to section 1121(d) of the Bankruptcy Code. On November 24, 2021, the
Bankruptcy Court entered an Order granting the Fourth Exclusivity Motion. [ECF 996].

        On November 16, 2021, the Tort Committee filed a Motion (I) Compelling the Debtor to
File Amended Schedules, Statements of Financial Affairs and Monthly Operating Reports and (II)
Holding the Debtor in Contempt of Court (the “Motion to Compel”) [ECF 964]. On February 17,
2022, the Bankruptcy Court entered an oral opinion on the Motion to Compel. On March 23, 2022,
the Bankruptcy Court entered an order granting the Motion to Compel in part, and denying the
Motion to Compel in part. [ECF 1357].

       On November 16, 2021, the Tort Committee filed a Motion for Entry of an Order, Under


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Sections 105(a) and 502(c) of the Bankruptcy Code, Establishing Procedures and Scheduling a
Hearing for Estimation of Survivor Claims for Voting and Confirmation Purposes [ECF 962]
seeking a procedure to estimate the value of all Abuse Claims. On February 25, 2022, the
Bankruptcy Court entered an Order denying the Estimation Motion. [ECF 1225].

       On November 17, 2021, the Debtor filed a Motion for Entry of an Order (a) Approving
First Amended Disclosure Statement; (b) Establishing Plan Solicitation, Voting, and Tabulation
Procedures; (c) Scheduling a Confirmation Hearing and Deadline for Filing Objections to Plan
Confirmation; and (d) Granting Related Relief (the “Solicitation Motion”) [ECF 973]. The Court
granted the relief sought in the Solicitation Motion.

        On November 18, 2021, the Debtor filed a Motion for an Order Authorizing the Diocese
to (I) Obtain Postpetition Financing Pursuant to 11 U.S.C. §§ 105(a), 362 and 364(c) and (d), (Ii)
Granting Liens and Superpriority Claims to the Lender Pursuant to 11 U.S.C. § 364(C), and (Iii)
Modifying the Automatic Stay (the “Motion to Obtain Premium Financing”) [ECF 975] seeking
approval of a premium financing agreement. On November 24, 2021, the Bankruptcy Court
entered an Order granting the Motion to Obtain Premium Financing. [ECF 998].

      On December 22, 2021, the Debtor file a Motion for the Entry of an Order Authorizing and
Approving the Sale of 1000 Williamstown Road, Sicklerville, New Jersey 08081 (the “Sale
Motion”) [ECF 1063]. On January 12, 2022, the Bankruptcy Court entered an Order granting the
Sale Motion. [ECF 1099].

        On January 5, 2022, the Debtor filed a Motion for Entry of an Order to Approve Settlement
of Controversary By and Among the Diocese and Certain Settling Insurers Pursuant to Federal
Rule of Bankruptcy 9019(a) (the “Insurance Settlement Motion”) [ECF 1087]. On February 25,
2022, the Bankruptcy Court entered an Order (I) Scheduling Motion for Entry of an Order to
Approve Settlement of Controversy By and Among the Diocese and Certain Settling Insurers
Pursuant to Federal Rule of Bankruptcy 9019(a) and (II) Approving Notice Thereof. [ECF 1219].
This order provides for the scheduling of certain discovery and other deadlines associated with the
Insurance Settlement Motion. As set forth herein, the terms of the settlement between the Diocese
and the Tort Committee requires this motion to be withdrawnAs of the date of filing this Disclosure
Statement, the Insurance Settlement Motion remains pending before the Court. As set forth herein,
the Diocese no longer believes the Proposed Insurance Settlement (defined below), is in the
estate’s best interest. Thus, at the appropriate time, the Plan Propnents intend to set forth why the
Bankruptcy Court should not approve the Insurance Settlement Agreement. The London Market
Insurers have filed a motion seeking for the Bankruptcy Court to enter an order scheduling a
hearing on the Insurance Settlement Motion. [ECF 1615]. At the time of filing this Disclosure
Statement, the Court has not entered an order on that motion.

       On February 2, 2022, the Diocese filed a Second Amended Disclosure Statement [ECF
1142] describing its Second Amended Plan of Reorganization [ECF 1143]. On February 23, 2022,
the Bankruptcy Court held a hearing on the adequacy of the Second Amended Disclosure
Statement. Thereafter, the Bankruptcy Court entered an oral opinion, requiring the Diocese to
make certain amendments to the Second Amended Disclosure Statement.

       On February 24, 2022, the Diocese filed a Fifth Motion for Entry of an Order Extending


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Time to File Notices of Removal of Civil Actions seeking to further extend the time period under
the Bankruptcy Code for removing civil actions. On March 23, 2022, the Bankruptcy Court
entered an order granting this motion. [ECF 1355].

       On February 25, 2022, the Bankruptcy Court entered an Order Extending the Diocese’s
Exclusive Period to File a Chapter 11 Plan and Solicit Votes for a Chapter 11 Plan Pursuant to
11 U.S.C. § 1121(d) extending the exclusive periods to file a disclosure statement and plan and
seek solicitation of same to April 1, 2022 and June 1, 2022, respectively.

       On March 7, 2022, the Tort Committee filed a Motion to Disallow Proofs of Claim filed by
the Other Catholic Entities [ECF 1288], seeking to disallow certain claims filed by the Other
Catholic Entities. At the time of filing this Disclosure Statement, this motion remains pending.
The relief sought therein would be resolved based on the settlement between the Diocese and the
Tort Committee.

       On March 10, 2022, the Diocese filed a Third Amended Disclosure Statement [ECF 1305]
describing its Third Amended Plan of Reorganization [ECF 1307]. On March 23, 2022, the
Bankruptcy Court held a hearing on the adequacy of the Third Amended Disclosure Statement.
Thereafter, the Bankruptcy Court requiring the Diocese to make certain amendments to the Third
Amended Disclosure Statement.

       On March 14, 2022, certain insurance companies filed a Joint Motion to Compel the
Claimants’ Attorneys to Submit the Disclosures Required by Federal Rule of Bankruptcy
Procedure 2019 [ECF 1311] seeking for certain representatives of Abuse Claimants to file
disclosures pursuant to the Bankruptcy Code. Following a hearing on this motion, the Court
granted the relief sought therein.

       On March 24, 2022, the Diocese filed a Fourth Amended Disclosure Statement [ECF 1361]
describing its Fourth Amended Plan of Reorganization [ECF 1363].

          On March 24, 2022, the Diocese filed a Fifth Amended Disclosure Statement [ECF 1393]
describing its Fifth Amended Plan of Reorganization [ECF 1394]. On April 6, 2022, the
Bankruptcy Court entered an order approving the Fifth Amended Disclosure Statement for
solicitation. [ECF 1447].

        In connection with the Insurance Settlement Motion, the Diocese, the Tort Committee and
certain Insurers filed various motions in limine. [ECF 1446, 1449, 1453, 1455, 1457, 1458, 1460,
1462] In addition, the Tort Committee filed a motion for summary judgment. [ECF 1451]. All
of these motions remain pending as of the filing of this Disclosure Statement.

           B. Adversary Proceedings

                     (i) The Injunction Adversary Proceeding

       On October 1, 2020, the Debtor filed an adversary complaint, commencing Adv. Pro. No.
20-1544 against certain Abuse Claimants. Through the complaint, the Diocese sought entry of an
order, pursuant to 11 U.S.C. §§ 105 and 362, enjoining the continued prosecution of certain
lawsuits against the Diocese and/or non-debtor parishes, schools and other Catholic ministry

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entities and institutions within the geographical territory of the Diocese which assert claims arising
from or related to alleged child abuse and which could negatively impact upon the Diocese’s ability
to successfully reorganize. In the alternative, the Diocese sought an order, pursuant to Rule 7065
of the Federal Rules of Bankruptcy Procedure enjoining or restraining the Abuse Plaintiffs from
continuing their prosecution of the Abuse Cases.

                     (ii) The Insurance Adversary Proceeding

         On October 21, 2020, the Debtor filed an adversary complaint, commencing Adv. Pro. No.
20-1573 against Insurance Company of North America, now known as Chubb Limited,
Underwriters at Lloyd’s, London, National Catholic Risk Retention Group, Inc., Interstate Fire &
Casualty Company d/b/a Allianz Insurance Group, Berkshire Hathaway Inc., d/b/a Resolute
Management Services Limited, Athena Assurance Co., United National Insurance Co., Hartford
Fire Insurance Co., Kemper Insurance, Lexington Insurance Co., U.S. Fire Insurance Co.,
International Fidelity Insurance Co., North River Insurance Co., Century Indemnity Co., Granite
State Insurance Co., Integrity Insurance Co., Colonial Penn Life Insurance, Northbrook Insurance
Associates, Inc. and potentially other insurance companies which may have insured the Diocese
during the relevant time periods described below (collectively, the “Insurance Defendants”).
Through the complaint, the Diocese is seeking an order, pursuant to 11 U.S.C. § 105, for
declaratory judgment regarding the rights, duties and liabilities of the Insurance Defendants
regarding certain insurance policies and certificates that the Insurance Defendants sold or which
the Insurance Defendants acquired responsibility for as they relate to insurance coverage for Abuse
Claims against the Diocese and/or non-debtor parishes, schools, or other Catholic ministry entities
and institutions within the geographical territory of the Diocese. This action also seeks declaratory
relief to determine the extent of the rights of the Diocese in said Policies and Certificates to the
extent they are property of the Diocese’s bankruptcy estate pursuant to 11 U.S.C. § 541. This
action is temporarily stayed. IAG’s insurance archeology works remains active despite the stay.

                     (iii) The DOC Trusts Adversary Proceeding

         On October 12, 2021, the Tort Committee filed an adversary complaint, commencing Adv.
Pro. No. 21-01393 (JNP), against the Diocese, and DOC Trusts. Through the complaint, the Tort
Committee seeks entry of an order (i) declaring that DOC Trusts’ accounts are property of the
Debtor’s Estate; (ii) ordering substantive consolidation of the Debtor’s Estate with DOC Trusts
effective as of October 1, 2020; (iii) declaring that the funds in DOC Trusts’s accounts are not held
in trust by the Diocese for the benefit of DOC Trusts, and all the funds therein constitute property
of the Debtor’s Estate; (iv) declaring a valid trust does not exist between DOC Trusts and the
Debtor; (vi) declaring the DOC Trusts accounts are freely alienable and subject to the claims
against the Diocese; and (vi) declaring that any trust existing prior to July 10, 2015 and October
15, 2015 respectively was a revocable trust subject to the claims of then-existing creditors,
including the Abuse Claimants. The Tort Committee filed a first amended adversary complaint
on December 3, 2021.

        The Diocese disputes all of these claims and does not believe the Tort Committee has any
basis for seeking such relief against the parties named. The Bankruptcy Court entered an order
denying the Tort Committee standing to bring certain counts of this action. As part of the Diocese
and Tort Committee’s settlement, the Tort Committee will dismiss this action with prejudice on

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the Effective Date of the Plan.




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                     (iv) The Parishes Adversary Proceeding                                             Formatted: No widow/orphan control


        On October 12, 2021, the Tort Committee filed an adversary complaint, commencing Adv.
Pro. No. 21-01394 (JNP), against the Diocese, Parishes, Missions, and Schools. Through the
complaint, the Tort Committee seeks entry of an order (i) ordering substantive consolidation of
the Debtor’s estate with the Parishes, Missions, and Schools effective as of October 1, 2020; (ii)
declaring the funds and assets in the Revolving Fund are not held in the trust by the Diocese for
the benefit of the Parishes, Missions, and Schools; and (iii) that the Revolving Fund, and all of the
funds contained herein, constitute property of the Debtor’s estate. The Tort Committee filed a first
amended adversary complaint on December 3, 2021.

        The Diocese disputes all of these claims and does not believe the Tort Committee has any
basis for seeking such relief against the parties named. The Bankruptcy Court entered an order
denying the Tort Committee standing to bring certain counts of this action. As part of the Diocese
and Tort Committee’s settlement, the Tort Committee will dismiss this action with prejudice on
the Effective Date of the Plan.

                     (v) The Restricted Assets Adversary Proceeding

        On December 3, 2021, the Tort Committee filed an adversary complaint, commencing
Adv. Pro. No. 21-01493 (JNP), against the Diocese and certain Parishes and Missions. Through
the complaint, the Tort Committee seeks entry of an order finding that the Diocese’s assets, as
more fully described in the complaint, are unrestricted and available to pay claims of the Diocese’s
creditors.

        The Diocese disputes all of these claims and does not believe the Tort Committee has any
basis for seeking such relief against the parties named. As part of the Diocese and Tort
Committee’s settlement, the Tort Committee will dismiss this action with prejudice on the
Effective Date of the Plan.

           C. Current and Historical Conditions

        The Diocese is current on all post-petition obligations. [ECF 856]. The Diocese asserts it
has filed all Monthly Operating Reports in accordance with the United States Trustee Guidelines,
as such Monthly Operating Reports have been amended in accordance with the Bankruptcy Court’s
order. [ECF 265, 297, 373, 461, 544, 597, 655, 676, 736, 802, 856, 974, 1135, 1136, 1162, 1300,
1406, 1407, 1408, 1409, 1411, 1412, 1413, 1414, 1415, 1428, 1429, 1430, 1433, 1434, 1435, 1436,
1456].

                                       ARTICLE VII.
                                  ASSETS OF THE DIOCESE

           A. The Debtor’s Assets

        This section contains a discussion of the Diocese’s potential assets available for
distribution to creditors. Earlier sections of the Disclosure Statement discuss entities located
within the territory of the Diocese, which are all separately incorporated and, are, therefore, not
included in the Diocese’s analysis of its assets.

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                     a. Gross Revenue and Support

        Under New Jersey law, the Diocese is an incorporated legal entity formed pursuant to
Article 2 of Chapter 15 of Title 16 of the Revised Statutes of New Jersey (N.J.S.A. 16:15-9 to 15-
17) with its own corporate structure and governance separate and distinct from the other Catholic
entities located within the geographic area of the Diocese.

       Gross revenue and support (“Gross Revenue”) for the recently ended fiscal year (July 1,
2020 through June 30, 2021) is approximately $43.0 million. Gross Revenue for the fiscal year
ending on June 30, 2020 was approximately $49.5 million while expenses were approximately
$58.2 million. Gross Revenue for the fiscal year ending on June 30, 2019 was approximately
$50.7 million and expenses were approximately $64.8 million. Expenses include non-cash items
including depreciation and reserves.

       The primary source of funds used by the Diocese to support its daily operations comes
from parish assessments, which in turn are funded primarily by contributions from parishioners.
The Diocese assesses parishes ten percent of their annual Ordinary Income. Assessments are due
on a monthly basis and provide financial support for pastoral, education, religious personnel
development (education and care of priest and seminarians), youth and administrative program
areas.

       The Diocese’s Gross Revenue is derived substantially from voluntary contributions of its
congregants and is wholly reliant on the continuing support of the faithful.

        Additional sources of operating funds include: (i) revenue from the share of the House of
Charity – Bishop’s Annual Appeal designated for Diocesan activities and the Diocesan share (30%)
of the Catholic Strong appeal; (ii) contributions and bequests from the faithful and grants from the
Diocese of Camden Trusts, Inc. and the Diocese of Camden Healthcare Foundation, Inc.; and (iii)
realized investment gains.

        The House of Charity – Bishop’s Annual Appeal is an annual campaign undertaken early
in the calendar year, proceeds of which are used to support various charitable, pastoral,
educational, and human service activities. As of June 30, 2021, pledges for the House of Charity
– Bishop’s Annual Appeal were over $942,000 to be collected through June 30, 2022. The House
of Charity provides the day-to-day operational income that supports ministries of the Diocese,
including support for seminarian education and housing for retired priests, support for VITALity
Catholic Healthcare Services, support for Catholic education, as well as support for our various
pastoral ministries. Monies that are raised in this fiscal year are expended next fiscal year. Without
the House of Charity, the Diocese could not fulfill its mission. These funds are restricted as they
are collected through a solicitation that describes how the funds will be used. Accordingly, the
Debtor asserts that the House of Charity Funds are not property of the estate.

        The Catholic Strong Campaign (“CSC”) was a capital campaign that sought to raise $40
million to primarily benefit the Parishes. Of the funds raised through the CSC, 70% was designated
solely for the Parishes. Their needs include updates to physical plant, new or expanded youth and
pastoral ministries, and the hiring of staff to support parish programs. Thirty (30%) percent of the
funds raised are designated for the Diocese for supporting stronger faith, stronger service and


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stronger Catholic schools. The Debtor asserts that these funds are restricted funds and, therefore,
are not assets of the estate. These funds are restricted because they were donated for a specific
purpose and the Diocese cannot use such funds outside of the donor’s intent. As of June 30, 2021,
the CSC had $40.1 million in pledges, of which $24.6 million has been collected and $17.2 million
has been distributed, or deposited to the credit of the parishes’ accounts in the Revolving Fund.

       The Tort Committee disagrees with certain assertions made by the Diocese in this section.
The settlement between the Diocese and the Tort Committee resolves all such claims.

                     b. Cash and Investments

        The Diocese has cash and investments totaling $29,724,540 as of January 31, 2022. This
includes $14,277,857 in cash accounts and $7,091,760 in the Revolving Fund. The Diocese asserts
that $2,063,882 of this amount is restricted based on the donor’s intent when donating such funds
to the Diocese. The restricted funds are as follows:

                                  Description                             Amount                      Formatted Table


             Funds Donated through Catholic Strong Campaign            $195,067
             Vitality Home & Parish Catholic Healthcare                $344,770
             Vitality Catholic Healthcare – Parish Nursing             $32,719
             Vitality – Deaf Ministry                                  $47,696
             Nursing Home Sale Proceeds pursuant to Cy Pres Order      $339,722
             St. Mary Cemetery Rt. 42 Bridge Escrow                    $162,849
             St. Mary Cemetery Bridge Legal Fees Escrow                $17,185
             Vitality – SJCMA                                          $6,151
             Special Gifts                                             $917,723
                                                                                                      Formatted: No widow/orphan control
       The Tort Committee disagrees with certain assertions made by the Diocese in this section.
The settlement between the Diocese and the Tort Committee resolves all such claims.

                     c. Furniture, Fixtures and Equipment

        The Diocese owns certain personal property, including, but not limited to office equipment,
furniture, fixtures, vehicles, and religious accessories (collectively, the “FF&E”). The details of
FF&E are set forth in the Appraisal Report prepared by A. Atkins Appraisal Corporation (the
“FF&E Appraisal”). Pursuant to that appraisal, the FF&E is valued at $192,620. A copy of each
appraisal is available on the docket at ECF 301. The FF&E Appraisal appraised the FF&E of the
Diocese at the following locations: (i) 631 Market Street, Camden, New Jersey; and (ii) 1845
Haddon Avenue, Camden, New Jersey.

         The Diocese also has FF&E located at the following addresses: (i) 510 Cooper Street,
Woodbury, New Jersey; (ii) the various cemeteries operated by the Diocese (Cemetery
Administration, All Saints Cemetery & Mausoleum, Calvary Cemetery, Gate of Heaven Cemetery,
Holy Cross Cemetery, Resurrection Cemetery, St. Mary Cemetery, Sacred Heart Cemetery); (iii)
Newman Catholic Campus Ministry Center, 235 S. Pomona Road, Pomona, NJ; (iv) Pastoral
Center, 15 N. 7th Street, Camden, NJ; (v) Camden Center for Law & Social Justice, 128 Broadway

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Street, Camden, NJ; (vi) Sacred Heart North, Convent & Residence, 200/250 Saint Mary’s Drive,
Cherry Hill, NJ; (vii) New St. Mary, 515 W. Browning Road, Bellmawr, NJ; (viii) Carlo Acutis
Center, 500 S. New Rd., Absecon, NJ; and (ix) Newman Center (Rowan), 1 Redmond Avenue,
Glassboro, NJ. The Diocese values the FF&E at these locations at $186,267.

        On its Petition, the Diocese listed Personal Property with a value of $53,575,365.98. This
figure includes FF&E, but also includes assets listed elsewhere in this Disclosure Statement,
including: (i) cash of $8,401,409.12 on the Petition Date (Article VII.A.c); (ii) accounts receivable
of $26,300,951.00 on the Petition Date (Article VII.A.e); (iii) notes receivable of $18,798,059.86
on the Petition Date (Article VII.A.e).

                     d. Real Estate

        The Diocese owns 52 pieces of real property. On June 3, 2021, the Diocese filed a copy of
the Appraisal Report dated May 25, 2021, prepared by Binswanger Company for the real property
of the Diocese. [ECF 657]. Binswanger determined that the value of the 33 parcels it appraised
as follows:

 Property Address                                                  Block   Lot        Value             Formatted Table
 631-637 Market Street, Camden, NJ                                   125     57       $3,300,000
                                                                     125     24
                                                                     125     21
                                                                     125     12
                                                                     125      8
 1845 Haddon Avenue, Camden, NJ                                    1279.02   17        $2,050,000
 901 Hopkins Road, Haddon Township, NJ                              13.03     2        $2,170,000
 1000 Williamstown Road, Gloucester Township, NJ                    18302     1        $1,400,000
 SEC Cross Keys Road at Kearsley Road, Winslow                       302    1.01        $900,000
 Township, NJ
 2209 & 2221 Route 9, Dennis Township, NJ                          256.05      43      $1,090,000
                                                                   256.05      44
 510 Cooper Street, Woodbury, NJ                                    161         2       $635,000
 1145 Delsea Drive, Deptford, NJ                                      4         5       $770,000
 52-90 Blackwood-Barnsboro Road, Deptford, NJ                       417         8      $2,800,000
                                                                    418         1
                                                                    418         2
                                                                    418         3
                                                                    418         4
                                                                    418         5
                                                                    418         6
 S/S Center Street, Mantua Township, NJ                             199         6       $430,000
                                                                    199         7
 SEC Route 45 & Harrisonville Road, South Harrison                   28         9       $820,000
 Township, NJ
 N/S Ferell Road, South Harrison Township, NJ                         15        4       $400,000
 641 Bridgeton Pike, Elk Township, NJ                                  7        1       $750,000


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 Property Address                                                Block     Lot        Value          Formatted Table
 440 Whig Lane, Elk Township, NJ                                   172       7        $1,440,000
 248 Clayton-Aura Road, Clayton Borough, NJ                        502       4
 730 N. Delsea Drive, Clayton Borough, NJ                         1902      31         $200,000
 N/S East Washington Avenue, Franklinville, NJ                     103      59         $260,000
 E/S Tuckahoe Rd. & Victoria Ave., Newfield, NJ                   6001       1         $870,000
                                                                  6503       7
                                                                  6702      39
                                                                  6702      40
 1139 Delsea Drive, Deptford, NJ                                    4       25         $185,000
 TOTAL                                                                                $20,470,000
                                                                                                     Formatted: No widow/orphan control
        In addition to the 33 parcels appraised by Binswanger, the remaining properties are valued
as follows:

 Basis         Property Address                                    Block Lot   Value
 ECF 1299      419 George Street, Galloway, NJ                       527    7   $250,000             Formatted Table
 ECF 1299      430 S. Pomona Road, Galloway, NJ                      527    1   $113,000
 ECF 1299      700 College Drive, Gloucester, NJ                   14003 2.01    $10,000
 ECF 1299      6075 West Jersey Ave, Egg Harbor Township, NJ        2610   14   $300,000
 ECF 1299      Piney Lane, Franklin, NJ                             6702   43   $322,000
               Tuckahoe Road, Franklin, NJ                          6702   40
               Tuckahoe Road, Franklin, NJ                          6503    1
               1300 Tuckahoe Road, Franklin, NJ                     6503    1
               1300 Tuckahoe Road, Franklin, NJ (Back)              6503    2
               1300 Tuckahoe Road, Franklin, NJ (Back)              6503    2
 ECF 1299      Weatherby Road, Maurice River, NJ                     248    3    $37,850
 ECF 1299      235 South Pomona Road, Galloway Township, NJ          648   10   $385,000
 ECF 1299      336 Kings Highway, Dennis Township, NJ              256.05  13     <$100
 ECF 1299      261-263 Cross Keys Road, Berlin, NJ                   118  2&3     <$100
 ECF 1299      1 Redmond Avenue, Glassboro, NJ                       21   7.01  $205,000
 ECF 1299      312 Cumberland Street, Gloucester City, NJ            60    10     <$100
 ECF 1299      Pitney Rd, Galloway, NJ                             988.01  26     <$100
 ECF 290       1597 Almonesson Road, Deptford, New Jersey            226    3    $75,000
               TOTAL                                                           $1,698,250
                                                                                                     Formatted: No widow/orphan control
       Accordingly, the total value of the Diocese’s real property is: $22,168,250.

                     e. Parish Loans and Accounts Receivable

       In the ordinary course of its business, the Diocese made various unsecured loans from the
Revolving Fund to the Parishes and Schools located within the territory of the Diocese. The
following chart details the loans as of the Petition Date:




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Loan No.     Description                                        Principal     Doubtful     or   Formatted Table
                                                                Balance       Uncollectible
                                                                              Amount
L-2003-      Memorandum of Indebtedness (Amended)               $757,300.35   $189,325.09
228          entered into January 1, 2013 between the
             Debtor and Camden Catholic High School,
             Cherry Hill, N.J. for outstanding payables.
             *This MOI was superseded.
L-2003-      Memorandum of Indebtedness (Amended)               $786,285.15   $196,571.29
227          entered into October 21, 2015 between the
             Debtor and Camden Catholic High School,
             Cherry Hill, N.J. for various capital
             improvements. (Consolidated Loan)
             *This MOI replaces and supersedes the MOI
             dated January 1, 2013.
L-1418-      Memorandum of Indebtedness entered into on         $49,513.72    $0.00
102          October 8, 2015 between the Debtor and The
             Parish of the Holy Cross, Bridgeton, NJ, for
             outstanding payables.
L-2001-      Memorandum of Indebtedness entered into on         $546,279.81   $409,709.86
221          October 13, 2017 between the Debtor and Holy
             Spirit High School, Absecon, NJ for payroll and
             outstanding accounts payable.
L-1435-      Memorandum of Advances entered into on             $256,875.51   $192,656.63
007          March 20, 2007 between the Debtor and St.
             Vincent Pallotti Parish, Haddon Township, NJ,
             for the purpose of rectory renovations (St.
             Joseph the Worker Rectory/Meeting Room).
L-1428-      Memorandum of Indebtedness entered into July       $247,955.54   $123,977.77
006          1, 2005 between the Debtor and Resurrection
             (St. Maximilian Kolbe Deferred Bishop
             McHugh Regional School Loan).
L-1428-      Memorandum of Indebtedness entered into July       $561,000.00   $280,500.00       Formatted: Don't keep with next, Don't keep lines together
007          1, 2005 between the Debtor and Resurrection
             (St. Maximilian Kolbe Deferred Bishop
             McHugh Regional School Loan).
L-1104-      Memorandum of Indebtedness entered into            $4,847,715.17 $0.00
002          September 1, 2012 between the Debtor and St.
             Joseph’s Catholic Church, Sea Isle City, NJ, for
             the construction of a new church
L-1113-      Memorandum of Indebtedness entered into on         $677,624.52   $169,406.13
006          October 1, 2016 between the Debtor and St.
             Padre Pio Parish, Vineland, NJ, for the building
             of a gymnasium (St. Mary’s Regional School
             renovation).



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Loan No.     Description                                        Principal     Doubtful     or   Formatted Table
                                                                Balance       Uncollectible
                                                                              Amount
L-1113-      Memorandum of Indebtedness entered into            $267,355.22   $66,838.81
007          October 1, 2016 between the Debtor and St.
             Padre Pio Parish, Vineland, NJ, for the building
             of a gymnasium
L-1113-      Memorandum of Indebtedness entered into            $407,780.19   $101,945.05
008          October 1, 2016 between the Debtor and St.
             Padre Pio Parish, Vineland, NJ, for parish and
             school expenses
L-1119-      Memorandum of Advances and Indebtedness            $52,228.48    $0.00
006          No. 2 entered into July 1, 2009 between the
             Debtor and St. Agnes’ Church, Blackwood
             Terrace, N.J.; The Roman Catholic Church of
             St. Jude, Gloucester Township, N.J.; The
             Church of St. Charles Borromeo, Washington
             Township, N.J.; The Church of Saints Peter and
             Paul, Washington Township, N.J.; and the
             Church of the Holy Family, Washington
             Township, N.J., for renovations of, and the
             addition of, a gymnasium to Our Lady of Hope
             Regional      School    building.         (This
             Memorandum           was      replaced        by
             Memorandum           of     Advances        and
             Indebtedness No. 2A.)
L-1120-      Memorandum of Advances and Indebtedness            $196,472.36   $0.00             Formatted: Don't keep with next, Don't keep lines together
006          No. 2A entered into March 1, 2011 between the
             Debtor and Our Lady of Hope Parish,
             Blackwood, N.J. (formerly St. Agnes’ Church,
             Blackwood Terrace, N.J.); The R.C. Church of
             St. Jude, Gloucester, Township, N.J. (Our Lady
             of Hope); The Church of St. Charles Borromeo,
             Washington Township, N.J.; The Church of
             Saints Peter and Paul, Washington Township,
             N.J.; and The Church of the Holy Family,
             Washington Township, N.J., for renovation and
             expansion of Our Lady of Hope Regional
             School and Our Lady of Hope Parish,
             Blackwood, N.J. (St Charles – Our Lady of
             Hope School Renovation Loan).




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Loan No.     Description                                      Principal     Doubtful     or   Formatted Table
                                                              Balance       Uncollectible
                                                                            Amount
L-1417-      Memorandum of Advances and Indebtedness          $628,133.40   $0.00             Formatted: Don't keep with next, Don't keep lines together
006          No. 2A entered into March 1, 2011 between the
             Debtor and Our Lady of Hope Parish,
             Blackwood, N.J. (formerly St. Agnes’ Church,
             Blackwood Terrace, N.J.); The R.C. Church of
             St. Jude, Gloucester, Township, N.J. (Our Lady
             of Hope); The Church of St. Charles Borromeo,
             Washington Township, N.J.; The Church of
             Saints Peter and Paul, Washington Township,
             N.J.; and The Church of the Holy Family,
             Washington Township, N.J., for renovation and
             expansion of Our Lady of Hope Regional
             School and Our Lady of Hope Parish,
             Blackwood, N.J.
L-1137-      Memorandum of Indebtedness entered into          $118,112.51   $0.00
001          December 12, 2003 between the Debtor and
             Mater Ecclesiae Chapel.
L-1401-      Memorandum of Indebtedness entered into          $507,065.04   $507,065.04
001          December 31, 2006 between the Debtor and
             Our Lady of Mt. Carmel/Fatima for Cathedral
             Immaculate Conception.
L-1416-      Memorandum of Indebtedness entered into          $335,743.10   $167,871.55
001          December 31, 2006 between the Debtor and
             Church of St. Edward.
L-1417-      Memorandum of Indebtedness No. 1A entered        $100,263.89   $25,065.97
222          into January 31, 2012 between the Debtor and
             Our Lady of Hope Parish, Blackwood, N.J. for
             the renovation and expansion of Our Lady of
             Hope Regional School (facility loan). (*This
             Memorandum, together with Memorandum
             of     Indebtedness     No.    1B,     replace
             Memorandum           of    Advances        and
             Indebtedness No. 1.)
L-1417-      Memorandum of Indebtedness No. 1B entered        $428,542.55   $107,135.64
223          into January 31, 2012 between the Debtor and
             Our Lady of Hope Parish, Blackwood, N.J. for
             the renovation and expansion of Our Lady of
             Hope Regional School.
L-1419-      Memorandum of Indebtedness entered into July     $149,967.98   $0.00             Formatted: Don't keep with next, Don't keep lines together
018          10, 2015 between the Debtor and Saint Gabriel
             the Archangel Parish, Carneys Point, N.J. for
             prior year DSIP, pension and health insurance
             premiums owed to the Diocese.


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Loan No.     Description                                         Principal     Doubtful     or   Formatted Table
                                                                 Balance       Uncollectible
                                                                               Amount
L-1419-      Memorandum of Indebtedness entered into             $25,885.90    $0.00
019          between the Debtor and Saint Gabriel the
             Archangel Parish (debt forgiveness loan).
L-1420-      Memorandum of Advances entered into April           $1,584,918.24 $0.00
002          21, 2016 between the Debtor and The Catholic
             Community of Christ Our Light for the purpose
             of constructing a parish center/gym.
L-1422-      Memorandum of Advances entered into January         $425,610.27   $319,207.70
001          28, 2011 between the Debtor and Blessed
             Teresa of Calcutta for the purpose of replacing
             a heating and air conditioning system at St. John
             Church ($85,000—partial of total loan).
L-1438-      Memorandum of Indebtedness entered into             $2,890,348.65 $2,890,348.65
226          March 31, 2012 between the Debtor and The
             Church of the Assumption at Pomona for the
             construction of Assumption Regional Catholic
             School.
L-1441-      Memorandum of Indebtedness entered into July        $78,102.72    $78,102.72
003          22, 2011 between the Debtor and Divine Mercy
             Parish to pay school subsidy to Bishop Shad
             Regional School.
L-1442-      Memorandum of Indebtedness entered into             $308,000.00   $308,000.00       Formatted: Don't keep with next, Don't keep lines together
022          June 26, 2012 between the Debtor and Sacred
             Heart High School, Vineland, N.J. for
             operational expenses for the 2011-2012 school
             year.
L-1445-      Memorandum of Advances entered into August          $428,329.00   $107,082.00
221          30, 2018 between the Debtor and Holy Angels
             Elementary School for the purpose of providing
             cash to pay outstanding accounts payable owed
             to outside parties.
L-1447-      Memorandum of Indebtedness entered into             $2,036,202.52 $0.00
006          September 1, 2012 between the Debtor and St.
             Vincent de Paul Catholic Church, Mays
             Landing, N.J. for the construction of a new
             church.
L-2006-      Memorandum of Advances entered into June 7,         $242,000.00   $242,000.00
227          2019 between the Debtor and St. Joseph High
             School, Hammonton, N.J. for the purpose of
             providing cash to pay the outstanding invoices
             owed to Northeast Mechanical Services and to
             provide cash for operations in June 2019.



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Loan No.     Description                                      Principal     Doubtful     or   Formatted Table
                                                              Balance       Uncollectible
                                                                            Amount
L-6133-      Memorandum of Indebtedness entered into          $8,319.43     $0.00
661          October 20, 2017 between the Debtor and John
             Wasilewski for federal tax liability and
             penalties.
L-1029-      St. Joseph Pro. Cathedral Loan (No Loan          $948,570.05   $948,570.05
001          Agreement)
L-1029-      St. Joseph’s SAP Ch. Loan (No Loan               $284,463.09   $284,463.09
101          Agreement)
L-1029-      St. Joseph’s SAP Sch. Loan (No Loan              $5,000.00     $5,000.00
102          Agreement)
L-1031-      Our Lady of the Angels Bishop Mc Hugh            $397,215.33   $238,329.20
006          Regional School Loan (No Loan Agreement)
L-1031-      Our Lady of the Angels – Property Loan – Steel   369,604.74    $221,762.84
007          Road Properties (No Loan Agreement)
L-1401-      Cathedral Immaculate Conception Loan             $3,481,397.95 $3,481,397.95
006          (cathedral preservation) (No Loan Agreement)
L-1401-      Holy Name Grade School Loan (No Loan             $64,072.00    $64,072.00        Formatted: Don't keep with next, Don't keep lines together
021          Agreement)
L-1401-      Holy Name School Operating Loan (No Loan         $199,737.00   $199,737.00
022          Agreement)
L-1426-      Our Lady of Guadalupe Loan (No Loan              $1,125,115.46 $843,836.60
001          Agreement)
L-1426-      Our Lady of Guadalupe – JP II School             $2,698,807.82 $2,698,807.82
221          Renovation Loan (No Loan Agreement)
L-1426-      St. JP II Regional Elementary School Loan (No    $363,238.00   $363,238.00
222          Loan Agreement)
L-1438-      Loan to Our Lady of Perpetual Help, 146 S.       $3,648,310.93 $3,648,310.93
010          Pitney Road, Galloway, NJ 08205 (No Loan
             Agreement)
L-1442-      Loan to Christ the Good Shepherd, 1655           $2,238,571.26 $2,238,571.26
001          Magnolia Road, Vineland, NJ 08361 (Sacred
             Heart Church) (No Loan Agreement)
L-1442-      Loan to Christ the Good Shepherd, 1655           $61,234.02    $61,234.02
006          Magnolia Road, Vineland, NJ 08361 (Sacred
             Heart Prop. Loan) (No Loan Agreement)
L-1442-      Loan to Christ the Good Shepherd, 1655           $169,320.63   $169,320.63
011          Magnolia Road, Vineland, NJ 08361 (St.
             Isadore) (No Loan Agreement)
L-1442-      Loan to Christ the Good Shepherd, 1655           $243,320.00   $243,320.00
012          Magnolia Road, Vineland, NJ 08361 (Pension
             Loan) (No Loan Agreement)



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 Loan No.      Description                                        Principal         Doubtful     or      Formatted Table
                                                                  Balance           Uncollectible
                                                                                    Amount
 L-1442-       Loan to Christ the Good Shepherd, 1655             $379,820.00       $379,820.00
 021           Magnolia Road, Vineland, NJ 08361 (Sacred
               Heart High School Loan) (No Loan Agreement)
 L-1442-       Loan to Christ the Good Shepherd, 1655             $235,000.00       $235,000.00
 023           Magnolia Road, Vineland, NJ 08361 (Sacred
               Heart High School Expansion Loan) (No Loan
               Agreement)
 L-2006-       Loan to St. Joseph’s High School, 328 Vine         $1,133,706.63 $1,133,706.63
 221           Street, Hammonton, NJ 08037 (No Loan
               Agreement)
 L-2006-       Loan to St. Joseph’s High School, 328 Vine         $3,857,727.79 $3,857,727.79
 225           Street, Hammonton, NJ 08037 (Building Loan)
               (No Loan Agreement)
 L-2006-       Loan to St. Joseph High School, 328 Vine Street    $436,906.96       $436,906.96
 226           Hammonton, NJ 08037 (Payables Loan) (No
               Loan Agreement)
 L-4042-       Loan to Village Apartments, 1845 Haddon            $10,000.00        $0.00
 441           Avenue, Camden, NJ 08103 (Escrow Loan) (No
               Loan Agreement)
 L1065-        Loan to Our Lady of Sorrows Parish 724 Maple       $71,655.00        $17,913.75
 001           Avenue, Linwood, NJ 08221
               TOTAL:                                             42,372,725.88 $28,253,856.66
                                                                                                         Formatted: No widow/orphan control
        All of the Loans were listed in the Diocese’s petition. The allowance for doubtful accounts
reflects collection experience and risk. This analysis is required under United States Generally
Accepted Accounting Principles (“GAAP”). The Diocese conducts its analysis annually to comply
with GAAP. The Diocese has not written off or waived any of its rights to collect on all loans and
accounts receivable. The doubtful or uncollectible accounts are based on an analysis of the
collectability of these accounts. Annually, the Finance Office of the Diocese meets and analyzes
the loans and accounts receivable outstanding from each parish and other Catholic entity. The
analysis includes, but is not limited to: (i) payment history for the last year of current and past
debt; (ii) availability of funds in the Parish trust; (iii) finances of the Parishes and Schools (i.e.
enrollment, ordinary income, etc.); and (iv) other circumstances of the individual parish or entity
that may affect the ability to repay debt.

       As a result of the pandemic, the Diocese waived, during the third and fourth quarter of
2020: (i) assessments on the Parishes; and (ii) interest on all loans. Insofar as assessments are
based upon prior year income, the assessment collections for fiscal year 2021 were impacted.

       Many of the outstanding loans and receivables are legacy debt resulting from the merger
or consolidation of two or more parishes into a single parish. These mergers and consolidations
were completed for financial reasons after significant analysis by the Diocese, the respective
parish(es), and the congregants. Since 2009, forty-one (41) mergers or consolidations have


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occurred – resulting in the current sixty-two (62) parishes within the territory of the Diocese. For
example, Loan No. L1401-001 is the result of certain mergers in 2010 of The Church of the
Immaculate Conception, Camden; The Church of the Holy Name, Camden, N.J.; and the Church
of Our Lady of Mount Carmel and Fatima, Camden, N.J. These parishes merged into The Parish
of the Cathedral of the Immaculate Conception, whose current address is 642 Market Street,
Camden, New Jersey 08102. As a result, The Church of the Holy Name loan for repairs, and the
loans for operations and repairs for the Church of Our Lady Mount Carmel and Fatima, Camden,
N.J. became the debt of The Parish of the Cathedral of the Immaculate Conception.

        A full analysis of the loans and the doubtful/uncollectible amounts was provided by the
Diocese to the Tort Committee. This information included whether the loan was a performing or
unperforming loan. The Diocese asserts it has no basis to accelerate performing loans. In addition,
the Parishes assert that the loans are owed to the Revolving Fund and, therefore, are not property
of the estate.

        The Liquidation Analysis provides a $0.00 value for these loans and any outstanding
accounts receivable owed by the parishes. This is the result of an analysis performed by the
Diocese and the causes of action that would exist if the Diocese was liquidated. The Parishes
would have substantial claims and offsets against the Diocese for the following non-exhaustive
services: (i) the Diocese’s self-insurance program (DSIP); (ii) the health insurance program
(CHIP-DOC); and (iii) accounting and operational support. Due to the above claims, the Diocese
asserts there does not appear to be any significant value from these loans and receivables in a
liquidation scenario. The Tort Committee does not agree with the Debtor’s analysis. Rather, it
believes a substantial amount of the loans are collectible and therefore should be reflected in the
Debtor’s liquidation analysis.

          In addition, each Parish has filed a proof of claim against the Diocese asserting various set
offs and causes of action. [See Claim Nos. 287-366]. These claims include, but are not limited
to: (i) indemnification, reimbursement and contribution claims; (ii) collateral and setoff rights; and
(iii) claims related to the Parish Trusts. Id.

       The Tort Committee disagrees with certain assertions made by the Diocese in this section.
The settlement between the Diocese and the Tort Committee resolves all such claims.




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                     f. Litigation Claims Against The Diocese of Camden Trusts, Inc.                    Formatted: No widow/orphan control


                              i. Alleged Fraudulent Transfer Claims

       The Tort Committee asserts that the Declaration of Trust between the Diocese and DOC
Trusts is a fraudulent transfer pursuant to section 548(e)(1) of the Bankruptcy Code. Section
548(e)(1) provides:

       In addition to any transfer that the trustee may otherwise avoid, the trustee may
       avoid any transfer of an interest of the debtor in property that was made on or within
       10 years before the date of filing of the petition if –
              (A) Such transfer was made to a self-settled trust or similar device;
              (B) Such transfer was by the debtor;
              (C) The debtor is a beneficiary of such trust of similar device; and
              (D) The debtor made such transfer with actual intent to hinder, delay, or
                  defraud any entity to which the debtor was or became, on or after the
                  date that such transfer was made, indebted.
         This claim fails because no transfer was made from the Diocese to DOCT within ten years
before the Petition Date. 11 U.S.C. § 548(e)(1) (“the trustee may avoid any transfer of an interest
of the debtor in property that was made on or within 10 years before the date of the filing of
the petition . . . .”) (emphasis added). The Tort Committee’s complaint states that: “DOCT was
initially funded with funds held by the Diocese. Upon information and belief, no additional
funding has been provided to DOCT from any entity since its initial funding.” [ECF 871-3 at
¶22 (emphasis added)]. DOC Trust was formed and funded in 2001 – 20 years prior to the
Diocese’s chapter 11 filing. Accordingly, this claim is frivolous.

        Second, the Diocese is not a beneficiary of the “alleged trust” as required by Section
548(e)(1)(C). In this regard, the terms of the Declaration of Trust explicitly state that the Diocese
is not a beneficiary of any DOCT funds: “Under no circumstances will the Diocese be, or be
considered or deemed to be, a beneficiary of any trust affirmed and ratified herein and hereby in
any way whatsoever, or to have any right or claim of any type, kind, nature or description to the
Assets of the DOCT.” Moreover, the Diocese transferred funds to establish DOCT, a corporation.
DOC Ttust is not a trust. The trust described by the Declaration of Trust is not DOC Trust. The
Declaration of Trust concerns the trust, in which the Diocese is the trustee and DOC Trust is the
beneficiary. The Diocese, as trustee, may invest and manage DOC Trust’s funds for the benefit of
DOC Trust. Therefore, the section 548 claim must fail as the debtor must also be the beneficiary
of the trust in question. The Diocese is not, and has never been, a beneficiary of DOC Trust
because DOC Trust is not a trust. This is fatal to the Tort Committee’s claims.

         Finally, even ignoring the utter failure of the Tort Committee to establish the first two
elements of a section 548 claim, the Tort Committee is unable to establish actual fraud in
connection with the alleged transfer. The only statement made by the Tort Committee relating to
fraud is that “The Debtor transferred the DOCT Accounts to the self-settled Alleged Trust with
the intent to hinder, delay, or defraud current and future creditors.” [ECF 871-3 at ¶126]. As an
initial matter, as expressed above, DOCT is not a trust. Additionally, this is wholly insufficient to
demonstrate a colorable claim for fraud. Not only is it a legal conclusion, it has none of the facts


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required to withstand a motion to dismiss. Accordingly, the Tort Committee has failed to
demonstrate a colorable claim for actual intent to defraud creditors.

        Further, as a practical matter, the Diocese believes the pursuit of DOC Trusts will be time
consuming and expensive. While the Debtor asserts likelihood of success is remote, no doubt
exists that any such claim will involve substantial discovery and a lengthy trial, most likely before
the United States District Court. Any final judgment will lead to an appeal to the Third Circuit
Court of Appeals. The likely timeframe to resolve any contested claim will be at least five (5)
years and cost in excess of $1 million in fees and expenses.

        Through the Standing Motion, the Tort Committee sought the right to bring these claims
against DOC Trusts. On March 24, 2022, the Court entered an order denying the Standing Motion.
The Tort Committee filed an appeal of this order to the District Court. The settlement between the
Diocese and the Tort Committee resolves all of these claims.

                               ii. Alleged Substantive Consolidation/Alter-Ego Claims

       The Tort Committee has asserted that the assets of DOC Trusts should be treated as
property of the Diocese’s estate through substantive contribution and alter ego claims.

         Substantive consolidation allows a court to treat “‘separate legal entities as if they were
merged into a single survivor left with all the cumulative assets and liabilities (save for inter-entity
liabilities, which are erased).’” In re Owens Corning, 419 F.3d 195, 205 (3d Cir. 2005) (quoting
Genesis Health Ventures, Inc. v. Stapleton (In re Genesis Health Ventures, Inc.), 402 F.3d 416,
423 (3d Cir. 2005)). “‘The result is that claims of creditors against separate debtors morph to
claims against the consolidated debtor.’” Id. Substantive consolidation is “a construct of federal
common law” that “emanates from equity.” Id.

        In Owens Corning, the Third Circuit held that a proponent of substantive consolidation
must demonstrate the following with regard to the entities for which consolidation is sought: “(i)
prepetition they disregarded separateness so significantly their creditors relied on the breakdown
of entity borders and treated them as one legal entity, or (ii) postpetition their assets and liabilities
are so scrambled that separating them is prohibitive and hurts all creditors.” Id. at 211 (emphasis
added).

        First, with respect to whether “postpetition their assets and liabilities are so scrambled that
separating them is prohibitive and hurts all creditors”, the Diocese asserts there is no evidence that
the assets of the Diocese and DOC Trusts were combined pre- or post-petition. Accordingly, there
can be no claim that the assets are “scrambled.”

        Second, the Diocese asserts there is no evidence that the Diocese and DOC Trusts
disregarded separateness or that any of its creditors treated them as one legal entity. As set forth
above, the Diocese and DOC Trusts have separate Boards of Trustees, are separately incorporated,
and run independently of each other. The books and records of the Diocese and DOC Trusts are
maintained independently of each other. Accordingly, the Diocese does not believe that a claim
exists relating to disregarding the separateness of the two entities. Moreover, the only common
creditor of the Diocese and DOC Trusts – PNC Bank – clearly did not treat the Diocese and DOC


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Trusts as one legal entity. In this regard, the PNC required that DOC Trusts guarantee the Loan
and enter into a Pledge Agreement relating to DOC Trusts’ assets. The Diocese asserts that PNC’s
course of dealing with DOC Trusts and the Diocese confirms their separateness.

        Third, courts have prohibited the substantive consolidation of a debtor with a non-profit
non-debtor entity. Off. Comm. of Unsecured Creditors v. The Archdiocese of Saint Paul and
Minneapolis (In re The Archdiocese of Saint Paul and Minneapolis), 888 F.3d 944 (8th Cir. 2018)
(“No appellate court has recognized the substantive consolidation of a debtor and a non-profit
nondebtor, let alone a debtor and over 200 non-profit non-debtors.”); see also 11 U.S.C. § 303(a)
(“[a]n involuntary case may be commenced only under chapter 7 or 11 of this title, and only against
a person, except a farmer, family farmer, or a corporation that is not a moneyed, business, or
commercial corporation, that may be a debtor under the chapter under which such case is
commenced.”). On this basis alone, such claims are futile. DOC Trusts is a non-profit entity
formed under New Jersey law and, pursuant to the case law set forth herein, cannot be substantively
consolidated with the Diocese.

        The Diocese believes the Tort Committee’s alter ego claims will similarly fail. In order to
warrant piercing the corporate veil of a parent corporation, a party must establish two elements: 1)
that the subsidiary was dominated by the parent corporation, and 2) that adherence to the fiction
of separate corporate existence would perpetrate a fraud or injustice, or otherwise circumvent the
law. State, Department of Environmental Protection v. Ventron, 94 N.J. 473, 500-01 (1983). In
determining whether the first element has been satisfied, courts consider whether “the parent so
dominated the subsidiary that it had no separate existence but was merely a conduit for the parent.”
Id. at 501; Interfaith Cmty. Org. v. Honeywell Int’l, Inc., 215 F.Supp.2d 482, 497 (D.N.J. 2002)
(“veil-piercing is proper when a subsidiary is an alter ego or instrumentality of the parent
corporation”). In determining corporate dominance, courts engage in a fact-specific inquiry
considering whether the subsidiary was grossly undercapitalized, the day-to-day involvement of
the parent's directors, officers and personnel, and whether the subsidiary fails to observe corporate
formalities, pays no dividends, is insolvent, lacks corporate records, or is merely a facade. Bd. of
Trs. v. Foodtown, Inc., 296 F.3d 164, 172 (3d Cir. 2002); Pearson v. Component Tech. Corp., 247
F.3d 471, 484 (3d Cir.), cert. denied, 534 U.S. 950 (2001); Marzano v. Computer Sci. Corp., 91
F.3d 497, 513 (3d Cir. 1996); Solomon v. Klein, 770 F.2d 352, 353–54 (3d Cir. 1985); Seltzer v.
I.C. Optics, Ltd., 339 F.Supp.2d 601, 610 (D.N.J. 2004).

        Here, the Diocese and DOC Trusts do not have a parent/subsidiary relationship. First, the
Diocese asserts there is no evidence that supports that the Diocese dominates DOC Trusts such
that DOC Trusts has no separate existence. As set forth previously, the Diocese and DOC Trusts
have separate boards and are separately incorporated. DOC Trusts makes funding decisions
independently of the Diocese and has denied funding in the past. Thus, the Diocese asserts that
DOC Trusts has not been a mere conduit for the Diocese. Second, the Diocese asserts that DOC
Trusts is not grossly undercapitalized or insolvent, the Diocese is not involved in the day-to-day
operations of DOC Trusts, all corporate formalities are observed and DOC Trusts has corporate
records. Finally, the Diocese asserts that DOC Trusts was not separately incorporated to perpetrate
a fraud. Accordingly, the Diocese believes this claim is futile.

      Finally, as a practical matter, the Diocese believes the pursuit of DOC Trusts will be time
consuming and expensive. While the likelihood of success is remote, no doubt exists that any such

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claim will involve substantial discovery and a lengthy trial, most likely before the United States
District Court. Any final judgment will lead to an appeal to the Third Circuit Court of Appeals.
The likely timeframe to resolve any contested claim will be at least five (5) years and cost in excess
of $5 million in fees and expenses.

        Through the Standing Motion, the Tort Committee sought the right to bring these claims
against DOC Trusts. On March 24, 2022, the Court entered an order denying the Standing Motion.
The Tort Committee has appealed this order to the District Court. The settlement between the
Diocese and the Tort Committee resolves all of these claims.

                               iii. Validity of Trust/Property of the Estate Claims

        The Tort Committee has asserted that a valid trust does not exist between the Diocese and
DOC Trusts pursuant to New Jersey law, that the Diocese cannot shield DOC Trusts assets from
creditors under New Jersey law, and that the assets of DOC Trusts are property of the Debtor’s
Estate.

       The Diocese does not believe that the Tort Committee has made any supportable arguments
with respect to any of these claims. First, as set forth previously, the Tort Committee
fundamentally misunderstands the corporate form of DOC Trusts, which is not a trust, but rather
a separately incorporated entity. Second, the Tort Committee fails to recognize that DOC Trust is
a separately incorporated entity, is not a debtor, and owns its owns assets. Accordingly, these
claims have no merit.

        Further, as a practical matter, the Diocese believes the pursuit of DOC Trusts will be time
consuming and expensive. While the Debtor asserts likelihood of success is remote, no doubt
exists that any such claim will involve substantial discovery and a lengthy trial, most likely before
the United States District Court. Any final judgment will lead to an appeal to the Third Circuit
Court of Appeals. The likely timeframe to resolve any contested claim will be at least five (5)
years and cost in excess of $1 million in fees and expenses.

        The settlement between the Diocese and the Tort Committee resolves all of these claims.

                      g. Litigation Claims Against the Other Catholic Entities.

        The Tort Committee has asserted that the Parishes, Missions, and Schools should be
substantively consolidated with the Diocese. Through this allegation, the Tort Committee asserts
that the Other Catholic Entities’ assets (and liabilities) should be combined with the Diocese. The
case law associated with substantive consolidation is set forth above. The Diocese does not believe
that there is any basis for consolidation of the Other Catholic Entities and the Diocese.

        As set forth above, the Third Circuit held that a proponent of substantive consolidation
must demonstrate the following with regard to the entities for which consolidation is sought: “(i)
prepetition they disregarded separateness so significantly their creditors relied on the breakdown
of entity borders and treated them as one legal entity, or (ii) postpetition their assets and liabilities
are so scrambled that separating them is prohibitive and hurts all creditors.” Id. at 211 (emphasis
added).


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        First, similar to the claims made against DOC Trusts, the Diocese asserts no evidence exists
that the assets of the Diocese and the Parishes are “so scrambled that separating them is prohibitive
and hurts all creditors.” While the Parish Trusts are held in a joint investment vehicle with
investments by the Diocese and other Catholic entities, the Diocese asserts all Parish funds are
traceable. For example, the Diocese has produced ten years of statements to the Tort Committee
demonstrating that all funds are traceable. Thus, any allegation that the assets are “scrambled” has
no weight. Besides the Parish Trusts, all other assets of the Parishes are held and maintained by
the individual Parishes. Each Parish holds title to its own real estate, has its own operating and
other bank accounts, and its own employees and payroll. Thus, the Diocese does not believe that
there is any basis for asserting substantive consolidation under this theory of Owens Corning.

        Second, the Diocese asserts there is no evidence that the Diocese and the Parishes
disregarded separateness or that any of its creditors treated them as one legal entity. Each Parish
is a separate legal entity formed properly under New Jersey law. Each parish has its own board of
trustees, which is also formed in accordance with New Jersey law. The books and records of the
Diocese and each Parish are maintained independently of each other. Accordingly, the Diocese
asserts no claim exists relating to disregarding the separateness of the Parishes.

        Finally, as set forth above, courts have prohibited the substantive consolidation of a debtor
with a non-profit non-debtor entity. The Parishes are each a non-profit entity formed under New
Jersey law and, pursuant to the case law set forth herein, cannot be substantively consolidated with
the Diocese. Thus, the Diocese does not believe that it has a claim against the Parishes for
substantive consolidation.

        The Tort Committee also asserts the Diocese and the Other Catholic Entities are alter egos.
As set forth above, in order to assert this claim, a party must establish two elements: 1) that the
subsidiary was dominated by the parent corporation, and 2) that adherence to the fiction of separate
corporate existence would perpetrate a fraud or injustice, or otherwise circumvent the law. State,
Department of Environmental Protection v. Ventron, 94 N.J. 473, 500-01 (1983). The analysis,
here, is similar to that of DOC Trusts. First, the Diocese and the Other Catholic Entities do not
have a parent/subsidiary relationship. Second, the Diocese asserts there is no evidence that
supports that the Diocese dominates Other Catholic Entities such that the Other Catholic Entities
have no separate existence. As set forth previously, the Diocese and Other Catholic Entities have
separate boards and are separately incorporated. The Other Catholic Entities function
independently of the Diocese. Thus, the Diocese asserts the Other Catholic Entities have not been
a mere conduit for the Diocese. Indeed, several of the Parishes existed prior to the creation of the
Diocese. Second, the Diocese asserts the Other Catholic Entities are not grossly undercapitalized
or insolvent, the Diocese is not involved in the day-to-day operations of the Other Catholic Entities,
all corporate formalities are observed and the Other Catholic Entities have separate corporate
records. Finally, the Diocese asserts the Other Catholic Entities were not separately incorporated
to perpetrate a fraud. Accordingly, the Diocese believes this claim is futile.

        The Tort Committee has further asserted that the Declarations of Trust are invalid, that the
funds in the Revolving Fund are not traceable, and that the Revolving Fund and the assets therein
are property of the Debtor’s Estate. The Diocese and the Parishes dispute this, and contend that
the trust funds are identifiable and/or traceable under applicable law and that, in addition a portion
of these funds are “restricted funds” protected from claims of creditors. Further, to the extent any

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Parish funds held in the Revolving Fund accounts are deemed to be not held in trust, the Parishes
have asserted a claim against the Diocese which would be a dollar for dollar claim for any
reduction in the trust, thereby diluting any recovery for all creditors

        Finally, as set forth above, the pursuit of claims against the Other Catholic Entities will be
time consuming and expensive. While the likelihood of success is remote, no doubt exists that
any such claim will involve substantial discovery and a lengthy trial, most likely before the United
States District Court. Any final judgment will lead to an appeal to the Third Circuit Court of
Appeals. The likely timeframe to resolve any contested claim will be at least five (5) years and
cost in excess of $5 million in fees and expenses.

        Through the Standing Motion, the Tort Committee sought the right to bring these claims
against DOC Trusts. On March 24, 2022, the Court entered an order denying the Standing Motion.
The Tort Committee has appealed this order to the District Court. The settlement between the
Diocese and the Tort Committee resolves all of these claims.

                     h. Litigation Claims against the Diocese’s Directors and Officers

       The Tort Committee has asserted that the Diocese, the Bishop, and the Diocese’s Directors
and Officers (collectively, the “D&Os”) breached their fiduciary duty by (i) waiving certain Parish
Assessments in 2020; (ii) wrote off, canceled, and/or failed to collect the outstanding loans and
accounts receivable from the Parishes, Missions, and Schools, and (iii) failing to pursuant
insurance proceeds in connection with the IVCP. Further, the Tort Committee asserts that the
waiver of the Parish Assessments and any cancellation of debt owed by the Parishes, Missions,
and Schools constitute voidable fraudulent transfers.

        First, this complaint will fail because the Diocese has not written off or cancelled any debt
of the Parishes. In this regard, the Diocese is required under United States Generally Accepted
Accounting Principles (U.S. GAAP) to provide for doubtful or uncollectible accounts in order to
accurately reflect its financial statements. The Diocese does this annually in conformance with
U.S. GAAP. The doubtful or uncollectible accounts are not written off. Indeed, the Diocese has
collected on accounts that it deemed doubtful and/or uncollectible during the course of this
bankruptcy proceeding following the sale of certain real property by a Parish. Accordingly,
because the accounts are not written off or cancelled, there cannot be a transfer pursuant to
fraudulent transfer law. Further, following U.S. GAAP is not a breach of fiduciary duty.

         Second, any waiver of Parish Assessments during the first three months of the COVID-19
pandemic, when churches were shuttered and the Diocese’s services to Parishes were limited, was
a proper use of the D&Os business judgment. The Diocese simultaneously cut the interest rate it
provides to the Parishes in the Revolving Fund, which reduced the impact of the waiver of Parish
Assessments. Cts. at Beachgate v. Bird, 226 N.J. Super. 631, 641 (NJ Ch. Div. 1988) (“The
[business judgment] rule requires that there be a showing of fraud or lack of good faith in the
conduct of the affairs of a corporation in order to question decisions of its board of directors. If the
directors’ actions are authorized, fraud, self-dealing or unconscionable conduct must be shown to
justify judicial action. Courts will not second-guess the actions of directors unless it appears that
they are the result of fraud, dishonesty or incompetence.”).



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       Third, the Diocese asserts that it was proper business judgment for the Diocese to resolve
Abuse Claims through the IVCP without seeking insurance for those claims. The Diocese
determined, in its business judgment, that pursuing the insurance coverage would have: (i) required
the Diocese to delay payment to the victims of abuse while fighting with insurance companies, (ii)
subjected the Abuse Claimants that settled to discovery requests that would have delayed
settlements, (iii) cost the Diocese in excess of the return to negotiate and procure the insurance
amounts in light of the various defenses asserted by the insurance companies. Thus, the D&Os, in
conjunction with the advice of counsel, determined, in their reasonable business judgment, that it
was more important to settle with the Abuse Claimants, get the Abuse Claimants fair and equitable
payments, obtain releases for those claims, and not engage in the years-long litigation that would
be required to resolve the claims with insurance carriers.

       Finally, as set forth above, the pursuit of claims against the D&Os will be time consuming
and expensive. While the likelihood of success is remote, no doubt exists that any such claim will
involve substantial discovery and a lengthy trial, most likely before the United States District
Court. Any final judgment will lead to an appeal to the Third Circuit Court of Appeals. The likely
timeframe to resolve any contested claim will be at least five (5) years and cost in excess of $5
million in fees and expenses. The Diocese’s insurer has denied coverage for these claims.

        Through the Standing Motion, the Tort Committee sought the right to bring these claims
against the D&Os. On March 24, 2022, the Court entered an order denying the Standing Motion.
The Tort Committee has appealed this order to the District Court. The settlement between the
Diocese and the Tort Committee resolves all of these claims.

                     i. The Diocese’s Insurance Program

        From 1969 through the present, the Diocese has maintained an insurance program for itself
and certain Catholic organizations located within the territory of the Diocese. These insurance
policies (collectively, the “Insurance Policies”) are property of the Diocese’s estate.

        TheWhile the Diocese is unaware of any insurance programs prior to 1969. As set forth
above, however, the Diocese and the Tort Committee have jointly retained IAG as an insurance
archeologist to search for information regarding pre-1969 insurance policies of the Diocese. and
the Other Catholic Entities. At the time of the filing of the Disclosure Statement, suchIAG’S
search is still in progressongoing.

        With respect to the post-1969 insurance programInsurance Policies, the Diocese is aware
of the following insurance providers per year:(collectively, the “Insurers”):




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             Year             Insurance Company                    Formatted Table


             1969             Insurance Company of North America
             1970             Insurance Company of North America
             1971             Insurance Company of North America
             1972             Insurance Company of North America
                              Lexington Insurance Co.
                              London Market Insurers
             1973             Lexington Insurance Co.
                              London Market Insurers
             1974             Lexington Insurance Co.
                              London Market Insurers
             1975             Lexington Insurance Co.
                              London Market Insurers
             1976             London Market Insurers
             1977             London Market Insurers
             1978             London Market Insurers
                              Interstate Fire & Casualty Co.
             1979             London Market Insurers
                              Interstate Fire & Casualty Co.
             1980             London Market Insurers
                              Interstate Fire & Casualty Co.
             1981             London Market Insurers
                              Interstate Fire & Casualty Co.
             1982             London Market Insurers
                              Interstate Fire & Casualty Co.
             1983             London Market Insurers
                              Interstate Fire & Casualty Co.
                              Century Indemnity Co.
             1984             London Market Insurers
                              Century Indemnity Co.
                              Interstate Fire & Casualty Co.
             1985             London Market Insurers
                              Century Indemnity Co.
                              Interstate Fire & Casualty Co.
                              Granite State Ins. Co.
             1986             London Market Insurers
                              Interstate Fire & Casualty Co.
             1987             London Market Insurers
                              Lexington Insurance Co.
             1988             Lexington Insurance Co.
                              TNCRRG
             1989             Lexington Insurance Co.
                              TNCRRG



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                  Year                          Insurance Company                                                  Formatted Table


                  1990                          Lexington Insurance Co.
                                                TNCRRG
                                                United National Ins. Co.23
                  1991                          TNCRRG
                                                United National Ins. Co.
                  1992                          TNCRRG
                                                United National Ins. Co.
                                                Federal Insurance Co.
                  1993                          Federal Insurance Co.
                                                TNCRRG
                                                United National Ins. Co.
                                                Insurance Company of North America
                  1994                          Federal Insurance Co.
                                                TNCRRG
                                                United National Ins. Co.
                                                Insurance Company of North America
                  1995                          Federal Insurance Co.
                                                TNCRRG
                                                United National Ins. Co.
                                                Insurance Company of North America
                  1996                          Federal Insurance Co.
                                                TNCRRG
                                                United National Ins. Co.
                  1997                          TNCRRG
                                                United National Ins. Co.
                                                Federal Insurance Co.
                                                National Union
                  1998                          TNCRRG
                                                United National Ins. Co.
                                                Federal Insurance Co.
                                                National Union
                  1999                          National Union
                                                TNCRRG
                                                United National Ins. Co.
                                                Federal Insurance Co.
                                                AESLIC




23
 The Diocese and the Tort Committee filed a Stipulation to Dismiss United National from the Adversary Proceeding
Without Prejudice (Adv. Pro. No. 20-01573-JNP; ECF 120).




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                     Year                           Insurance Company                                        Formatted Table


                     2000                           TNCRRG
                                                    United National Ins. Co.
                                                    Federal Insurance Co.
                                                    Underwriters at Lloyd’s24
                     2001                           TNCRRG
                                                    Underwriters at Lloyd’s
                                                    United National Ins. Co.
                                                    Lexington Insurance Co.
                     2002                           TNCRRG
                                                    United National Ins. Co.
                                                    Lexington Insurance Co.
                     2003                           TNCRRG
                     2004                           TNCRRG
                     2005                           TNCRRG
                     2006                           TNCRRG
                     2007                           TNCRRG
                     2008                           No claims filed in this period.
                     2009                           No claims filed in this period.
                     2010                           TNCRRG
                                                    Illinois Union Insurance Co.
                     2011                           No claims filed in this period.
                                                    Illinois Union Insurance Co.
                     2012                           No claims filed in this period.
                                                    Illinois Union Insurance Co.
                     2013                           No claims filed in this period.
                     2014                           No claims filed in this period.
                     2015                           TNCRRG
                     2016                           TNCRRG
                     2017                           No claims filed in this period.
                     2018                           TNCRRG
                     2019                           TNCRRG
                     2020                           TNCRRG
                     2021                           No claims filed in this period.
                                                                                                             Formatted: No widow/orphan control
        The Insurers identified above issued primary and/or excess insurance policies in the years
reflected. Certain, but not all, of these policies have a self-insured retention amounts attributable
to the Diocese.

       The Insurers have asserted variousseveral defenses in the Insurance Action, including, but
not limited to, the following defenses:

                         a. Certain policies attach, if at all, only after certain self-insured retentions

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     Any Underwriters at Lloyd’s subscribing to policies after 2000 are not LMI.

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                         have been exhausted and/or after the limits of liability of any applicable
                         underlying insurance and/or any applicable underlying limits have been
                         exhausted regardless of the exhaustion or unavailability of such underlying
                         insurance and/or underlying limits.

                     b. Certain insurersInsurers do not have a duty to defend or settle, only to
                        indemnify covered ultimate net loss. There is no obligation to reimburse
                        defenses expenses or a loss payment until after the underlying claim is
                        resolved and coverage for that claim has been determined.

                     c. There is no coverage for any entity or person that does not qualify as an
                        assured under the respective policies.

                     d. Notice of the claims by the Diocese was untimely.

                     e. The Diocese breached its duty of cooperation under certain policies.

                     f. There is no coverage if a claimant alleges, or a determination is made, that
                        the Diocese (or any other Assured), was aware of the alleged perpetrator’s
                        deviant propensities or history of molesting children prior to or during the
                        alleged abuse.

                     g. There is no coverage for volitional acts.

                     h. There is no coverage arising from underlying actions and underlying claims
                        which involve claimants who previously asserted claims that were litigated
                        to conclusion, settled, or otherwise resolved by the Diocese.

                     i. There is no coverage for any claim known to be false or fraudulent, and
                        coverage under the insurance policiesInsurance Policies shall become void,
                        and all claims thereunder shall be forfeited, if any such claim is made.

                     j. Punitive damages may be excluded from coverage under the definition of
                        "“occurrence"” and under the applicable law and public policy.

                     k. The claims may not be covered under any policy issued or allegedly issued
                        to the Diocese by an Insurer, in whole or in part, to the extent that any bodily
                        injury or event resulting in such injury or damage arises from deliberate,
                        willful and/or intentional conduct substantially certain to result in injury.

                     l. Certain claims are not covered due to application of sexual abuse or
                        molestation exclusions.

                     m. For claims-made policies, there were no claims timely made or reported,
                        which are conditions precedent to coverage.

        DespiteNotwithstanding these defenses, the Plan Proponents believe that these insurance
policies the Insurance Policies are a valuable asset of the estate. and, are intended to, and will


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inure to, the benefit of Survivors.

         As part of the mediation sessions held before the Honorable Jose L. Linares, Chief Judge
(ret.), the Diocese and the Insurers reached a resolution of these resolved the claims. the Diocese
held against the Insurers, which settlement was, and remains, subject to approval of the Bankruptcy
Court (the “Proposed Insurance Settlement”). The Tort Committee rejected this settlement as it
opposed the Proposed Insurance Settlement because, among other reasons, the Committee ascribes
significantly more value to the Insurance Policies than $30 million.

       In an effort to resolve the Abuse Claimsdisputes between the Tort Committee and the
Diocese, the Diocese and the Tort Committee continued to mediate. On after entry of the Diocese
and the Insurers into the Proposed Insurance Settlement and on April 11, 2022, the Diocese and
the Tort Committee reached the settlement described in , and embodied by,the Plan.

         The terms of the settlement with the Tort Committee requiresrequire the Diocese to assign       Formatted: No widow/orphan control
its interestthe Transferred Insurance Interests (as defined in any policy (but not the policy itself),
including the net proceeds,the Plan) to the Trust. These changed circumstances compel the
Diocese to withdraw from the insurance settlement as part of Confirmation. Unless ordered by the
Bankruptcy Court, at the hearing to confirm the Plan, the Diocese intends to inform the Bankruptcy
Court why the relief sought under the Insurance Settlement Motion is no longer in the Debtor’s
estate’s best interests but rather, the Plan is and the relief it provides is the most efficient, cost
effective and value maximizing manner in which the Diocese should exit bankruptcy.

       The Insurers have raised raise various defenses to the Plan and assertedassert as follows:

                1. That theThe Plan cannot be confirmed because it is not insurance neutral;

                2. The Diocese is not authorized under the Bankruptcy Code to withdraw fromits
                   support for the settlementProposed Insurance Settlement and the
                   insurersInsurers seek to enforce the settlementProposed Insurance Settlement;

                3. The Diocese’s withdrawal from the settlement viciatesProposed Insurance
                   Settlement vitiates coverage by the Insurers;

                4. The Diocese’s alleged withdrawal from the settlementProposed Insurance
                   Settlement is a breach of the duty of good faith, a breach of the duty of
                   coorperation and is a failure to vigorously defend claims, all of which may void
                   coverage;

                5. The insurance policies Diocese acted in bad faith by proposing a plan that does
                   not include the terms of the Proposed Insurance Settlement;

                6. The Insurance Policies are executory contracts which cannot be assumed by the
                   Diocese or assigned to the Trust without providing for adequate assurance of
                   future performance;

                7. The Diocese is not permitted under New Jersey law to assign the defense of
                   claims to the Trust;

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                5.8.The Trust Distribution Procedures create a disabling conflict between the           Formatted: No widow/orphan control
                    Diocese and the Trust Administrator in carrying out the Diocese’s duties under
                    certain Insurance Policies, which also inhibits the Diocese’s ability to assign
                    such policies to the Trust;

                6.9.The Insurers are materially prejudiced by the terms of the Trust Distribution
                    Procedures;

                7.10. The Plan and Trust Distribution Procedures improperly givesgive the Trust
                    Administrator the sole right to object to Class 5 Claims; and

                11. The Trust Distribution Procedures do not contain a clear explanation of the
                    standards for valuation and evaluation of Abuse Claims;

                8.12.    The Diocese’s withdrawal from the settlement results in administrative         Formatted: Footnote Text,Style 13,Car,Char
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                     claims for the Insurers that must be satisfied.; and                               Char,Footnote Text Char Char Char Char Char Char,Footnote
                                                                                                        Text Char1,Footnote Text Char1 Char Char Char Char,Style
                13. The Plan provides that claims and causes of action against the The Insurers shall   19,Style 29,Style 31,Style 39,fn,fnt,ft, No widow/orphan
                                                                                                        control
                    be assignedclaim that the Disclosure Statement fails to and prosecuted
                    bydisclose that the Trust atInsurers’ obligations under the soleInsurance
                    Policies are subject to the terms and exclusive costconditions of the Trust. The
                    Tort Committee believes that, despite the Insurance Policies, and that the
                    Diocese’s failure to satisfy any of the terms and conditions could vitiate
                    coverage.

         The Plan Proponents dispute these allegations, each of which will be addressed at the
hearing to confirm the Plan. As will be established at such hearing, the expected realization to
Survivors from the Transferred Insurance Interests will far exceed any costs associated with this
litigation, an assignment of these causes of actions and the proceeds of the insurance policies is
more valuable thanlitigating the forgoing claims and causes of action plus the $30 million
agreement entered into between the Diocese andthat the Insurers. had agreed to pay the Debtor’s
estate under the Proposed Insurance Settlement.

        The Diocese does not make any makes no representations or warranties regarding the              Formatted: No widow/orphan control
validity of the claims against the Insurers, the Insurance Policies, or the defenses that the
Insurers may have in connection with these claims.




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                                      ARTICLE VIII.                                                      Formatted: No widow/orphan control
                                VALUATION OF ABUSE CLAIMS

       As set forth above, the Diocese, along with the Archdiocese of Newark and Dioceses of
Trenton, Paterson, and Metuchen, engaged the IVCP to consensually resolve claims prior to its
bankruptcy proceedings. The IVCP Administrators determined the following values when fixing
claims in the IVCP:

 IVCP SETTLEMENT COMPENSATION SUMMARY                                                                    Formatted Table
                                                                               Range of
 Category                 Description of Abuse                              Compensation                 Formatted: No widow/orphan control
 CATEGORY I               Sex talk, no physical touching                     $0- $25,000                 Formatted: No widow/orphan control
 CATEGORY II              Nudity/Pornography - no physical touching        $25,000 - $50,000             Formatted: No widow/orphan control
 CATEGORY Ill             Fondling over clothing                          $50,000 - $100,000             Formatted: No widow/orphan control
 CATEGORY IV              Fondling under clothing                        $100,000 - $150,000             Formatted: No widow/orphan control
 CATEGORY V               Masturbation                                   $150,000 - $200,000             Formatted: No widow/orphan control
 CATEGORY VI              Oral sex                                       $200,000 - $350,000             Formatted: No widow/orphan control
 CATEGORY VII             Penetration                                    $350,000 - $500,000             Formatted: No widow/orphan control
                                                                                                         Formatted: No widow/orphan control
        Using the above values, EisnerAmper, the Diocese’s Financial Advisors, analyzed each of
the IVCP claims, including the determinations issued by the IVCP Administrators following their
independent review of each claim. Through this process, EisnerAmper was able to determine the
average award in each category, including the impact of the step downs per the IVCP. A chart of
this analysis is attached to the Disclosure Statement as Exhibit I.

        Prior to the Bar Date, a total of 345 Abuse Claim proofs of claim were filed against the
Diocese. Upon review, the Diocese determined that several of the claims were duplicates.
Accordingly, the total number of Abuse Claim proofs of claim is 324. Subsequently, 19 late claims
were filed, which have not been deemed allowable by the Bankruptcy Court. Nor has any party
sought to deem such claims Allowed.

        The Diocese, along with EisnerAmper, then reviewed each of the claims filed in this case
and assigned each claim to one of the IVCP categories. Classifications were made based on the
highest level of abuse alleged in the proof of claim. EisnerAmper then applied the Average Award
Paid to the claims in each category for each proof of claim.

        The Diocese valued 224 claims based on this IVCP analysis. These 224 claims aggregate
to $32,683,744 of the total amount of the valued claims. An additional 67 claims were valued at
lower amounts, due to the fact that the proofs of claim allege inconsistent details or the allegations
are not consistent with background facts. These claims include, but are not limited to, claims that:
(i) do not allege any connection to the Diocese or the Parishes; (ii) claims against priests who have
no other claims made against them and no evidence of misconduct has ever been reported against
the priest; (iii) the claim is insufficiently detailed to determine who the alleged abuser is; or (iv)
the victim of abuse was an adult at the time of the alleged abuse. As a result, these claims have a
total adjusted value of $1,715,000. The remaining 33 claims were given a value of $0.00. These
claims include, but are not limited to, the following: (i) claims of abuse made against Boy Scouts
of America leaders with no connection to the Diocese or a Parish; (ii) claims made against priests

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that were not part of the Diocese; (iii) previously settled claims; and (iv) claims with no details.

      Thus, based on this analysis, EisnerAmper arrived at a total valuation for the claims of
$34,398,744. A chart of this analysis is attached to the Disclosure Statement as Exhibit J.

       The Tort Committee retained Claro Group to provide an expert report regarding its
contentions on the value of the Abuse Claims. In this regard, Claro Group determined that a
reasonable range of claim value for post-1969 Abuse Claims in the aggregate ranges from $326.0
million to $737.3 million

        Following Eisner Amper’s analysis, the Diocese retained Roux to provide a rebuttal expert
report in connection with the insurance settlement. Roux determined that a reasonable estimate of
the Diocese’s Abuse Claim liability should range from approximately $71 million to $86 million.

        The Diocese reserves all of its rights with respect to the claims and valuations, including,
but not limited to, its right to: (i) dispute the validity of each claim; (ii) dispute the allegations or
facts in each claim; and/or (iii) alter the value assigned to any claim as provided for in the Plan
and Trust Distribution Procedures.

                                   ARTICLE IX.
                      SUMMARY OF THE PLAN OF REORGANIZATION

       The following is a summary of the significant elements of the Plan. This Disclosure
Statement is qualified in its entirety by reference to the Plan. This summary does not describe
every element of the Plan and is not a substitute for a complete review of the Plan. All parties are
encouraged to review the Plan in its entirety for a full understanding of its provisions and impact
on Creditors and Interest Holders. If there are any inconsistencies between the provisions of this
Disclosure Statement and the provisions of the Plan, the provisions of the Plan will control.

            A. What Creditors Will Receive Under the Proposed Plan

        The Plan classifies claims in various classes. The Plan states whether each class of claims
is impaired or unimpaired. The Plan provides the treatment each class will receive. A copy of the
Plan is annexed hereto as Exhibit A.

            B. Classification of Claims

        As set forth in Articles III and IV of the Plan, the Plan classifies the various Claims against
the Debtor and specifies their treatment pursuant to sections 1122 and 1123(a) of the Bankruptcy
Code. All Claims, as defined herein and in section 101(5) of the Bankruptcy Code, except the Fee
Claims, Administrative Expense Claims, U.S. Trustee Fees, and Priority Tax Claims, are placed
into the Classes set forth below. Pursuant to section 1123(a)(1) of the Bankruptcy Code, Fee
Claims, Administrative Expense Claims, U.S. Trustee Fees, and Priority Tax Claims, as described
below, are not classified in the Plan, and the treatment of such Claims is set forth in Article III
below. A Claim is placed in a particular Class only to the extent that the Claim falls within the
description of that Class and is classified in other Classes to the extent that any portion of such
Claim falls within the description of such other Classes. A Claim is also placed in a particular
Class for the purpose of receiving distributions pursuant to the Plan only to the extent that such

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Claim is an Allowed Claim in that Class and such Claim has not been paid, discharged, released
or otherwise settled prior to the Effective Date.

                     a. Unclassified Claims

       The following are the unclassified Claims: Fee Claims, Administrative Expense Claims,
U.S. Trustee Fees, and Priority Tax Claims. Unclassified Claims are not Impaired by the Plan.
Each Holder of an unclassified Claim is conclusively presumed to have accepted the Plan and,
therefore, is not entitled to vote to accept or reject the Plan.

                     b. Unimpaired Classes of Claims

       Each holder of an Allowed claim in the following class is unimpaired and deemed to have
accepted the Plan and, therefore, is not entitled to vote to accept or reject the Plan: Priority Non-
Tax Claims.

                     c. Impaired Classes of Claims

       Each Holder of an Allowed Claim in the following classes is impaired and entitled to vote
to accept or reject the Plan:

     Class                    Claims & Interest                Status              Voting Rights           Formatted Table


       2          PNC Bank Claim                             Impaired           Entitled to Vote
       3          General Unsecured Claims                   Impaired           Entitled to Vote
       4          Pension Claims                             Impaired           Entitled to Vote
       5          Abuse Claims Other Than                    Impaired           Entitled to Vote
                  Unknown Abuse Claims
       6          Unknown Abuse Claims                       Impaired           Entitled to Vote
      7A          Abuse Related Contingent                   Impaired           Not Entitled to Vote
                  Claims                                                        (Deemed to Reject)
      7B          Abuse Related Contingent                   Impaired           Not Entitled to Vote
                  Claims                                                        (Deemed to Reject)
       8          Non-Abuse Litigation Claims                Impaired           Entitled to Vote
                                                                                                           Formatted: No widow/orphan control
                                         ARTICLE X.
                              TREATMENT OF UNCLASSIFIED CLAIMS

                C.       Administrative Expenses Claims

        Administrative Expense Claims are Claims for costs or expenses of administering the
Debtor’s Chapter 11 Case, which are Allowed under Bankruptcy Code section 503(b) or otherwise.
The Bankruptcy Code requires that all administrative expenses be paid on the Effective Date,
unless a particular Claimant agrees to different treatment. The Debtor or Reorganized Debtor, as
appropriate, shall pay each Holder of an Allowed Administrative Expense Claim in full, in Cash,
on the later of (i) fifteen (15) days after the Effective Date; or (ii) fifteen (15) days after the date
on which such Claim becomes an Allowed Administrative Expense Claim. Notwithstanding

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anything in the Plan to the contrary, the Holder of an Allowed Administrative Claim may be paid
on such other date and upon such other terms as may be agreed upon by the Holder of an Allowed
Administrative Expense Claim and Debtor/Reorganized Debtor.

        Certain Insurers assert that they are entitled to Administrative Expense Claims as a result
of the Debtor allegedly withdrawing from a proposed settlement with the Insurers. The Diocese
rejects this assertionPlan Proponents reject the assertions that (i) the Debtor withdrew from the
proposed settlement with the Insurers and (ii) that the Insurers are entitled to Administrative
Expense Claims.

           D. Priority Tax Claims

        The Reorganized Debtor shall pay any Allowed Priority Tax Claims, in full, in Cash,
without interest, as soon as practicable after the later of (i) fifteen (15) days after the Effective
Date, (ii) fifteen (15) days after the date on which such Claim becomes an Allowed Priority Tax
Claim, (iii) at the option of the Debtor prior to the Effective Date in accordance with section
1129(a)(9)(C) of the Bankruptcy Code, in Cash, in an aggregate amount of such Allowed Priority
Tax Claim payable in regular quarterly installments over a period of not more than five (5) years
from the Petition Date, or (iv) such other treatment agreed to by the Debtor and the Holder of such
Allowed Priority Tax Claim; provided, however, that the Holder of an Allowed Priority Tax Claim
will not be entitled to receive any payment on account of any penalty arising with respect to, or in
connection with any Priority Tax Claim. Any demand for any such penalty will be deemed
disallowed by Confirmation of the Plan. The Debtor is unaware of any Priority Tax Claims.

       The Debtor is unaware of any Priority Tax Claims.

           E. U.S. Trustee Fees.

       All outstanding U.S. Trustee Fees that the Debtor has not paid as of the Effective Date shall
be paid by the Reorganized Debtor no later than fifteen (15) days after the Effective Date or when
such U.S. Trustee Fees come due in the ordinary course.

        All U.S. Trustee Fees due and payable prior to the Effective Date shall be paid by the
Debtor on the Effective Date. After the Effective Date, the Reorganized Debtor shall pay any and
all U.S. Trustee when due and payable. The Debtor shall file all monthly operating reports due
prior to the Effective Date when they become due, using UST Form 11-MOR. After the Effective
Date, the Reorganized Debtor shall File with the Bankruptcy Court quarterly reports when they
become due using UST Form 11-PCR. The Debtor and the Reorganized Debtor shall remain
obligated to pay U.S. Trustee Fees to the United States Trustee until the earliest of the Chapter 11
Case being closed, dismissed, or converted to a case under Chapter 7 of the Bankruptcy Code. The
United States Trustee shall not be required to File any Administrative Expense Claim in the
Chapter 11 Case and shall not be treated as providing any release under this Plan.

        The Debtor does not anticipate that there will be any outstanding U.S. Trustee Fees, except     Formatted: No widow/orphan control
those that have not become due in the ordinary course at the time of confirmation.

           F. Fee Claims.


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         All Persons seeking an award by the Bankruptcy Court of Fee Claims (i) shall file their
respective final applications for allowance of compensation for services rendered and
reimbursement of expenses incurred by the date that is 45 days after the Effective Date and
(ii) shall be paid in full in such amounts as are Allowed by the Bankruptcy Court (a) on the date
upon which the Order relating to any such Allowed Fee Claim is entered, or (b) upon such other
terms as may be mutually agreed upon between the holder of such an Allowed Fee Claim and the
Debtor or Reorganized Debtor, as applicable. The Reorganized Debtor is authorized to pay
compensation for services rendered or reimbursement of expenses incurred after Confirmation in
the ordinary course and without the need for Bankruptcy Court approval.

       The Debtor estimates the following Fee Claims:

    Name of Professional              Estimated Amount                Proposed Payment              Formatted Table
      and Role in Case                   of Fee Claim
 Trenk Isabel Siddiqi &          $1,000250,000                   Payment in full on Effective
 Shahdanian P.C.                                                 Date or as otherwise agreed
                                                                 upon between the Debtor and
 Current Attorneys for Debtor                                    the professional.

 McManimon, Scotland &           $645,722.52                     Paid in full in accordance         Formatted Table
 Baumann, LLC                                                    Order Granting Second and
                                                                 Final   Application     for
 Initial Attorneys for Debtor                                    Compensation. [ECF 820].

 EisnerAmper, LLP                $750850,000                     Payment in full on Effective
                                                                 Date or as otherwise agreed
 Financial Advisors for                                          upon between the Debtor and
 Debtor                                                          the professional.

 Cooper Levenson, P.A.           $450,000                        Payment in full on Effective       Formatted Table
                                                                 Date or as otherwise agreed
 Special Counsel for Debtor                                      upon between the Debtor and
                                                                 the professional.

 Duane Morris, LLC               $134,750                        Paid in full from settlement
                                                                 proceeds in accordance with
 Special Counsel for Debtor                                      the Order Granting First and
                                                                 Final    Application      for
                                                                 Compensation. [ECF 223].

 A. Atkins Appraisal Corp.       $13,292.70                      Paid in full in accordance with
                                                                 Order Granting First and Final
 Appraiser for Debtor                                            Application                 for
                                                                 Compensation. [ECF 431].




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   Name of Professional             Estimated Amount        Proposed Payment             Formatted Table
     and Role in Case                   of Fee Claim
Binswanger Company              $64,000                Paid in full in accordance with
                                                       the Order Granting First and
Real Estate Appraiser for                              Final      Application      for
Debtor                                                 Compensation.

Insurance Archeology Group      $15,000                Payment in full on Effective
                                                       Date or as otherwise agreed
Insurance Archeologist to the                          upon between the Debtor and
Debtor and Tort Committee                              the professional.

Lowenstein Sandler LLP          $9,00010,500,000       Payment in full on Effective
                                                       Date or as otherwise agreed
Counsel for the Tort                                   upon between the Debtor and
Committee                                              the professional.

Berkeley Research Group         $1,500700,000          Payment in full on Effective
                                                       Date or as otherwise agreed
Financial Advisor for the                              upon between the Debtor and
Tort Claimants’ Committee                              the professional.

Finance Scholars Group          $50,000                Payment in full on Effective      Formatted Table
                                                       Date or as otherwise agreed
Expert Witness and Claims                              upon between the Debtor and
Evaluator to the Tort                                  the professional.
Committee

Porzio, Bromberg &              $1,000,000             Payment in full on Effective
Newman, P.C.                                           Date or as otherwise agreed
                                                       upon between the Debtor and
Counsel for the Trade                                  the professional.
Committee

Roux Associates                 $40175,000             Payment in full on Effective
                                                       Date or as otherwise agreed
Expert to the Diocese                                  upon between the Debtor and
                                                       the professional.

McCarter & English              $600,000               Payment in full on Effective      Formatted Table
                                                       Date or as otherwise agreed
Mediator                                               upon between the Debtor and
                                                       the professional.




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    Name of Professional              Estimated Amount                   Proposed Payment               Formatted Table
       and Role in Case                  of Fee Claim
 Claro Group                      $500560,000                       Payment in full on Effective
                                                                    Date or as otherwise agreed
 Expert to the Tort Committee                                       upon between the Debtor and
                                                                    the professional.

 Tom Baker                        $78,000                           Payment in full on Effective
                                                                    Date or as otherwise agreed
 Expert to the Tort Committee                                       upon between the Debtor and
                                                                    the professional.

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                                      ARTICLE XI.
                                  TREATMENT OF CLAIMS

           A. Estimates of Claims.

        The amounts listed below represent estimated Allowed Claims, and do not represent
amounts actually asserted by creditors in proofs of claim or otherwise. The Debtor has not
completed its analysis of Claims in the Chapter 11 Cases and objections to such Claims have not
been made or fully litigated. Therefore, there can be no assurances of the exact amount of the
Allowed Claims at this time. Rather, the actual amount of the Allowed Claims may be greater or
lower than estimated. The estimated percentage recovery is based upon, among other things, an
estimate of the Allowed Claims in the Chapter 11 Cases. The actual amount of the Allowed Claims
may be greater or lower than estimated. Thus, the actual recoveries may be higher or lower than
projected depending upon, among other things, the amounts and priorities of Claims that are
actually Allowed by the Bankruptcy Court.

           B. Treatment of Class 1 (Priority Non-Tax Claims).

        Class 1 consists of the Priority Non-Tax Claims which are defined by the Plan as all Claims
that are entitled to priority pursuant to Section 507 of the Bankruptcy Code and that are not General
Administrative Expense Claims or Priority Tax Claims. The legal and equitable rights of the
Holders of Allowed Priority Non-Tax Claims are unaltered by the Plan. Except to the extent that
a Holder of an Allowed Priority Non-Tax Claim and the Debtor shall have agreed in writing to a
different treatment, each Holder of an Allowed Priority Non-Tax Claim shall receive, in full and
final satisfaction of such Claim, payment in full in Cash, without interest, in an amount equal to
such Allowed Priority Non-Tax Claim as soon as reasonably practicable after the later of (a) the
Effective Date and (b) the date when such Priority Non-Tax Claim becomes an Allowed Priority
Non-Tax Claim.

       The Debtor estimates that there will be no Priority Non-Tax Claims.

           C. Treatment of Class 2 (PNC Bank Claim).

       PNC Bank is an unsecured creditor of the Diocese but is secured, inter alia, by a Pledge


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Agreement and Guaranty by DOC Trusts. Accordingly, PNC Bank is entitled to separate treatment
under the Plan. PNC Bank’s Claim is approximately $22.8 million. Class 2 is Impaired and the
Holder of the Class 2 Claim is entitled to vote to accept or reject the Plan.

       On the Effective Date, the Diocese and DOC Trusts shall assume and reaffirm allexecute
and deliver to PNC Bank amended and restated loan documents with PNC Bank and all such loan
documents and provisions shall remain in full force and effect until all obligations of the Debtor
have been indefeasibly paid in full conditioned on the following termsand which shall include the
material followingterms:

       1. Confirmation of the Plan no later than June 30, 2022;

       2. The Diocese shall continue to make interest only payments through the date of
          Confirmation;

       3. 5-year term of repayment as follows: (i) first two years interest only payments; (ii)
          following three years with payments based on an amortization of 15 years until May
          31, 2027[two-years from the Effective Date] and (iii) a balloon payment of the balance
          of the loan on May 31, 2027;[five-years from the Effective Date];

       4. The Diocese maintains the right to repay the balance of the loan at any time without
          penalty or premium;

       5. Interest rate at BSBY plus 100 (1%) basis points; and

       6. The Diocese (including its pension funds) and Other Catholic Entities shall keep total
          assets under management (AUM) at PNC at no less than $250 million. If AUM falls
          below that level, the interest rate increases to BSBY plus 400 basis points (4%).

        The Diocese does not believe that AUM will fall below $250 million as a result of the
payments required under the Plan. The pension plans (which are not assets of the estate and cannot
be used for plan payments) are approximately $160 million. The Diocese believes that the
Diocese, DOC Trusts, and the Other Catholic Entities will have sufficient AUM to meet the $250
million requirement. Regardless, the Diocese does not believe, based on the projections attached
to this Disclosure Statement, that an increase in its interest rate would inhibit its abilitiy to make
the payments required under the Plan. See Exhibit B attached hereto.

           D. Treatment of Class 3 (General Unsecured Claims).

        General Unsecured Claims are unsecured Claims not entitled to priority under Bankruptcy
Code section 507(a), which are not Abuse Claims, Unknown Abuse Claims or Non-Abuse
Litigation Claims. The unsecured Creditors include trade Creditors and total approximately
$1,500,000. Class 3 is Impaired, and each holder of a Class 3 Claim is entitled to vote to accept
or reject the Plan.

       The Diocese shall pay Allowed Class 3 Claims a 75% dividend overwithin 5-years. ,
payable as follows:


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    •   A 15% payment shall be made upon the later of: (i) 60 days of the Effective Date; or (ii)
        15 days of the determination of a Claim being an Allowed Claim, as applicable;
    •   On the first anniversary of the Effective Date, a 15% payment shall be made;
    •   On the second anniversary of the Effective Date, a 15% payment shall be made;
    •   On the third anniversary of the Effective Date, a 15% payment shall be made;
    •   On the fourth anniversary of the Effective Date, a final 15% payment shall be made.

        Notwithstanding the above, Allowed Class 3 Claimants shall have the option to forego the
75% payment within 5-years and instead elect to receive a payment of 50% of their claim within
Allowed Claim in full satisfaction of their Allowed Claim upon the later of: (i) 60 days after the
Effective Date in full satisfaction of their respective Claims.; or (ii) 5 business days after the Claim
is deemed Allowed, as applicable. Such election may be made through the Ballot or otherwise in
writing to Debtor’s counsel within 20 days of Confirmation.
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            E. Treatment of Class 4 (Pension Claims).                                                      Formatted: No widow/orphan control


        Pension Claims are unsecured Claims that are based on the Debtor’s underfunded Pensions.
The Debtor estimates that these claims are approximately $45,439,291. Class 4 is Impaired and
the fiduciary charged with administering each of the Pensions is entitled to vote to accept or reject
the Plan.

        The Reorganized Debtor shall pay into the Pensions their pro rata share of a maximum of
a $40 million distribution paid in equal annual installments over 20 years. Payments may be made
quarterly.

            F. Treatment of Class 5 (Abuse Claims Other Than Unknown Abuse Claims).

       A Class 5 Claim means an Abuse Claim other than an Unknown Abuse Claim. Class 5 is
Impaired and each holder of a Class 5 Claim is entitled to vote to accept or reject the Plan.

       This Plan creates a Trust to fund payments to Class 5 Claimants entitled to such payments
under the Plan, the Trust Agreement and the Trust Distribution Plan. Class 5 Claimants shall
receive their allocable share of Trust Assets at the time and in the manner set forth in the Trust
Distribution Plan. It is intended that any payment on an Abuse Claim will constitute payment for
damages on account of personal physical injuries or sickness arising from an occurrence, within
the meaning of section 104(a)(2) of the Tax Code.

        As set forth herein, the Trust will be funded with $87,500,000 in cash from the Debtor and
Other Catholic Entities. In addition, the Debtor will transfer the Transferred Insurance Interests
to the Trust, which may provide more value to the Trust. The Diocese makes no representations
or warranties regarding the value of the Insurance Policies or the Transferred Insurance
Interests, including, but not limited to, any defenses the Non-Settling Insurers may have. As
of the date of this Disclosure Statement, 324 non-duplicative Class 5 Claims have been timely
filed, which will share collectively in the funds contributed to the Trust in accordance with the
Trust Distribution Plan.

        The settlement set forth in the Order Approving Settlement of Controversy by and Among             Formatted: No widow/orphan control



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the Diocese and the RH Claimants Pursuant to Fed. R. Bankr. P. 9019(A) entered on October 15,
2021 has expired by the terms of such order and is null and void. The claimants set forth therein
shall be treated as Class 5 Claimants in accordance with the Plan.

           G. Treatment of Class 6 (Unknown Abuse Claims).

       A Class 6 Claim means an Unknown Abuse Claim. Class 6 is Impaired and the Unknown
Claims Representative shall submit a single ballot on behalf of Class 6 Claimants.

        Class 6 Claimants shall receive their allocable share of the Unknown Abuse Claims
Reserve at the time and in the manner set forth in the Trust Distribution Plan. It is intended that
any payment on an Abuse Claim will constitute payment for damages on account of personal
physical injuries or sickness arising from an occurrence, within the meaning of section 104(a)(2)
of the Tax Code.

           H. Treatment of Class 7A (Class 5 Abuse Related Contingent Claims).

        A Class 7A Claim means any Claim for contribution, indemnity or reimbursement arising
out of or related to the Diocese’s liability to pay or defend any Class 5 Claim. Class 7A is Impaired.
Class 7A is not receiving a distribution under the Plan, provided that the Other Catholic Entities
receive the benefits of the Channeling Injunction, and, therefore, is deemed to reject the Plan.

        Class 7A Claims shall be disallowed and extinguished as a result of the terms of the Plan
by the waiver of such claims by the Other Catholic Entities in exchange for the release and
Channeling Injunction provided in the Plan. and Trust Distribution Procedures. Class 7A Claims
will receive no distribution under the Plan.

           I. Treatment of Class 7B (Class 6 Abuse Related Contingent Claims).

        A Class 7B Claim means any Claim for contribution, indemnity or reimbursement arising
out of or related to the Diocese’s liability to pay or defend any Class 6 Claim. Class 7B is Impaired
by the Plan. Class 7B is not receiving a distribution under the Plan provided that the Other Catholic
Entities receive the benefits of the Channeling Injunction and, therefore, is deemed to reject the
Plan.

        Class 7B Claims shall be disallowed and extinguished as a result of the terms of the Plan
by the waiver of such claims by the Other Catholic Entities in exchange for the release and
Channeling Injunction provided in the Plan. and Trust Distribution Procedures. Class 7B Claims
will receive no distribution under the Plan.

           J. Treatment of Class 8 (Non-Abuse Tort Claims).

        Non-Abuse Litigation Claims are litigation Claims against the Diocese that are not Abuse
Claims. Class 8 is Impaired and each holder of a Class 8 Claim is entitled to vote to accept or
reject the Plan.

      Allowed Class 8 Claims shall be paid a pro rata portion of a $100,000 distribution. The
Diocese shall contribute $50,000 to be designated for Class 8 Claims. Catholic Charities, Diocese

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of Camden, Inc. shall transfer $50,000 to the Diocese to be designated for Class 8 Claimants within
two (2) business days after the Confirmation Order has become a Non-Appealable Order in
exchange for a release of all Class 8 Claims against it. This contribution amount is contingent
upon the receipt by Catholic Charities of releases from third party claims.

       Without waiving any rights to assert that additional claims fall within Class 8, the Diocese
believes that the following claims are Class 8 Claims:

        Claim Number                   Name of Claimant                 Amount Asserted in             Formatted Table
                                                                         Proof of Claim
               71                        Adam Fishman                       $150,000
             83/387                       Vincent Ajuk                      $500,000
              108                    Crystal Martrell Gibbs                $2,000,000
              284                          Irene Haber                      $150,000
              399                  Tricia Vekenman Guardian                 $150,000
                                   ad litem for N.B., a minor
               522                      Patricia Muttalib                     $100,000
                                                                                                       Formatted: No widow/orphan control
        The Diocese does not admit that the amounts asserted above are the value of such claims
and is providing the amounts in the proof of claims for informational purposes only for the purpose
of this Disclosure Statement. The Diocese reserves all rights with respect to all claims, including,
but not limited to, the right to object to such claims.

                                         ARTICLE XII.
                                          THE TRUST

           A. Establishment of Trust.                                                                  Formatted: No widow/orphan control, Don't keep with next


       Effective as of the date the Confirmation Order is entered, the Trust shall be established in
accordance with the Trust Documents for the purposes of assuming liability of Covered Parties
and Settling Insurers for Channeled Claims and receiving, liquidating and distributing Trust Assets
in accordance with the Plan and the Trust Distribution Plan.

        As of the Effective Date, the liability of Covered Parties and Settling Insurers for all
Channeled Claims shall be assumed fully by the Trust, without further act, deed or Bankruptcy
Court order, and, pursuant to the Channeling Injunction provided for herein, the liability of
Covered Parties and Settling Insurers for all Channeled Claims shall be satisfied solely from Trust
Assets.

        The Trust is intended to qualify as a “qualified settlement fund” pursuant to section 468B     Formatted: No widow/orphan control
of the Tax Code and the regulations promulgated thereunder (the “Treasury Regulations”). The
Debtor is the “transferor” within the meaning of Treasury Regulation Section 1.468B-1(d)(1). The
Trust Administrator shall be classified as the “administrator” within the meaning of Treasury
Regulation Section 1.468B-2(k)(3). The Trust Documents, including the Trust Agreement, are
incorporated herein by reference.

           B. Funding of Trust.                                                                        Formatted: No widow/orphan control, Don't keep with next



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       Notwithstanding anything to the contrary in this Section, the Disclosure Statement or Plan,
the Diocese and Other Catholic Entities shall not use “Restricted Funds” for any payments they
make under the Plan, including, but not limited to, the payments to be made to the Trust.

                     a. Contributions to the Trust.                                                      Formatted: No widow/orphan control, Don't keep with next


        The Trust shall be funded with: (i) $87.5 million by the Debtor and the Other Catholic           Formatted: No widow/orphan control
Entities; (ii) any proceeds held by the Debtor or the Reorganized Debtor on account of Insurance
Settlement Agreements as set forth in this Section 7.2; and (iii) the Transferred Insurance Interests.

                              i. Debtor Cash Contribution and OCE Cash Contributions                     Formatted: No widow/orphan control, Don't keep with next


       On the Effective Date, the Debtor shall transfer $29.75 million in good funds to the Trust        Formatted: Font: Not Bold, No underline
using wiring instructions provided by the Trust Administrator (the “Initial Debtor
Contribution”). The Initial Debtor Contribution will be primarily comprised of funds from the            Formatted: Font: Not Bold, No underline
following sources: (i) $14.75 million in non-restricted cash accounts held by the Diocese; and (ii)
$15 million in the form of a loan of non-restricted cash from DOC Trusts (the “DOCT Loan”).              Formatted: Font: Not Bold, No underline


      The Trust shall also be funded by the Debtor as set forth below (collectively, the
“Additional Debtor Contributions” and together with the Initial Debtor Contribution, the
“Debtor Cash Contribution”):

           (a)a)      No later than one year after the Effective Date, the Debtor shall transfer $10     Formatted: Font: Times New Roman, 12 pt
               million in good funds to the Trust using wiring instructions provided by the Trust        Formatted: List Paragraph, Space After: 12 pt, Numbered +
               Administrator.                                                                            Level: 1 + Numbering Style: a, b, c, … + Start at: 1 +
                                                                                                         Alignment: Left + Aligned at: 0.75" + Indent at: 1"

           1.1.1.2.b) No later than two years after the Effective Date, the Debtor shall transfer an
               additional $10 million in good funds to the Trust using wiring instructions provided
               by the Trust Administrator.

           1.1.1.3.c) No later than three years after the Effective Date, the Debtor shall transfer
               an additional $10 million in good funds to the Trust using wiring instructions
               provided by the Trust Administrator.

           1.1.1.4.d) No later than four years after the Effective Date, the Debtor shall transfer
               an additional $7.5 million in good funds to the Trust using wiring instructions
               provided by the Trust Administrator.

        To secure the Additional Debtor Contributions, the Diocese shall grant the Trust a Lien
and security interest on certain bank accounts, investment accounts and receivables to set forth in
a Security Agreement to be executed and delivered on the Effective Date (such agreement being
the “Additional Debtor Contributions Security Agreement”). The holders of any interest,
whether such interest be equitable or legal in nature, in the funds identified in the Additional
Debtor Contributions Security Agreement, including the Diocese and Other Catholic Entities,
hereby consent to the granting of such Lien and security interests as provided for therein to secure
the Additional Debtor Contributions and the Diocese is deemed to have all requisite authority to
enter into the Additional Debtor Contributions Security Agreement upon entry of the Confirmation
Order.

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        On the Effective Date, the Parishes, Schools and Missions shall transfer $10 million in
good funds to the Diocese, which shall be transferred by the Diocese together with the Initial
Debtor Contribution to the Trust on the Effective Date using wiring instructions provided by the
Trust Administrator (the “Parish Cash Contribution”). On the Effective Date, DOC Trusts shall
transfer $10 million in good funds to the Diocese, which shall be transferred by the Diocese
together with the Initial Debtor Contribution to the Trust on the Effective Date using wiring
instructions provided by the Trust Administrator (the “DOCT Cash Contribution”). On the
Effective Date, the Catholic Ministry Entities other than DOC Trusts shall transfer $250,000 in
good funds to the Diocese, which shall be transferred by the Diocese together with the Initial
Debtor Contribution to the Trust on the Effective Date using wiring instructions provided by the
Trust Administrator (the “Catholic Ministry Cash Contribution,” and collectively with the
Parish Cash Contribution and DOCT Cash Contribution, the “OCE Cash Contributions”). In
addition to the OCE Cash Contributions, in consideration for the Channeling Injunction and the
release provided for hereinin the Plan and the Trust Distribution Procedures, the Other Catholic
Entities shall: (i) waive all Claims against the Diocese and its Estate asserted in the Chapter 11
Case, including any rights to distributions under their Class 7A and 7B Claims; (ii) be deemed to
have consented to the Diocese entering into the Additional Debtor Contributions Security
Agreement to secure the Additional Debtor Contributions upon entry of the Confirmation Order;
and (iii) consent to the transfer of the Transferred Insurance Interests to the Trust.

       As additional consideration for the Channeling Injunction and release provided hereinin
the Plan and the Trust Distribution Procedures, DOC Trusts shall provide the DOCT Loan.

        The Debtor Cash Contribution and the OCE Cash Contributions are being made in respect          Formatted: No widow/orphan control
of the uninsured exposure of the Debtor and the Other Catholic Entities for Abuse Claims,
including, but not limited to, years in which no Non-Settling Insurer Policies are available and, to
the extent required under applicable law, when a self-insured retention or deductible must be
satisfied to access coverage under Non-Settling Insurer Policies. The Debtor Cash Contribution
and the OCE Cash Contributions are not, and shall not be construed as, a discharge and/or release
of any Abuse Claim covered or alleged to be covered under Non-Settling Insurer Policies.
Notwithstanding the forgoing, the Debtor and the Other Catholic Entities shall have no further
financial obligations under the Plan or the Plan Documents other than the obligations required to
be paid to the Trust in Section 7.2.2 of the Plan.

                              ii. Additional Trust Assets: the Transferred Insurance Interests         Formatted: No widow/orphan control, Don't keep with next


        In addition to the Debtor Cash Contribution and the OCE Cash Contributions being paid          Formatted: No widow/orphan control
to the Trust, the Transferred Insurance Interests of the Diocese are automatically and without
further act or deed assigned and transferred to the Trust on the Effective Date. In addition, the
Interests of the other Covered Parties in the Transferred Insurance Interests are automatically and
without further act or deed assigned and transferred to the Trust on the Effective Date. The
foregoing assignment and transfer shall not be construed as an assignment and transfer of the Non-
Settling Insurer Policies but rather constitute an assignment of the right to receive insurance
proceeds available under the Non-Settling Insurer Policies.

                     b. Unknown Claims Reserve.                                                        Formatted: No widow/orphan control, Don't keep with next




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       For a period of seven years after the Effective Date (the “Unknown Claims Reserve                   Formatted: No widow/orphan control
Establishment Period”), the Trust Administrator shall be obligated to maintain the Unknown
Abuse Claim Reserve for the benefit of Unknown Abuse Claimants. The Unknown Abuse Claims
Reserve shall be administered as provided in the Trust Agreement and Trust Distribution Plan. At
the expiration of the Unknown Claims Reserve Establishment Period, neither the Debtor,
Reorganized Debtor, Trust, nor any other Covered Party or Settling Insurer shall have any liability
for Unknown Abuse Claims.

           C. Vesting.                                                                                     Formatted: No widow/orphan control, Don't keep with next


        On the Effective Date, all Trust Assets shall vest in the Trust, and the Diocese and other
Covered Parties shall be deemed for all purposes to have transferred all of their respective
Interests in the Trust Assets to the Trust. On the Effective Date, or as soon as practicable thereafter,
the Reorganized Debtor, any other Covered Party, and Settling Insurers, as applicable, shall take
all actions reasonably necessary to transfer any Trust Assets to the Trust. Upon the transfer of
control of Trust Assets in accordance with this paragraph, the Diocese, the other Covered Parties
and the Settling Insurers shall have no further interest in or with respect to the Trust Assets except
as otherwise explicitly provided in the Plan.

           D. Appointment of the Trust Administrator.                                                      Formatted: No widow/orphan control, Don't keep with next


        The initialInitial Trust Administrator will be identified in a Plan Supplement, which shall
be filed no later than 10 days on or before 21 days prior to the deadline establishedto object to
confirmation of the plan, unless otherwise ordered by the Bankruptcy Court to object to the Plan.
The Trust Administrator shall commence serving as the Trust Administrator as of the date set forth
in the Trust Agreement and be permitted to act in accordance with the terms of the Trust
Agreement from such date, as authorized jointly by the Plan Proponents. Such actions may include
opening bank accounts and taking all further actions necessary to establish the Trust prior to the
Effective Date in accordance with his or her duties under the Trust Agreement, for which the Trust
Administrator shall be entitled to seek compensation in accordance with the terms of the Trust
Agreement and the Plan.

           E. Rights and Responsibilities of Trust Administrator.                                          Formatted: No widow/orphan control, Don't keep with next


       The Trust Administrator shall be deemed the Estate’s representative in accordance with
section 1123 of the Bankruptcy Code and shall have all the rights, powers, authority,
responsibilities, and benefits specified in the Plan and the Trust Agreement, including (to the
extent necessary to enforce those rights, powers, authority, responsibilities, and benefits only) the
powers of a trustee under sections 704, 108 and 1106 of the Bankruptcy Code and Bankruptcy
Rule 2004 (including commencing, prosecuting or settling Causes of Action, enforcing contracts,
and asserting Claims, defenses, offsets and privileges). If there is any inconsistency or ambiguity
between the Plan and Confirmation Order, on the one hand, and the Trust Agreement, on the other
hand, with respect to the Trust Administrator’s authority to act, the provisions of the Plan and
Confirmation Order shall control. Among other things, as more fully set forth in the Trust
Agreement, the Trust Administrator: (1) shall liquidate and convert to Cash the Trust Assets,
make timely distributions and not unduly prolong the duration of the Trust; (2) may request an
expedited determination of taxes of the Trust under section 505(b) of the Bankruptcy Code for all
returns filed for, or on behalf of, the Trust for all taxable periods through the dissolution of the

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Trust; (3) may retain professionals, including legal counsel, accountants, financial advisors,
auditors and other agents on behalf of the Trust to carry out the obligations of the Trust
Administrator hereunder and under the Trust Agreement, with payment to such professionals to
be made solely from Trust Assets; (4) pursue Coverage Claims against any Non-Settling Insurers
in respect of the Transferred Insurance Interests; (5) defend and indemnify the Covered Parties
against Abuse Claims as provided in the Trust Distribution Plan; (6) may take any action required
to enforce the Insurance Settlement Agreements and (7) shall have all rights and powers vested in
the Trust Administrator provided for in the Trust Distribution Plan.

        Notwithstanding the foregoing, the Diocese, the Reorganized Debtor, and the Trust acting
for itself and on behalf of the Estate, shall be deemed to have waived, effective upon the Effective
Date:

               (a)    Any and all Claims under sections 547, 548, 549, and 550 of the Bankruptcy       Formatted: No widow/orphan control
       Code for the recovery of any sums paid to any Person who provided goods and services to
       the Diocese in the ordinary course of business, including Creditors in Class 3, prior to the
       Effective Date.

              (b)     Any and all Claims: (i) seeking the substantive consolidation of the Diocese
       and any other Person or an order deeming any such Person and the Diocese to be an “alter-
       ego” of the other or any other similar Claim; (ii) to avoid, set aside or recover any payment
       or other transfer made to any Person under sections 547, 548, 549, and 550 of the
       Bankruptcy Code; and (iii) any proceeding to avoid or set aside any interest of a Person in
       property under section 544 of the Bankruptcy Code.

           F. Appointment of Trust Advisory Committee.

        On the Effective Date, the Trust Advisory Committee shall be established pursuant to the
terms of the Trust Agreement. The Trust Advisory Committee shall have the functions, duties and
rights provided in the Trust Agreement. Upon termination of the Trust, or as otherwise provided
in the Trust Agreement, the Trust Advisory Committee shall be deemed dissolved and discharged
of and from all further authority, duties, responsibilities, and obligations with respect to or in
connection with the Trust and the Chapter 11 Case.

        Except for the reimbursement of reasonable actual costs and expenses incurred in
connection with their duties as members of the Trust Advisory Committee, the members of the
Trust Advisory Committee shall serve without compensation. Reasonable expenses incurred by
members of the Trust Advisory Committee may be solely paid by the Trust without need for
approval of the Bankruptcy Court. For the avoidance of doubt, the Diocese and Other Catholic
Entities shall not be responsible for any fees, costs, and/or expenses associated with the Trust
Advisory Committee.

           G. Transferred Insurance Interests.                                                         Formatted: No widow/orphan control, Don't keep with next


                     a. Assignment of Insurance Interests.                                             Formatted: No widow/orphan control, Don't keep with next


        Effective as of the Effective Date, the Transferred Insurance Interests are assigned and       Formatted: No widow/orphan control
transferred to the Trust.


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                (a)      The Trust shall be entitled to (i) all recoveries on account of Transferred
                         Insurance Interests as set forth in the Plan, the Trust Distribution Plan and
                         the Confirmation Order and to (ii) assert and/or assign to any Abuse
                         Claimant all Claims that currently exist or may arise in the future against
                         Non-Settling Insurers.

                (b)      The Trust shall also have the right to pursue Claims against Non-Settling
                         Insurers to determine Coverage Claims and other Claims relating to the
                         Covered Parties’ liability for Abuse Claims or the Non-Settling Insurers’
                         obligations in respect of such Claims as set forth in the Trust Distribution
                         Plan. The foregoing transfer shall not be construed to entitle any Person to
                         insurance coverage other than those Persons entitled to such coverage from
                         Non-Settling Insurers.

                (c)      The Trust may act in its own name, or in the name of any Abuse Claimant
                         or Covered Party, to enforce any right, title, or interest of any Covered Party
                         in the Transferred Insurance Interests.

                (d)      No limitations on recovery from Non-Settling Insurers shall be imposed by
                         virtue of the fact the Debtor is in bankruptcy or by any distribution from the
                         Trust to an Abuse Claimant.

                (e)      The Insurance Assignment shall not affect any Non-Settling Insurer’s duty
                         to defend, but to the extent that a failure to defend or a separate agreement
                         between a Covered Party and any Non-Settling Insurer gives rise to a
                         monetary obligation to reimburse defense costs in lieu of a duty to defend,
                         the Trust shall be entitled to the benefit of such monetary obligation or
                         policy proceeds.

                (f)      Any recovery by the Trust on Coverage Claims relating to the Covered
                         Parties’ liability for Abuse Claims shall become a Trust Asset and shall be
                         distributed as provided in the Plan, the Trust Agreement and the Trust
                         Distribution Plan.

                (g)      The Trust’s recourse to the Covered Parties shall be limited to the
                         Transferred Insurance Interests and any other rights or interests expressly
                         granted to the Trust under the Plan.

        The Trust shall have full access to coverage under the Non-Settling Insurer Policies to the        Formatted: No widow/orphan control
greatest extent permitted by applicable non-bankruptcy law, in the same manner and to the same
extent as the Covered Parties prior to the confirmation of the Plan and the Insurance Assignment.
The Non-Settling Insurers shall retain any and all coverage defenses, except any defense regarding
or arising from the Insurance Assignment, but confirmation or effectuation of the Plan shall not
trigger any coverage defense, or give rise to any additional coverage defense, that did not exist
prior to the Debtor’s filing for bankruptcy or Plan Confirmation, and no coverage defenses are
created by the Debtor’s bankruptcy or the negotiation, solicitation, or confirmation of the Plan, or
the terms thereof, including any treatment of, or protections afforded to, any Covered Party or


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Settling Insurer under the Plan.

       The Insurance Assignment does not affect any Covered Party’s or any Non-Settling
Insurer’s right to contest any Covered Party’s liability or the amount of damages in respect of any
Abuse Claims.




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                     b. Determination of Validity of Insurance Assignment                                   Formatted: No widow/orphan control, Don't keep with next


        The Bankruptcy Court shall determine at the Confirmation Hearing (a) whether the                    Formatted: No widow/orphan control
Insurance Assignment is valid and (b) whether Insurance Assignment or the discharge and
injunctions set forth in the Plan, void, defeat, or impair the insurance coverage under the Non-
Settling Insurer Policies. If any Person fails to timely file an objection to the proposed Insurance
Assignment or other Plan terms related to the Non-Settling Insurer Policies, that Person shall be
deemed to have irrevocably consented to the Insurance Assignment and such Plan terms and will
be forever barred from asserting that the Insurance Assignment or other Plan terms affect the
ability of the Trust or Abuse Claimants to pursue the Non-Settling Insurers, or any of them, for
Coverage Claims.

        If the Bankruptcy Court enters a Final Order determining that the Insurance Assignment is
valid, following the Effective Date, the Trust shall assume responsibility for, and be bound by,
only such obligations of the Covered Parties under the Non-Settling Insurer Policies as are
necessary to enforce the Transferred Insurance Interests.

         If the Bankruptcy Court does not enter a Final Order approving the Insurance Assignment,
then the Insurance Assignment shall not occur and, pursuant to section 1123(b)(3)(B) of the
Bankruptcy Code, the Trust Administrator shall be appointed as the representative of the Estate
for the purpose of retaining and enforcing all of the Debtor’s and the Estate’s Interests and Claims
against the Non-Settling Insurers with respect to Abuse Claims. Any recoveries on such Interests
and Claims by the Trust Administrator will be paid to the Trust. The determination of whether the
appointment of the Trust Administrator as the Debtor’s and the Estate’s representative provided
for in this Section is valid shall be made by the Bankruptcy Court at the Confirmation Hearing. If
any Person fails to timely file an objection to the proposed appointment, that Person shall be
deemed to have irrevocably consented to the appointment and will be forever barred from asserting
that the appointment in any way affects the ability of the Trust Administrator to pursue any Non-
Settling Insurers for insurance coverage. If the Bankruptcy Court determines that the appointment
is valid, then, following the Effective Date, the Trust Administrator shall assume responsibility
for, and be bound by, only such obligations of the Covered Parties under the Non-Settling Insurer
Policies as are necessary to act as the representative of the Debtor and the Estate for the purpose
of retaining and enforcing their Interests and Claims, if any, against the Non-Settling Insurers;
provided, however, the Trust Administrator’s appointment shall not relieve the Covered Parties
from any obligation that such entities may have under the Non-Settling Insurer Policies. Nothing
contained in this Section shall affect the rights and remedies of a Person who is not a Covered
Party but is an insured or additional insured with the Debtor or is asserting rights under a Non-
Settling Insurer Policy.

       If a Final Order is entered holding that (a) the Insurance Assignment or (b) the appointment
of the Trust Administrator as the Debtor’s and the Estate’s representative are invalid then the
assignment and/or appointment, as the case may be, will be deemed not to have been made, and
each of the Covered Parties will retain their Interests under each Non-Settling Insurer Policy and:

                a.       at the request of the Trust, the Covered Parties will assert their Interests and
                         Claims against a Non-Settling Insurer, including by filing an Action for
                         recovery of policy proceeds;

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                b.       the Covered Parties will select and retain counsel to pursue their Interests
                         and Claims against Non-Settling Insurers, subject to the Trust
                         Administrator’s approval, which approval shall not be unreasonably
                         withheld;

                c.       the Trust shall pay the reasonable attorneys’ fees, costs and expenses that
                         are incurred by the Covered Parties in pursuing their Interests and Claims
                         against Non-Settling Insurers;

                d.       the Trust shall, in addition to reasonable attorneys’ fees, costs and expenses
                         provided for in this Section, reimburse Covered Parties for any reasonable
                         out of pocket costs and expenses incurred as a direct consequence of
                         pursuing their Interests and Claims against Non-Settling Insurers; provided,
                         however no compensation shall be paid to any Covered Party for any time
                         any of its employees expended; and

                e.       upon receipt by a Covered Party, all recoveries received from Non-Settling
                         Insurers shall be remitted to the Trust as soon as practicable.

           H. Investment Powers; Permitted Cash Expenditures.                                             Formatted: No widow/orphan control, Don't keep with next


        All funds held by the Trust shall be invested in Cash or short-term highly liquid investments
that are readily convertible to known amounts of Cash as more particularly described in the Trust
Agreement. The Trust Administrator may expend the Cash of the Trust.

           I. Registry of Beneficial Interests.                                                           Formatted: No widow/orphan control, Don't keep with next


      To evidence the beneficial interest in the Trust of each holder of such an interest, the Trust
Administrator shall maintain a registry of beneficiaries as provided for in the Trust Agreement.

           J. Non-Transferability of Interests.                                                           Formatted: No widow/orphan control, Don't keep with next


      Any transfer of an interest in the Trust shall not be effective until and unless the Trust
Administrator receives written notice of such transfer.

           K. Tax Matters.                                                                                Formatted: No widow/orphan control, Don't keep with next


        The Trust shall not be deemed to be the same legal entity as the Diocese but only the
assignee of certain assets of the Diocese and a representative of the Estate for delineated purposes
within the meaning of section 1123(b)(3) of the Bankruptcy Code. The Trust Administrator shall
file such income tax and other returns and documents as are required to comply with the applicable
provisions of the Tax Code, the Treasury Regulations, and New Jersey law and the regulations
promulgated thereunder, and shall pay from the Trust all taxes, assessments, and levies upon the
Trust, if any.

           L. Termination.                                                                                Formatted: No widow/orphan control, Don't keep with next


       The Trust shall terminate after (i) its liquidation, administration, and distribution of the


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Trust Assets and (ii) its full performance of all other duties and functions set forth in the Plan, the
Trust Agreement and the Trust Distribution Procedures.

           M. Immunity; Liability; Indemnification.                                                       Formatted: No widow/orphan control, Don't keep with next


                     a. No Liability for Reorganized Debtor or Trust Administrator.                       Formatted: No widow/orphan control, Don't keep with next


        Neither (i) the Reorganized Debtor nor its Agents or (ii) the Trust Administrator nor its         Formatted: No widow/orphan control
Agents, nor their respective employees, shall be liable for the acts or omissions of any other Agents
of such Trust Administrator, except that the Trust Administrator shall be liable for its specific acts
or omissions resulting from such Trust Administrator’s gross negligence, fraud, or breach of the
fiduciary duty of loyalty. The Trust Administrator may, in connection with the performance of its
functions and in its sole and absolute discretion, consult with its Agents, and shall not be liable for
any act taken, omitted to be taken, or suffered to be done in accordance with advice or opinions
rendered by such Persons. Notwithstanding such authority, the Trust Administrator shall not be
under any obligation to consult with its Agents, and its determination not to do so shall not result
in the imposition of liability on the Trust Administrator unless such determination is based on the
Trust Administrator’s recklessness, gross negligence, willful misconduct or fraud.

                     b. No Recourse Against Trust Administrator.                                          Formatted: No widow/orphan control, Don't keep with next


         No recourse shall ever be had, directly or indirectly, against the Trust Administrator
personally, or against any Agent retained in accordance with the terms of the Trust Agreement or
the Plan by the Trust Administrator, by legal or equitable proceedings or by virtue of any statute
or otherwise, or upon any promise, contract, instrument, undertaking, obligation, covenant or Trust
Agreement whatsoever executed by the Trust Administrator in implementation of the Trust
Agreement or the Plan, or by reason of the creation of any indebtedness by the Trust Administrator
under the Plan for any purpose authorized by the Trust Agreement or the Plan, it being expressly
understood and agreed that all such Claims shall be enforceable only against and be satisfied only
out of the Trust Assets. Notwithstanding the foregoing, the Trust Administrator may be held liable
for its recklessness, gross negligence, willful misconduct, knowing and material violation of law,
or fraud; and if liability on such grounds is established, recourse may be had directly against the
Trust Administrator. The Trust shall not be covered by a bond.

       The Confirmation Order shall provide that, absent permission of the Bankruptcy Court, no           Formatted: No widow/orphan control
Cause of Action may be commenced in any forum, other than the Bankruptcy Court, against the
Trust Administrator in its official capacity, with respect to its status, duties, powers, acts, or
omissions as Trust Administrator.

                     c. Indemnification by Trust.                                                         Formatted: No widow/orphan control, Don't keep with next


        The Trust shall defend, indemnify, and hold harmless the Trust Administrator and its
Agents to the fullest extent permitted under the laws of New Jersey in the performance of their
duties under the Plan and under the Trust Agreement.

      If the Debtor or the Other Catholic Entities are named as a defendant in an Action by an
Abuse Claimant which is enjoined by the terms of the Plan and channeled to the Trust by the
Channeling Injunction, the Debtor or the Other Catholic Entities shall tender the defense of such

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Action to the Trust and the Trust shall be responsible for all actions required to defend the Debtor
or the Other Catholic Entities in such Action.

        The Trust will fund all reasonable and necessary out of pocket attorneys’ fees, costs and       Formatted: No widow/orphan control
other expenses of the Debtor and the Other Catholic Entities in connection with their participation
in the Trust Distribution Procedures (“Defense Costs”); provided, however, that if a Non-Settling
Insurer defends the Debtor or the Other Catholic Entities in connection with their participation in
the Trust Distribution Procedures, the Trust shall be relieved of its obligation to pay any Defense
Costs; provided, further, however, that if a Non-Settling Insurer has a duty to defend, or has a duty
to reimburse the defense costs of, the Debtor or the Other Catholic Entities but fails to honor that
obligation, the Trust will advance or reimburse the Debtor or the Other Catholic Entities for
reasonable and necessary Defense Costs. The Debtor and the Other Catholic Entities’ selection of
legal counsel shall be consistent with the Debtor and the Other Catholic Entities’ historical
retention and use of such counsel, who shall exercise his or her professional judgment in
accordance with the Rules of Professional Conduct and any other relevant rules governing the
duties and obligations of attorneys to their clients. For the purposes of clarify and avoidance of
doubt: (i) the Debtor and the Other Catholic Entities shall be made whole from the Trust for any
actually expended or incurred Defense Costs for their participation in the Trust Distribution
Procedures and (ii) any Defense Costs previously paid by the Trust to the Debtor and the Other
Catholic Entities shall be reimbursed to the Trust upon the Non-Settling Insurer’s satisfaction of
any such amounts.

                                ARTICLE XIII.
               TRUST DISTRIBUTION PLAN AND RELATED PROVISIONS

           A. Distributions and Payments from the Trust.

       The following distributions and payments will be made from the Trust.

              a)      Distributions. Distributions on Class 5 and 6 Claims in accordance with
       the Plan, the Trust Agreement, and the Trust Distribution Plan.

             b)      Abuse Claims Reviewer Fees. Fees payable to the Abuse Claims
       Reviewer for review of Class 5 and Class 6 Claims.

               c)       Trust Administrative Fees. All fees, costs, and expenses of administering
       the Trust as provided in the Plan and the Trust Agreement, including: (i) as reasonably
       necessary to meet current liabilities and to maintain the value of the respective Assets of
       the Trust; (ii) to pay reasonable administrative expenses (including any taxes imposed on
       the Trust and any professional fees); and (iii) to satisfy other liabilities incurred by the
       Trust in accordance with the Plan or the Trust Agreement.

              d)     Indemnity. The Trust’s obligations, if any, to defend, indemnify, or hold
       harmless any Person expressly set out in the Plan.

           B. Trust Distribution Procedures.

       Each Abuse Claim will be assessed by the Abuse Claims Reviewer in accordance with the

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Trust Distribution Plan. For the avoidance of doubt, under no circumstance shall the Abuse Claims
Reviewer’s review of an Abuse Claim or a determination regarding a Trust distribution thereon
have any effect on the rights of a Non-Settling Insurer.

        As more fully set forth in the Trust Distribution Procedures, the Covered Parties will have
an obligation to respond to reasonable requests for factual information in their possession, custody
or control, including, but not limited to, providing documents (subject to all applicable privileges)
and reasonable access to witnesses within the Covered Parties’ control in connection with any
inquiries it may have in connection with the Trust Distribution Plan.

           C. Expedited Distributions.

        An Abuse Claimant who meets the following criteria may elect to resolve his or her Abuse
Claim for an expedited distribution of $2,500.00 (the “Expedited Distribution”): (i) the Abuse
Claimant properly and substantially completed and Filed a Proof of Claim; (ii) the Abuse Claimant
has personally signed his or her Proof of Claim attesting to the truth of its contents under penalty
of perjury, or supplements his or her Proof of Claim to so provide such verification and (iii) the
Abuse Claimant elects to resolve his or her Abuse Claim for the Expedited Distribution in
accordance with the Ballot (the “Expedited Distribution Election”). Abuse Claimants who make
the Expedited Distribution Election will not be eligible to receive any further distribution on
account of their Abuse Claim.

        Abuse Claimants who are eligible for and select the Expedited Distribution Election will
not have to comply with the Trust Distribution Procedures to receive payment of the Expedited
Distribution from the Trust; provided, however, that Abuse Claimants who are eligible for and
select the Expedited Distribution Election will be entitled to receive their Expedited Distribution
only upon executing and delivering to the Trust Administrator the release in the form to be
provided in a Plan Supplement.

       An Abuse Claimant who does not make the Expedited Distribution Election in accordance
with the deadlines and procedures established herein may not later elect to receive the Expedited
Distribution.

       Abuse Claimants that make the Expedited Distribution Election will not be eligible to            Formatted: No widow/orphan control
receive any further distribution on account of their Abuse Claim pursuant to the Trust Distribution
Procedures.

           D. Distributions to Abuse Claimants Who Do Not Elect the Expedited
              Distribution.

        An Abuse Claimant whom the Abuse Claims Reviewer determines to be entitled to a
distribution in accordance with the Trust Distribution Plan will receive a distribution from the
Trust in the amount(s) and at the time(s) provided for in the Trust Distribution Plan; provided,
however, that the Unknown Abuse Claims Reserve Fund established and maintained by the Trust
shall be the sole source of payment to Class 6 Claimants on account of Class 6 Claims.




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           E. Dismissal of Pending Litigation.                                                         Formatted: No widow/orphan control


         Within 21 days after the Effective Date, all Channeled Claims asserted by an Abuse
Claimant in any lawsuit against any Covered Party currently pending in any state or federal or
territorial court whether in the United States of America or in any other country or jurisdiction
shall be dismissed without prejudice. Such Abuse Claims shall be released and dismissed with
prejudice in accordance with the terms of the Plan and Trust Distribution Procedures. Such
dismissals are not, and shall not be construed as, a discharge and/or release of any Abuse Claims
that are subject to coverage under Non-Settling Insurer Policies.

           F. Objections and Litigation After the Effective Date.

        As of the Effective Date, the Trust Administrator, through the Abuse Claims Reviewer,
shall have the exclusive right to object to Channeled Claims; provided, however, that the Diocese,
the Reorganized Debtor, other Covered Parties and Non-Settling Insurers shall have the right to
participate in such objections as provided in the Trust Distribution Procedures.

           G. Legal Effect of Estimation of Claims and Distributions Under Trust
              Distribution Plan.

        The Abuse Claims Reviewer’s determinations are for estimation purposes only and shall
not be a finding or fixing of the fact or liability or the amount payable for any Abuse Claim with
any binding legal effect, other than for distribution purposes by the Trust pursuant to the Trust
Distribution Plan. The determination of qualification, estimation of Claims, and payment of Trust
distributions is not an admission of liability by any Covered Party or the Trust with respect to any
Abuse Claims and has no res judicata or collateral estoppel effect on any Covered Party, the Trust,
any Non-Settling Insurer or Settling Insurer. Trust distributions do not release the Debtor nor are
Trust Distributions an accord or novation of the Debtor’s liability on account of the Abuse Claims.
The Trust’s act of making a distribution is immaterial to, and shall not be construed as, a
determination or admission of any Covered Party’s liability for, or damages with respect to, any
Abuse Claim. The determination of qualification, estimation of Claims, and payment of
distributions is not a settlement, release, accord, or novation of any Abuse Claims and cannot be
used by any Joint Tortfeasor as a defense to any alleged joint liability. The determination of
qualification, estimation of claims, and payment of partial distributions does not impair an Abuse
Claimant’s rights to obtain a judgment, including a judgment based on joint and several liability,
against a Covered Party or any Non-Settling Insurer, for purposes of establishing the Covered
Party’s liability on the Abuse Claim, but any such judgment awarded to an Abuse Claimant will
be reduced by the amount of Trust distributions already paid by the Trust to such Abuse Claimant
on his or her Abuse Claim(s).

        Abuse Claimants expressly reserve their rights against Non-Covered Parties, including, but
not limited to, Joint Tortfeasors, co-defendants with the Diocese or an Other Catholic Entity in
their state or federal court lawsuits, and Religious Institutes of Men or Woman, who will remain
severally liable on any Claims for Abuse. Any Person alleged to be a Joint Tortfeasor shall not be
liable for any Covered Party’s share of causal liability or fault.

       Distribution from the Trust does not preclude Claims or recoveries by Abuse Claimants           Formatted: No widow/orphan control



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against Persons who are not Covered Parties or Settling Insurers for the liability of such Persons
not attributable to the causal fault or share of liability of Covered Parties, including, but not limited
to, Non-Settling Insurers.

            H. Release of Abuse Claim Required for a Distribution.

        No Abuse Claimant may receive a distribution under the Plan on its Allowed Claim until
such Abuse Claimant has executed a release agreement in favor of the Diocese, the Reorganized
Debtor, the other Covered Parties and any Settling Insurers in a form agreeable to the Plan
Proponents, the other Covered Parties and any Settling Insurers; provided, that nothing herein
requires any Class 5 and 6 Claimant to release any Claim(s) that is not a Channeled Claim but such
release will expressly reserve an Abuse Claimant’s rights against other Persons (other than a
Covered Party), including Joint Tortfeasors, who will remain severally liable on any Claims for
Abuse. Any Person (other than a Covered Party) that is, or was alleged to be a Joint Tortfeasor
with any of the Covered Parties in connection with the Abuse that forms the basis of an Abuse
Claim shall not be liable for any Covered Party’s share of causal liability or fault.

        Notwithstanding the forgoing or anything herein to the contrary, Abuse Claims will not be           Formatted: No widow/orphan control
released or enjoined against the Covered Parties for any Abuse that may be covered under Non-
Settling Insurer Policies until such claims are settled with the Covered Parties and their Non-
Settling Insurers, or are fully adjudicated, resolved, and subject to Final Order.

            I. Claim Withdrawal.

        An Abuse Claimant may withdraw his or her Abuse Claim at any time on written notice to
the Trust Administrator. If withdrawn, (a) the Abuse Claim will be withdrawn with prejudice and
may not be reasserted, and such Abuse Claimant shall still be subject to the Channeling Injunction
and the Supplemental Settling Insurer Injunction, as provided by the Plan; and (b) any reserve
maintained by the Trust on account of such Abuse Claim shall revert to the Trust as a Trust Asset
for distribution in accordance with the Plan and Trust Distribution Plan.




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           J. Medicare Procedures.                                                                        Formatted: No widow/orphan control


      With respect to all Abuse Claims, the Trust shall maintain sufficient funds to pay any
Medicare Claims and to perform the following duties:

               a)       It is the position of the Debtor that none of the Diocese, the Other Catholic
       Entities, the Trust, or the Settling Insurers will have any reporting obligations in respect of
       their contributions to the Trust, or in respect of any payments, settlements, resolutions,
       awards, or other Claim liquidations by the Trust, under the reporting provisions of MSP or
       MMSEA. Prior to making any payments to any claimants, the Trust shall seek a statement
       or ruling from the United States Department of Health and Human Services that none of
       the Trust, the Diocese, the Other Catholic Entities, or Settling Insurers has any reporting
       obligations under MMSEA with respect to payments to the Trust by the Diocese, the Other
       Catholic Entities, or Settling Insurers or payments by the Trust to Claimants. Unless and
       until there is definitive regulatory, legislative, or judicial authority (as embodied in a final
       non-appealable decision from the United States Court of Appeals for the Third Circuit or
       the United States Supreme Court), or written confirmation from the United States
       Department of Health and Human Services that none of the Diocese, the Other Catholic
       Entities, or the Settling Insurers has any reporting obligations under MMSEA with respect
       to any settlements, payments, or other awards made by the Trust or with respect to the
       contributions the Diocese, the Other Catholic Entities, and the Settling Insurers have made
       or will make to the Trust, the Trust shall, at its sole expense, in connection with the
       implementation of the Plan, act as a reporting agent for the Diocese, the Other Catholic
       Entities, and Settling Insurers, and shall timely submit all reports that would be required to
       be made by the Diocese or the Other Catholic Entities or Settling Insurer under MMSEA
       on account of any Claims settled, resolved, paid, or otherwise liquidated by the Trust or
       with respect to contributions to the Trust, including reports that would be required if the
       payments to the Trust by the Diocese or the Other Catholic Entities or Settling Insurer were
       determined to be made pursuant to “applicable plans” for purposes of MMSEA, or by the
       Diocese or the Other Catholic Entities or Settling Insurer were otherwise found to have
       MMSEA reporting requirements. The Trust, in its role as reporting agent for the Diocese,
       the Other Catholic Entities, and Settling Insurers, shall follow all applicable guidance
       published by CMS to determine whether or not, and, if so, how, to report to CMS pursuant
       to MMSEA.

               b)    If the Trust is required to act as a reporting agent for the Diocese or the
       Other Catholic Entities or Settling Insurer, the Trust shall provide a written certification to
       the Diocese and the Other Catholic Entities and Settling Insurers within twenty-one (21)
       days following the end of each calendar quarter, confirming that all reports to CMS have
       been submitted in a timely fashion, and identifying (a) any reports that were rejected or
       otherwise identified as noncompliant by CMS, along with the basis for such rejection or
       noncompliance; and (b) any payments to Medicare Beneficiaries that the Trust did not
       report to CMS.

               c)      With respect to any reports rejected or otherwise identified as noncompliant
       by CMS, the Trust shall, upon request by the Diocese or any of the Other Catholic Entities
       or Settling Insurers, promptly provide copies of the original reports submitted to CMS, as

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   well as any response received from CMS with respect to such reports; provided, however,
   that the Trust may redact from such copies any information deemed confidential by the
   Trust Administrator. With respect to any such reports, the Trust shall reasonably undertake
   to remedy any issues of noncompliance identified by CMS, resubmit such reports to CMS,
   and, upon request by the Diocese or the Other Catholic Entities or Settling Insurers, provide
   each of the Diocese or the Other Catholic Entities and Settling Insurers copies of such
   resubmissions; provided, however, that the Trust may redact any information deemed
   confidential by the Trust Administrator. If the Trust is unable to remedy its
   noncompliance, the provisions of Section 8.11.7 of the Plan shall apply.

           d)      If the Trust is required to act as a reporting agent for the Diocese or the
   Other Catholic Entities or Settling Insurers pursuant to the provisions of Section 8.11.1 of
   the Plan, with respect to each Channeled Claim of a Medicare Beneficiary paid by the Trust
   and not disclosed to CMS, the Trust shall, upon request by the Diocese or the Other
   Catholic Entities or Settling Insurer, promptly provide the last four digits of the claimant’s
   Social Security number, the year of the claimant’s birth and any other information in the
   possession or control of the Trust that may be necessary in the reasonable judgment of the
   Diocese or the Other Catholic Entities or Settling Insurer to satisfy their obligations, if any,
   under MMSEA, as well as the basis for the Trust’s failure to report the payment. In the
   event the Diocese or the Other Catholic Entities or Settling Insurer informs the Trust that
   it disagrees with the Trust’s decision not to report a Claim paid by the Trust, the Trust shall
   promptly report the payment to CMS. All documentation relied upon by the Trust in
   making a determination that a payment did not have to be reported to CMS shall be
   maintained for a minimum of six (6) years following such determination.

           e)      If the Trust is required to act as a reporting agent for the Diocese or any
   Other Catholic Entity or any Settling Insurer pursuant to the provisions of Section 8.11.1
   of the Plan, the Trust shall make the reports and provide the certifications required by
   Section 8.11 until such time as such of the Diocese or the Other Catholic Entities or Settling
   Insurer determines, in its reasonable judgment, that it has no further legal obligation under
   MMSEA or otherwise to report any settlements, resolutions, payments, or liquidation
   determinations made by the Trust or contributions to the Trust. Furthermore, following
   any permitted cessation of reporting, or if reporting has not previously commenced due to
   the satisfaction of one or more of the conditions set forth in Section 8.11.1 of the Plan, and
   if the Diocese or the Other Catholic Entities or Settling Insurer reasonably determines,
   based on subsequent legislative, administrative, regulatory, or judicial developments, that
   reporting is required, then the Trust shall promptly perform its obligations under Section
   8.10 of the Plan.

           f)     Section 8.11 of the Plan is intended to be purely prophylactic in nature, and
   does not imply, and shall not constitute an admission, that the Diocese, the Other Catholic
   Entities, and/or Settling Insurers have made payments pursuant to “applicable plans”
   within the meaning of MMSEA, or that they have any legal obligation to report any acts
   undertaken by the Trust or contributions to the Trust under MMSEA or any other statute
   or regulation.

            g)       If CMS concludes that reporting done by the Trust in accordance with

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   Section 8.11 of the Plan is or may be deficient in any way, and has not been corrected to
   the satisfaction of CMS in a timely manner, or if CMS communicates to the Trust, the
   Diocese or the Other Catholic Entities or Settling Insurer a concern with respect to the
   sufficiency or timeliness of such reporting, or there appears to the Diocese or the Other
   Catholic Entities or Settling Insurer a reasonable basis for a concern with respect to the
   sufficiency or timeliness of such reporting or non-reporting based upon the information
   received pursuant to Section 8.11 of the Plan, or other credible information, then each of
   the Diocese or the Other Catholic Entities and Settling Insurer shall have the right to submit
   its own reports to CMS under MMSEA, and the Trust shall provide to any Entity that elects
   to file its own reports such information in its possession or control as the electing party
   may reasonably require in order to comply with MMSEA, including the full reports filed
   by the Trust pursuant to Section 8.11 of the Plan, without any redactions. The Diocese, the
   Other Catholic Entities, and Settling Insurers shall keep any information they receive from
   the Trust pursuant to this Section 8.11 of the Plan confidential and shall not use such
   information for any purpose other than meeting obligations under MMSEA.

           h)      Notwithstanding any other provisions hereof, the Trust shall not be required
   to report as required by Section 8.11 of the Plan until the Person on whose behalf the Trust
   is required to report shall have provided its Medicare Reporting Number, if one
   exists. Moreover, the Trust shall have no indemnification obligation under Section 8.11 of
   the Plan to such Person for any penalty, interest, or sanction with respect to a Claim that
   may arise on account of such Person’s failure timely to provide its Medicare Reporting
   Number, if one exists, to the Trust in response to a timely request by the Trust for such
   Medicare Reporting Number. However, nothing relieves the Trust from its reporting
   obligations with respect to each Person who provides the Trust with its Medicare Reporting
   Number. The Trust shall indemnify each of the Diocese or the Other Catholic Entities and
   Settling Insurer for any failure to report payments to Medicare eligible Abuse Claimants
   on behalf of Persons who have timely supplied Medicare Reporting Numbers, if any exists.

           i)      Prior to remittance of funds to any Channeled Claimant or counsel therefor,
   the Trust Administrator shall obtain in respect of any Channeled Claim a certification from
   the Claimant that said Claimant has or will provide for the payment and/or resolution of
   any obligations owing or potentially owing under MSP relating to such Channeled Claim.
   If the Trust receives no such certification, the Trust may withhold payment from any
   Claimant the funds sufficient to assure that all obligations owing or potentially owing under
   MSP relating to such Abuse Claim are paid to CMS. The Trust shall provide a quarterly
   certification of its compliance with Section 8.11.9 of the Plan to each of the Diocese or the
   Other Catholic Entities and Settling Insurer, and permit reasonable audits by such Persons,
   no more often than annually, to confirm the Trust’s compliance with Section 8.11.9 of the
   Plan. For the avoidance of doubt, the Trust shall be obligated to comply with the
   requirements of Section 8.11.9 of the Plan regardless of whether the Diocese or the Other
   Catholic Entities or Settling Insurer elects to file its own reports under MMSEA pursuant
   to Section 8.11.7 of the Plan.

           j)     Compliance with the provisions of this Section 8.11 of the Plan shall be a
   material obligation of the Trust under the Plan, in favor of the Diocese, the Other Catholic
   Entities, and Settling Insurers under the Plan.

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               k)     The Trust shall defend, indemnify, and hold harmless the Diocese, the Other
       Catholic Entities, and Settling Insurers from any Medicare Claims reporting and payment
       obligations relating to its payment of Channeled Claims, including any obligations owing
       or potentially owing under MMSEA or MSP, and any Claims related to the Trust’s
       obligations under Section 8.4 of the Plan.

               l)     The Social Security Administration may change (or may have already
       changed) its processes and/or procedures in a manner that is inconsistent with the
       foregoing. The Trust Administrator shall make best efforts to comply meaningfully with
       the foregoing while adhering to the Social Security Administration’s most recent processes,
       procedures, and requirements.

           K. Medicare Claims Indemnity.

       The Trust shall defend, indemnify, and hold harmless the Covered Parties and the Settling
Insurers from any Medicare Claims and any Claims related to the Trust’s obligations under the
Plan.

                                        ARTICLE XIV.
                                     SETTLING INSURERS

           A. Settling Insurers.

        If, prior to the Confirmation Date, an Insurer enters into an Insurance Settlement
Agreement with the Debtor, who shall be required to obtain the written consent of the Tort
Committee before entering into and executing such agreement, under which the Insurer would
become a Settling Insurer under the Plan upon entry of the Confirmation Order, the Plan
Proponents shall file a Plan Supplement providing for any provisions required by the proposed
Settling Insurer, and agreed to by the Plan Proponents, to be made a part of the Plan. Any such
provisions set forth in the Plan Supplement shall be included in this Section as part of the Plan
attached to the Confirmation Order.

       Any Insurer that becomes a Settling Insurer prior to the Effective Date shall receive the
treatment as may be provided in any Insurer Settlement Agreement approved by a Final Order.

           B. Contribution Claims.

        Each Settling Insurer agrees that it will not pursue any contribution claim that it might have
against any other Insurer (a) whose Contribution Claim against Settling Insurers is satisfied and
extinguished entirely; or (b) that does not make a Contribution Claim against the Settling Insurers,
or any of them. If, in the future, a Non-Settling Insurer releases its Contribution Claims, if any
such exist, that it may have against the Settling Insurers, then such released Settling Insurer shall
release its Contribution Claims against such releasing Insurer.

        If any Insurer asserts a Claim directly against the Trust arising from or concerning the
Settling Insurer Policies, any Contribution Claim of the Settling Insurers shall be transferred to the
Trust, and the Trust shall be authorized to assert the Contribution Claims of such Settling Insurer
against such other Insurer.

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           C. Judgment Reduction

        In any Action, including the Insurance Coverage Adversary Proceeding, involving the
Diocese, an Other Catholic Entity, the Reorganized Debtor, or the Trust (collectively, “Alleged
Insured”) or an Abuse Claimant, as applicable, and one or more Non-Settling Insurers, where a
Non-Settling Insurer has asserted, asserts, or could assert any Contribution Claim against a Settling
Insurer, then any judgment or award obtained by such Alleged Insured or Abuse Claimant against
such Non-Settling Insurer shall be automatically reduced by the amount, if any, that such settling
entity is liable to pay such Non-Settling Insurer as a result of its Contribution Claim, so that the
Contribution Claim is thereby satisfied and extinguished entirely (“Reduction Amount”). In any
Action involving an Alleged Insured or Abuse Claimant against a Non-Settling Insurer, where
such a Settling Insurer is not a party, such Alleged Insured or Abuse Claimant shall obtain a finding
from that court or arbitrator(s), as applicable, of the Reduction Amount before entry of judgment
against such Non-Settling Insurer. In the event that such a reduction is not made as described
above, then any Contribution Claim by any Non-Settling Insurer against any Settling Insurer Entity
shall be reduced by the Reduction Amount, as determined by the court or arbitrator(s) in which
such Contribution Claim is filed. The Settling Insurers shall be required to cooperate in good faith
with the Diocese and/or the Trust to take commercially reasonable steps to defend against any
Contribution Claim.

      If an Alleged Insured or Abuse Claimant and a Non-Settling Insurer enter into an
agreement settling one or more Claims relating to Abuse, such agreement shall include a provision
whereby such Non-Settling Insurer releases Contribution Claims against the Settling Insurers.

                                      ARTICLE XV.
                                 NON-SETTLING INSURERS

           A. Preservation of Rights and Obligations.

        If an Abuse Claim is liquidated through the Initial Review Determination (as defined in the
Trust Distribution Plan), the Verdict Value Assessment Determination (as defined in the Trust
Distribution Plan) or in any state or federal court as may be permitted by the Plan or Trust
Distribution Plan, then the Covered Parties, the Trust, and each Non-Settling Insurer shall retain
any and all legal and factual defenses that may exist in respect to such Abuse Claim and, except
as set forth in this Section, all coverage defenses. The rights, duties, and obligations of each Non-
Settling Insurer under the Non-Settling Insurer Policies with respect to Abuse Claims are not
affected in any way by: (a) the discharge in bankruptcy of the Debtor; (b) any Trust distribution
or (c) the Insurance Assignment. Non-Settling Insurers retain any defenses that they would be
able to raise if the Claim for coverage for an Abuse Claim were brought by any Covered Party,
except any defense arising from the Insurance Assignment.

        The rights and obligations of the Covered Parties and every Non-Settling Insurer under the
terms of the Non-Settling Insurer Policies and at law shall not be affected by the Initial Review
Determination and shall be treated as if the Initial Review Determination had never occurred. Each
Non-Settling Insurer shall be entitled to all rights as are provided under the terms of its Non-
Settling Insurer Policies as if the Initial Review Determination had never occurred.



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        Nothing in the Plan, Confirmation Order, or any Plan Document shall impose any
obligation on any Non-Settling Insurer to provide a defense for, settle, or pay any judgment with
respect to, any Abuse Claim, or grant to any Person any right to sue any Non-Settling Insurer
directly, relating to an Abuse Claim. All such obligations with respect to Non-Settling Insurers
shall be determined by and in accordance with the terms of the Non-Settling Insurer Policies and
with applicable non-bankruptcy law.

           B. Estimations/Assessments of Abuse Claims Are Not Binding.

        Estimations of Abuse Claims for purposes of determination, qualification, assignment of
points, and payment of Trust distributions:

           a) shall not (i) constitute an admission of liability by any Person with respect to such
              Abuse Claims; (ii) have any res judicata or collateral estoppel effect on any Person;
              (iii) constitute a settlement, release, accord, satisfaction, or novation of such Abuse
              Claims; (iv) be used by any third-party as a defense to any alleged joint liability; or
              (v) otherwise prejudice any rights of the Trust, Covered Parties, Settling Insurers,
              Non-Settling Insurers, or Abuse Claimants in all other contexts or forums;

           b) shall be without prejudice to any and all rights of the Trust, the Non-Settling
              Insurers, and Abuse Claimants in all other contexts and forums; and

           c) shall not be deemed to be a determination of liability of any Covered Party or a
              determination of whether, or the extent to which, such Abuse Claim is covered
              under any Non-Settling Insurer Policy.

        The fact that a Claim has been estimated for distribution purposes has no res judicata or
collateral estoppel effect and is not a binding determination on any issue. Assessments by the
Abuse Claims Reviewer under the Trust Distribution Plan shall have no effect upon any “no
action” provisions contained in any Non-Settling Insurer Policy to the extent any such provision
remains enforceable by a Non-Settling Insurer under applicable law. The liability of the Covered
Parties and the amount owed by the Covered Parties, and any Non-Settling Insurer on any Abuse
Claim, shall be determined by: (y) the amount of any court judgment obtained by, or on behalf of,
the Abuse Claimant; or (z) through either (1) a settlement agreement pursuant to which such Non-
Settling Insurer has consented; or (2) if such Non-Settling Insurer has not consented, a settlement
agreement which does not breach any duty of the Trust, Trust Administrator, or any Covered Party
to the Non-Settling Insurer under the respective Non-Settling Insurer Policy or applicable law.




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           C. The Debtor’s and Other Catholic Entities’ Obligations Survive the Insurance                 Formatted: No widow/orphan control
              Assignment.

        Notwithstanding the Insurance Assignment, the Debtor, the Reorganized Debtor and the
Other Catholic Entities shall not be relieved of their duties or obligations under any Non-Settling
Insurer Policies (except as to the contrary in any subsequent Insurance Settlement Agreement) and
shall continue to perform such duties as required by such Non-Settling Insurer Policies and
applicable law. If the Trust asserts any Claim that the Debtor, the Reorganized Debtor or the Other
Catholic Entities has breached such duties or obligations under the Non-Settling Insurer Policies
resulting in a loss of coverage, it shall give such party notice and an opportunity to cure any alleged
breach, and in any event, the Debtor, the Reorganized Debtor or the Other Catholic Entities shall
not be liable for any alleged breach resulting in a loss of coverage except to the extent that (a) the
breach relates to post-Effective Date conduct of the Debtor, the Reorganized Debtor or the Other
Catholic Entities and (b) the Debtor, the Reorganized Debtor or the Other Catholic Entities
willfully or intentionally fails to comply with its continuing obligations under the Non-Settling
Insurer Policies. In addition, any such Claim will not be automatically allowed; the Debtor, the
Reorganized Debtor or the Other Catholic Entities will have the right to defend against such claim.

           D. Trust Powers With Respect to Abuse Claims and Non-Settling Insurers.

       Solely as set forth in the Trust Distribution Procedures in the Trust Distribution Plan, any
Abuse Claimant or the Trust, as applicable, may enter into a settlement of an Abuse Claim allowed
by applicable non-bankruptcy law, and may enter into an arrangement with the Abuse Claimant’s
counsel providing such counsel will receive reasonable compensation from any recovery from a
Non-Settling Insurer.

        The Trust Administrator may use the Trust assets to prosecute litigation against the Non-
Settling Insurers.

       If the Trust successfully resolves a Coverage Claim or otherwise receives a recovery of
insurance proceeds relating to any Abuse Claim from a Non-Settling Insurer, such proceeds shall
become Trust Assets available to pay, and shall increase the amount available to pay, Abuse
Claims, pursuant to the Trust Distribution Plan.

       Upon the due execution and delivery of an Insurance Settlement Agreement, entry of the
Insurance Settlement Agreement Approval Order and the payment to the Trust of the settlement
amount due thereunder, a Non-Settling Insurer shall become a Settling Insurer protected by the
Channeling Injunction and Supplemental Settling Insurer Injunction and become entitled to benefit
from all releases executed by Claimants and the other rights and protections of a Settling Insurer
under the Plan, the Trust Documents, and the Insurance Settlement Approval Orders.

        With respect to any Stipulation of Judgment entered pursuant to the Trust Distribution Plan,
the Trust will pursue the full amount of any such Stipulation of Judgment against the relevant Non-
Settling Insurer on behalf of the Abuse Claimant and the Abuse Claimant shall be deemed to have
assigned the full amount of such Stipulation of Judgment to the Trust.




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           E. Insurance Coverage Adversary Proceeding.                                                  Formatted: No widow/orphan control


       As of the Effective Date, the Trust shall be substituted as the named plaintiff in the
Insurance Coverage Adversary Proceeding and have all rights of the Diocese and the Other
Catholic Entities to pursue recoveries against any Non-Settling Insurers.

                               ARTICLE XVI.
               PROVISIONS GOVERNING DISTRIBUTIONS GENERALLY

       The following provisions of the Plan shall not apply to the distributions to be made to Class
5 and Class 6 Claims under the Trust.

           A. Disbursing Agent.

        The Reorganized Debtor shall be the “Disbursing Agent” for all payments to be made
under the Plan except for payments made to Class 5 and Class 6 Claims under the Trust. With
respect to the Trust, the Trust Administrator shall be responsible for all distributions made under
the Trust.

           B. Manner of Payment.

        Any payment of Cash under the Plan may be made either by check drawn or by wire
transfer from a domestic bank, at the option of the Disbursing Agent.

           C. Payments and Distributions on Disputed Claims.

        As and when authorized by a Final Order, Disputed Claims that become Allowed Claims
shall be paid from the Disputed Claim Reserve established under Section 12.4 of the Plan. No
distribution shall be made on a Claim where only a portion of such Claim is disputed until such
dispute is resolved by settlement or Final Order.

           D. Disputed Claim Reserve.

        To the extent that the Disbursing Agent makes a distribution hereunder to a Class prior to
the resolution of all Disputed Claims of such Class, the Disbursing Agent shall reserve an amount
for any Disputed Claims in such Class equal to the amount that such Holders of Disputed Claims
in such Class would be entitled to receive under the Plan if such Disputed Claims were Allowed
in the asserted amount of the Claim.

           E. Transmittal of Distributions to Parties Entitled Thereto.

        All distributions by check shall be deemed made at the time such check is deposited in the
United States mail, postage prepaid. Any distributions by wire transfer shall be deemed made as
of the date of the wire transfer is made. Except as otherwise agreed with the Holder of an Allowed
Claim in respect thereof or provided in the Plan, any distribution required under the Plan on
account of an Allowed Claim, shall be mailed to (i) the latest mailing address filed for the Holder
of an Allowed Claim entitled to a distribution, (ii) the latest mailing address filed for a Holder of
a filed power of attorney designated by the Holder of such Claim to receive distributions, (iii) the


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latest mailing address filed for the Holder’s transferee as identified in a filed notice served on the
Debtor pursuant to Bankruptcy Rule 3001(e), or (iv) if no such mailing address has been filed, the
mailing address reflected on the Schedules or in the Debtor’s books and records. The Holder of a
Claim shall be required to promptly notify the Reorganized Debtor and the Bankruptcy Court of
any change in its mailing address.

           F. Distribution of Unclaimed Property.

        Except as otherwise provided in the Plan, any distribution under the Plan which is
unclaimed after three (3) months following any Distribution Date shall be forfeited, and such
distribution, together with any interest earned thereon, and shall return to and revest in the
Reorganized Debtor.

           G. Saturday, Sunday or Legal Holiday.

       If any payment or act under the Plan is required to be made or performed on a date that is
not a Business Day, then the making of such payment or the performance of such act may be
completed on the following Business Day but shall be deemed to have been completed as of the
required date.

           H. Setoffs and Recoupment.

       Subject to the terms of the Plan and pursuant to section 553 of the Bankruptcy Code or
applicable non-bankruptcy law, the Debtor or Reorganized Debtor, as appropriate, may but shall
not be required to, setoff against or recoup from any Claim on which payments are to be made
pursuant to the Plan, any Claims of any nature whatsoever the Debtor may have against the Holder
of such Claim.




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           I. Fractional Cents and De Minimis Distributions.                                              Formatted: No widow/orphan control


        Notwithstanding any other provisions of the Plan to the contrary, no payment of fractional
cents will be made under the Plan. Cash will be issued to Holders entitled to receive a distribution
of Cash in whole cents (rounded to the nearest whole cent when and as necessary). Any
distribution of less than $25.00 will be considered de minimis, and Holders of Allowed Claims that
are entitled to an interim or final distribution of less than $25.00 will not receive any distribution.
Such funds will remain with and revest in the Reorganized Debtor.

           J. Prepayment.

       Except as otherwise provided herein or the Confirmation Order, the Disbursing Agent shall
have the right to prepay, without penalty, all or any portion of an Allowed Claim.

           K. Allowance and Disallowance of Claims.                                                       Formatted: No widow/orphan control, Don't keep with next


        (a)    Allowance of Claims. Except as expressly provided in the Plan, no Claims shall
be deemed Allowed by virtue of the Plan or the Confirmation Order unless and until such Claim
is deemed Allowed under the Bankruptcy Code, or the Bankruptcy Court enters a Final Order in
the Chapter 11 Case allowing such Claim. Notwithstanding the foregoing, any Claim included in
the Debtor’s Schedules that is not listed as contingent, unliquidated, and/or disputed shall be an
Allowed Claim. Any Proof of Claim Filed in an unliquidated amount shall be deemed Allowed in
the amount listed in the Debtor’s Schedules as liquidated, not contingent and not disputed. The
Allowance and disallowance of Claims shall be in all respects subject to the provisions of section
502 of the Bankruptcy Code.

        (b)   Disallowance of Claims. Except as expressly provided in the Plan, all Claims held
by Persons against whom the Debtor or Reorganized Debtor, as appropriate, have filed or
commenced or may in the future file or commence a Claim under sections 542, 543, 544, 547, 548,
549, 550, 551, 553 or 724(a) of the Bankruptcy Code shall be deemed disallowed pursuant to
section 502(d) of the Bankruptcy Code. The Holders of any and all Claims filed with the
Bankruptcy Court after the Bar Date shall be deemed disallowed without further action by the
Debtor or Reorganized Debtor and without any further notice to or action, order, or approval of
the Bankruptcy Court. The Holders of any and all Claims Filed with the Bankruptcy Court after
the relevant Bar Date shall not be entitled to a distribution, unless otherwise allowed by Final
Order of the Bankruptcy Court.

           L. Resolution of Disputed Administrative Expense Claims and Disputed Claims.                   Formatted: No widow/orphan control, Don't keep with next


         (a)    Prosecution of Objections to Claims. Except as otherwise set forth herein, prior
to the Effective Date, the Debtor shall have standing and the right to commence and pursue
objections to Claims, and the Reorganized Debtor shall have such standing after the Effective Date.
All objections to Claims shall be Filed with the Bankruptcy Court and served upon the Holders of
each of the Claims to which objections are made. Any objection to a Class 3 Claim must be made
pursuant to D.N.J. LBR 3007-1(b), such that it must be filed by the later of: (1) 60 days after the
entry of the order confirming plan; or (2) 60 days after the claim is filed or amended. If no objection
is filed pursuant to D.N.J. LBR 3007-1, a Class 3 Claim shall be deemed an Allowed Claim. The
Diocese reserves the right to seek an extension of such date in accordance with D.N.J. LBR 3007-

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1(c), provided, however, that such right shall be limited to two (2) extensions of ninety (90) days
from the date provided for in D.N.J. LBR 3007-1(b).

        (b)     Objections to Claims. An objection to the allowance of a Claim shall be in writing
and shall be Filed with the Bankruptcy Court by the Debtor or Reorganized Debtor, as applicable.
Except as expressly set forth herein, nothing herein, in the Confirmation Order or in any Order in
aid of Confirmation, shall constitute, or be deemed to constitute, a waiver or release of any Claim,
including any Avoidance Action, right of setoff or recoupment or other legal or equitable defense
which the Debtor had immediately prior to the commencement of the Chapter 11 Case against or
with respect to any Claim. Except as set forth herein, upon Confirmation, the Debtor or
Reorganized Debtor shall have, retain, reserve and be entitled to assert all such Claims, rights of
setoff and recoupment and other legal or equitable defenses that the Debtor had immediately prior
to the commencement of the Chapter 11 Case against or with respect to any Claim.

           M. Controversy Concerning Impairment.

       If a controversy arises as to whether any Claims or any Class of Claims or Interests are
Impaired under the Plan, the Bankruptcy Court, after notice and a hearing, shall determine such
controversy before approving the Disclosure Statement.




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                          ARTICLE XVII.                                                                      Formatted: No widow/orphan control
      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

           A. Executory Contracts and Unexpired Leases.

        On the Effective Date, all Executory Contracts and unexpired leases not rejected on or
before the Confirmation Date will be deemed assumed. The Confirmation Order shall constitute
an order approving such assumption as of the Effective Date. No cure payments or adequate
assurance of future performance shall be due.

           B. Bar to Rejection Damages.

         All Proofs of Claim for Claims arising from a rejection of a Executory Contract or
unexpired leases must be filed with the Bankruptcy Court within the earlier of (i) the date set forth
for filing claims in any order of the Bankruptcy Court approving such rejection; (ii) the date set
forth in D.N.J. LBR 3003-1(b) or (ii) thirty (30) days after the Confirmation Date. Any Proofs of
Claim that are not filed timely shall be barred forever from assertion.

                               ARTICLE XVIII.
                 CONFIRMATION AND CONSUMMATION OF THE PLAN

           A. Conditions Precedent to Confirmation.                                                          Formatted: No widow/orphan control, Don't keep with next


       Confirmation of the Plan shall not occur unless all of the following conditions precedent
have been satisfied:

              a)     the Plan Documents shall be in form and substance acceptable to the Debtor,
       the Other Catholic Entities, the Tort Committee and any Settling Insurers; and

              b)      the Confirmation Order is in form and substance acceptable to the Debtor,
       the Other Catholic Entities, the Tort Committee and any Settling Insurers and in all events
       provides for the following:

                        i.      confirmation of the Plan;

                      ii.        specifically, and individually, ordering all Persons, as set forth in the
                Plan, to act or refrain from acting as specified in the Plan;

                    iii.     incorporating the terms and provisions of an Insurance Settlement
                Approval Order (if any) as though fully set forth therein;

                    iv.      ordering the Trust Administrator to perform the obligations, if any,
                imposed upon the Trust Administrator by the Plan;

                     v.      approving and implementing the Channeling Injunction and
                Supplemental Settling Insurer Injunction;

                      vi.       discharging DOC Trusts from all Claims;


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                vii.        ordering all Channeled Claimants with pending state court Actions
            against any Covered Party to dismiss Channeled Claims and assert them against the
            Trust for resolution pursuant to the Trust Agreement; and,

                viii.         incorporating the following factual findings and legal conclusions:

                          1. The release granted to the Other Catholic Entities is fair and
                             necessary to the Debtor’s reorganization.

                          2. There is a sufficient identity of interest between the Debtor and the
                             Other Catholic Entities such that a suit against the Other Catholic
                             Entities is, in essence, a suit against the Debtor or will deplete assets
                             of the Estate.

                          3. The cash contribution by the Other Catholic Entities, waiver of
                             claims by the Other Catholic Entities and grant of the Lien on assets
                             of the Parishes provides significant and critical funding for the Plan
                             constituting a substantial contribution to the success of the Plan.

                          4. The Other Catholic Entities would not make a substantial
                             contribution unless they obtained the benefits of the Channeling
                             Injunction.

                          5. The release granted to the Other Catholic Entities is necessary to the
                             Debtor’s reorganization and without it there is little likelihood of
                             reorganization.




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           B. Conditions Precedent to the Effective Date.                                               Formatted: No widow/orphan control, Don't keep with next


       The Effective Date shall not occur, and the Plan shall not be consummated, unless and until
each of the following conditions have been satisfied:

           (a) the Bankruptcy Court shall have entered the Confirmation Order in form and
               substance satisfactory to the Debtor, the Tort Committee and any Settling Insurers;

           (b) the Confirmation Order shall be a Final Order and no stay of the Confirmation
               Order shall then be in effect;

           (c) the Trust Administrator and the Debtor shall have executed the Trust Agreement
               and the Debtor shall have delivered to the Trust Administrator the Trust Agreement;

           (d) the Debtor shall have executed and delivered to the Trust Administrator the
               Additional Debtor Contributions Security Agreement;

           (e) the Other Catholic Entities shall have executed and delivered to the Trust
               Administrator the Other Catholic Entities Insurance Assignment Agreement;

           (f) the payments required to be made by or on the Effective Date under the Plan shall
               have been received in good funds by the Trust, including, but not limited to, the
               Initial Debtor Contribution, the OCE Cash Contribution and all proceeds held by
               the Debtor or the Reorganized Debtor on account of Insurance Settlement
               Agreements; and

           (g) the Plan has not been materially amended, altered, or modified as confirmed by the
               Confirmation Order, unless such material amendment, alteration, or modification
               has been made with consent of the Plan Proponents.

           C. Notice of Effective Date.

        The Debtor shall file and serve on all Holders of Claims a Notice of Effective Date with
the Bankruptcy Court within three (3) days after the occurrence of the Effective Date. Such notice
will include all relevant deadlines put into effect by the occurrence of the Effective Date.

           D. Waiver of Conditions Precedent to the Effective Date.                                     Formatted: No widow/orphan control, Don't keep with next


        Each of the conditions precedent to the occurrence of the Effective Date set forth in Section
14 may only be waived in whole or in part by the Plan Proponents and any Settling Insurer without
notice to or leave or order of the Bankruptcy Court or any formal action other than proceedings to
confirm or consummate the Plan.

           E. Effect of Non-Occurrence of Conditions.                                                   Formatted: No widow/orphan control, Don't keep with next


        If Substantial Consummation of the Plan does not occur, the Plan will be null and void in
all respects and nothing contained in the Plan or the Disclosure Statement will: (a) constitute a
waiver or release of any Claims by or against the Covered Parties or Settling Insurers; (b) prejudice


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in any manner the rights of the Covered Parties, the Trust, or Settling Insurers; (c) constitute an
admission, acknowledgement, offer, or undertaking by the Covered Parties or Settling Insurers in
any respect, including but not limited to, in any proceeding or case against the Debtor; or (d) be
admissible in any action, proceeding, or case against the Covered Parties or Settling Insurers in
any Bankruptcy Court or other forum.

                                     ARTICLE XIX.
                               EFFECTS OF CONFIRMATION

           A. Authority to Effectuate Plan.

        Upon the Effective Date, all matters provided under the Plan shall be deemed to be
authorized and approved without the requirement of further approval from the Bankruptcy Court
or the Plan Proponents. The Plan Proponents shall be authorized, without further application to or
order of the Bankruptcy Court, to take whatever action necessary to achieve consummation and
carry out the Plan and to effectuate the transactions provided for thereunder.

           B. Binding Effect.

        Except as otherwise expressly provided in the Plan, on and after the Effective Date, the
Plan shall bind all Holders of Claims. Subject to the terms of the Plan, upon the Effective Date,
every Holder of a Claim shall be precluded and permanently enjoined from asserting against the
Debtor and/or Reorganized Debtor any Claim based on any document, instrument, judgment,
award, order, act, omission, transaction or other activity of any kind or nature that occurred before
the Petition Date.

           C. Discharge of the Debtor.                                                                  Formatted: No widow/orphan control, Don't keep with next


         (a)   Except as provided in the Plan, the Trust Distribution Plan or the Confirmation
Order, upon the Effective Date, the Debtor shall be deemed discharged and released under section
1141(d)(1)(A) of the Bankruptcy Code from any and all Claims, including, but not limited to,
demands and liabilities that arose before the Effective Date, and all debts of the kind specified in
section 502 of the Bankruptcy Code, whether or not (i) a Proof of Claim based upon such debt is
filed or deemed filed under section 501 of the Bankruptcy Code, (ii) a Claim based upon such debt
is Allowed under section 502 of the Bankruptcy Code, (iii) a Claim based upon such debt is or has
been disallowed by order of the Bankruptcy Court, or (iv) the Holder of a Claim based upon such
debt accepted the Plan.

        (b)    Except as provided in the Plan, the Trust Distribution Plan or the Confirmation
Order, upon the Effective Date, all Persons shall be precluded from asserting against the Debtor,
the Reorganized Debtor and their respective members, shareholders, officers, directors, partners,
attorneys or advisors, any other or further Claims relating to the Debtor based upon any act,
omission, transaction, occurrence, or other activity of any nature that occurred prior to the
Effective Date. In accordance with the foregoing, except as provided in the Plan, the Trust
Distribution Plan or the Confirmation Order, the Confirmation Order shall be a judicial
determination of discharge of all Claims against the Debtor, pursuant to sections 524 and 1141 of
the Bankruptcy Code, and such discharge shall void any judgment obtained against the Debtor at
any time, to the extent that such judgment relates to a discharged Claim.

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        (c)      Notwithstanding anything herein to the contrary, to preserve coverage under Non-
Settling Insurer Policies, Class 5 and 6 Claimants specifically reserve, and do not release, any and
all claims that they may have against the Diocese, the Reorganized Debtor and any other Covered
Party that implicate coverage under Non-Settling Insurer Policies but recourse is limited to the
proceeds of Non-Settling Insurer Policies and all other damages (including extra-contractual
damages), awards, judgments in excess of policy limits, penalties, punitive damages, and
attorney’s fees and costs that may be recoverable against any Non-Settling Insurers because of
their conduct concerning insurance coverage for, or defense or settlement of, any Abuse Claim,
and any such judgments or awards will be handled in accordance with the Plan. Class 5 and 6
Claims will not be released or enjoined as against the Diocese, the Reorganized Debtor and any
other Covered Party for any Abuse that may be covered under Non-Settling Insurer Policies until
such claims are settled with the Diocese, the Reorganized Debtor, any other Covered Party and
such Non-Settling Insurer or are fully adjudicated, resolved, and subject to Final Order, but
recourse is limited as described above. Nothing herein requires any Class 5 and 6 Claimant to
release any Claim(s) that is not a Channeled Claim.

        (d)    Under no circumstances will the reservation of an Abuse Claimant’s rights against
any Person impair the discharge, Channeling Injunction, or Supplemental Settling Insurer
Injunction with respect to any Covered Party or Settling Insurer to the extent provided in the Plan.

           D. Release and Discharge of the Trade Committee.

       Effective on the Effective Date, the Trade Committee shall be disbanded and it and its
professionals released from their duties and obligations.

           E. Release and Discharge of the Tort Committee.

       Effective on the Effective Date, the Tort Committee and its professionals shall be
disbanded and it and its professionals released from their duties and obligations.

                                    ARTICLE XX.
                       EFFECT OF PLAN ON CLAIMS AND INTERESTS

           A. Disclosure Regarding Injunctions and Releases.                                            Formatted: No widow/orphan control, Don't keep with next


                     a. Third Party Releases.

        The Plan Proponents seek approval of releases of claims and causes of action against
every “Released Party” which is defined in the Plan to mean collectively and in each case in
their capacity as such: (i) the Debtor and Reorganized Debtor; and (ii) all Persons listed on
Exhibits 2.2.20, 2.2.72, 2.2.83 and 2.2.100 of the Plan as may be amended prior to
Confirmation; and (iii) except as otherwise provided for by the Plan, with respect to each of
the foregoing Persons in clauses (i) through (ii), such Persons’ successors and assigns,
Affiliates, and its and their current and former officers, directors, trustees, principals,
shareholders and their Affiliates, and Agents, in their capacities of such.

      The Plan Proponents believes that the release of the Released Parties by the Debtor and
each Holder of a Claim that is entitled to receive a distribution pursuant to the Plan (collectively,

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the “Releasing Parties”) and the corresponding injunctions are critically important to the success
of the Plan and implements the concessions, compromises and commitments made by the Released
Parties.

        Each of the Released Parties, whether directly or indirectly through the concessions,
compromises and commitments made by such Released Parties, afforded value to the Debtor and
has aided in the Debtor’s reorganization process. The Released Parties have played an integral
role in the formulation of the Plan, have expended and will continue to expend significant time
and resources analyzing and negotiating the issues presented by the Plan and, in exchange for
receiving the releases and injunctions set forth in the Plan, are making critical financial
contributions to Plan that are necessary to make the Plan feasible, including, but not limited to
contribution to Plan payments.

        Further, the Released Parties will not make any of the concessions, compromises and
commitments outlined in the Plan unless the releases, including those that are required from the
Holders of Claims are approved. Accordingly, the releases and related injunctions are an integral
part of the consideration to be provided in exchange for the concessions, compromises and
commitments embodied in the Plan that the Debtor believes maximizes recoveries to the Debtor’s
creditors. Absent the expeditious implementation of the Plan, the Debtor could face a longer,
costlier and uncertain Chapter 11 process mired with contentious litigation, which could materially
delay and reduce distributions to creditors.

        The Plan Proponents believe that the release to the Released Parties is a sound exercise of
its business judgment and that the Debtor’s release of third parties pursuant to the Plan is
appropriate and reasonable under the circumstances, particularly where, as here, the relative
strength of the claims being released are more than offset by the significant benefits the Debtor is
receiving under the Plan from the Released Parties. In light of the foregoing, the Plan Proponents
believe, in their sound business judgment, that the release falls well within the range of
reasonableness and, thus, satisfies the applicable provisions of the Bankruptcy Code and
Bankruptcy Rules relating to the approval of settlements.

         The “Third-Party Release” provides for the release by consenting Holders of Claims
against the Released Parties. The Debtor believes the Third-Party Release is fair and necessary to
confirm the Plan. The Released Parties are contributing significant, new consideration in the form
of cash and other concessions. The Third-Party Release is essential because without it, there would
be no contribution by the Released Parties, and thus, no ability to propose and consummate the
Plan, which provides for a recovery to Holders of Claims. Quite simply, without the Third-Party
Release, there would be no contribution; and, without contribution, there would be no Plan.
Accordingly, the Debtor has demonstrated that there is a relationship between the Debtor’s
successful confirmation and the Third-Party Release and that the Released Parties have provided
a critical financial contribution to the Debtor’s plan that is necessary to make the plan feasible in
exchange for receiving a release of liability.

        The Plan provides that entry of the Confirmation Order shall constitute the Court’s
approval, pursuant to Bankruptcy Rule 9019 and Section 105 of the Bankruptcy Code, of the
releases, which includes by reference each of the related provisions and definitions contained in
the Plan, and related injunctions and further, shall constitute the Bankruptcy Court’s finding that

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the releases are: (i) in exchange for the good and valuable consideration provided by the Released
Parties, (ii) a good faith settlement and compromise of the claims released by the Released Parties;
(iii) in the best interests of the Debtor and all Holders of Claims; (iv) fair, equitable, reasonable
and necessary for the Debtor’s reorganization as, among other things, the concessions,
compromises and commitments provided by or on behalf of the Released Parties constitute critical
financial contributions to Plan that are necessary to make the Plan feasible; (v) given and made
after notice and opportunity for hearing; and (vi) a bar to the Releasing Parties, the Debtor or any
party on its behalf asserting any claim released by the Releasing Parties against any of the Released
Parties.

        The Plan Proponents submit that the concessions made by the Released Parties are the            Formatted: No widow/orphan control
“lynch-pin” of the Plan. In addition, the released parties are critical to the Diocese’s mission and
future operations. Therefore, the Plan Proponents submit the releases are appropriate under the
circumstances.

                     b. Channeling Injunction.

        The Plan Proponents further seek approval of a Channeling Injunction to prevent
claims against “Covered Parties” which is defined to mean any (i) the Debtor and
Reorganized Debtor, as applicable; (ii) the parties listed on Exhibits 2.2.20, 2.2.72, 2.2.83 and
2.2.100 of the Plan; (iii) each of the foregoing Persons’ respective past, present, and future
Affiliates, related companies, divisions, and acquired companies; (iv) each of the foregoing
Persons’ respective predecessors, successors and assigns; and (v) solely to the extent of and
in their capacity as such, any and all of the foregoing Persons’ respective Agents. Nothing
in the foregoing is intended to suggest that such Persons are “employees” or agents of the
Debtor or subject to its control. For the avoidance of doubt, “Covered Parties” does not
include: (i) an individual who perpetrated an act of Abuse that forms the basis of an Abuse
Claim; (ii) a religious order, other diocese or archdiocese (other than the Diocese); (iii) Non-
Settling Insurers; and (iv) Joint Tortfeasors.

       Further, a “Channeled Claim” subject to the Channeling Injunction means the
Claims channeled to the Trust by the Channeling Injunction, including all (a) Abuse Claims
and Indirect Claims, except for any portion of such Claims that are Non-Settling Insurer
Policy Claims; (b) Contribution Claims; (c) Medicare Claims; and (d) Extra-Contractual
Claims relating to the Claims listed in subsections (a)–(c) of above, and for which the Trust
assumes liability, pursuant to the Plan, provided, however, that “Channeled Claims” shall not
include any Claim against: (i) an individual who perpetrated an act of Abuse that forms the
basis of an Abuse Claim; (ii) a religious order, other diocese or archdiocese (other than the
Diocese); (iii) Non-Settling Insurers; and (iv) Joint Tortfeasors.

       The Covered Parties made significant concessions and compromises that provide a material
benefit to the Plan. The Plan Proponents submit that they will be able to demonstrate at
confirmation that the Channeling Injunction is proper under In re Continental Airlines, 203 F.3d
203 (3rd Cir. 2000).

      Further, the Covered Parties will not make any of the concessions, compromises and
commitments outlined in the Plan unless the Channeling Injunction is approved. Accordingly, the


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releases and related injunctions are an integral part of the consideration to be provided in exchange
for the concessions, compromises and commitments embodied in the Plan that the Plan Proponents
believe maximizes recoveries to the Debtor’s creditors. Absent the expeditious implementation of
the Plan, the Debtor could face a longer, costlier and uncertain Chapter 11 process mired with
contentious litigation, which could materially delay and reduce distributions to creditors.

        The Plan Proponents believe that the “Channeling Injunction” to the Covered Parties is a        Formatted: No widow/orphan control
sound exercise of its business judgment is appropriate and reasonable under the circumstances,
particularly where, as here, the relative strength of the claims being released are more than offset
by the significant benefits the Debtor is receiving under the Plan from the Covered Parties. In light
of the foregoing, the Debtor believes, in its sound business judgment, that the “Channeling
Injunction” falls well within the range of reasonableness and, thus, satisfies the applicable
provisions of the Bankruptcy Code and Bankruptcy Rules relating to the approval of settlements.

           B. General Injunction.                                                                       Formatted: No widow/orphan control, Don't keep with next


     EXCEPT AS OTHERWISE PROVIDED IN THE PLAN, THE CONFIRMATION
ORDER WILL PROVIDE THAT ALL PERSONS AND ENTITIES WHO HELD, HOLD,
OR MAY HOLD CLAIMS AGAINST THE DEBTOR ARE PERMANENTLY ENJOINED,
ON AND AFTER THE CONFIRMATION DATE, FROM (A) COMMENCING OR
CONTINUING IN ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY
KIND WITH RESPECT TO ANY SUCH CLAIM OR TAKING ANY ACT TO RECOVER
SUCH CLAIM OUTSIDE OF THE TRUST DISTRIBUTION PROCEDURES DISCUSSED
IN THE PLAN AND THE BANKRUPTCY CODE AND BANKRUPTCY RULES, (B) THE
ENFORCEMENT, ATTACHMENT, COLLECTION OR RECOVERY BY ANY
MANNER OR MEANS OF ANY JUDGMENT, AWARD, DECREE OR ORDER AGAINST
THE DEBTOR ON ACCOUNT OF ANY SUCH CLAIM, (C) CREATING, PERFECTING
OR ENFORCING ANY ENCUMBRANCE OF ANY KIND AGAINST THE DEBTOR OR
AGAINST THE PROPERTY OR INTERESTS IN PROPERTY OF THE DEBTOR ON
ACCOUNT OF ANY SUCH CLAIM AND (D) ASSERTING ANY RIGHT OF SETOFF,
SUBROGATION OR RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION
DUE FROM THE DEBTOR OR AGAINST THE PROPERTY OR INTERESTS IN
PROPERTY OF THE DEBTOR ON ACCOUNT OF ANY SUCH CLAIM.

           C. Channeling Injunction.                                                                    Formatted: No widow/orphan control, Don't keep with next


     (a) IN CONSIDERATION OF THE UNDERTAKINGS UNDER THE PLAN BY
THE COVERED PARTIES AND SETTLING INSURERS (IF ANY), THEIR
CONTRIBUTIONS TO THE TRUST, AND OTHER CONSIDERATION AND TO
FURTHER PRESERVE AND PROMOTE THE AGREEMENTS AMONG THE
COVERED PARTIES AND THE SETTLING INSURERS AND TO SUPPLEMENT
WHERE NECESSARY THE INJUNCTIVE EFFECT OF THE DISCHARGE AS
PROVIDED IN SECTIONS 524 AND 1141 OF THE BANKRUPTCY CODE, AND
PURSUANT TO SECTIONS 105 AND 363 OF THE BANKRUPTCY CODE:

           a. ANY AND ALL CHANNELED CLAIMS ARE CHANNELED INTO THE
              TRUST AND SHALL BE TREATED, ADMINISTERED, DETERMINED,


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            RESOLVED AND PAID IN THE AMOUNTS AS PROVIDED BY THE
            TRUST DISTRUBTION PLAN AND PROCEDURES ESTABLISHED
            UNDER THE PLAN AND THE TRUST AGREEMENT AS THE SOLE AND
            EXCLUSIVE REMEDY FOR ALL HOLDERS OF CHANNELED CLAIMS;
            AND

       b. ALL PERSONS WHO HELD OR ASSERTED, HOLD OR ASSERT, OR
          MAY IN THE FUTURE HOLD OR ASSERT ANY CHANNELED CLAIMS
          ARE HEREBY PERMANENTLY STAYED, ENJOINED, BARRED AND
          RESTRAINED FROM TAKING ANY ACTION, DIRECTLY OR
          INDIRECTLY, FOR THE PURPOSES OF ASSERTING, ENFORCING, OR
          ATTEMPTING TO ASSERT OR ENFORCE ANY CHANNELED CLAIM
          AGAINST THE COVERED PARTIES AND THE SETTLING INSURERS,
          INCLUDING:

                 i. COMMENCING OR CONTINUING IN ANY MANNER ANY
                    ACTION OR OTHER PROCEEDING OF ANY KIND WITH
                    RESPECT TO ANY CHANNELED CLAIM AGAINST ANY OF THE
                    COVERED PARTIES OR THE SETTLING INSURERS OR
                    AGAINST THE PROPERTY OF ANY OF THE COVERED
                    PARTIES OR THE SETTLING INSURERS;

                 ii. ENFORCING, ATTACHING, COLLECTING OR RECOVERING,
                     BY ANY MANNER OR MEANS, FROM ANY OF THE COVERED
                     PARTIES OR THE SETTLING INSURERS OR THE PROPERTY
                     OF ANY OF THE COVERED PARTIES OR THE SETTLING
                     INSURERS, ANY JUDGMENT, AWARD, DECREE, OR ORDER
                     WITH RESPECT TO ANY CHANNELED CLAIM AGAINST ANY
                     OF THE COVERED PARTIES OR THE SETTLING INSURERS;

                iii. CREATING, PERFECTING OR ENFORCING ANY LIEN OF ANY
                     KIND RELATING TO ANY CHANNELED CLAIM AGAINST ANY
                     OF THE COVERED PARTIES OR THE SETTLING INSURERS OR
                     THE PROPERTY OF THE COVERED PARTIES OR THE
                     SETTLING INSURERS;

                iv. ASSERTING, IMPLEMENTING OR EFFECTUATING        ANY
                    CHANNELED CLAIM OF ANY KIND AGAINST:

                          1. ANY OBLIGATION DUE ANY OF THE COVERED
                             PARTIES OR THE SETTLING INSURERS;

                          2. ANY OF THE COVERED PARTIES OR THE SETTLING
                             INSURERS; OR

                          3. THE PROPERTY OF ANY OF THE COVERED PARTIES
                             OR THE SETTLING INSURERS.


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                   v. TAKING ANY ACT, IN ANY MANNER, IN ANY PLACE
                      WHATSOEVER, THAT DOES NOT CONFORM TO, OR COMPLY
                      WITH, THE PROVISIONS OF THE PLAN OR THE TRUST
                      DISTRIBUTION PLAN; AND

                  vi. ASSERTING OR ACCOMPLISHING ANY SETOFF, RIGHT OF
                      INDEMNITY,    SUBROGATION,   CONTRIBUTION      OR
                      RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION
                      DUE TO ANY OF THE COVERED PARTIES OR THE SETTLING
                      INSURERS.

  (b) THE CHANNELING INJUNCTION IS AN INTEGRAL PART OF THE PLAN
      AND IS ESSENTIAL TO THE PLAN’S CONSUMMATION AND
      IMPLEMENTATION. IT IS INTENDED THAT THE CHANNELING OF THE
      CHANNELED CLAIMS AS PROVIDED IN THIS SECTION SHALL INURE TO
      THE BENEFIT OF THE COVERED PARTIES AND THE SETTLING INSURERS.
      IN ANY ACTION TO ENFORCE THE INJUNCTIVE PROVISIONS OF THIS
      SECTION AGAINST A CLAIMANT WHEREBY IT IS HELD BY A FINAL
      ORDER THAT THAT THE CLAIMANT WILLFULLY VIOLATED THE TERMS
      HEREOF, THE MOVING PARTY MAY SEEK AN AWARD OF COSTS
      (INCLUDING REASONABLE ATTORNEYS’ FEES) AGAINST THE
      CLAIMANT, AND SUCH OTHER LEGAL OR EQUITABLE REMEDIES AS ARE
      JUST AND PROPER, AFTER NOTICE AND A HEARING.

  (c) FOR THE AVOIDANCE OF DOUBT, THE CHANNELING INJUNCTION WILL
      NOT BE FOR THE BENEFIT OF ANY NON-SETTLING INSURER, EXCEPT TO
      THE EXTENT NON-SETTLING INSURER BECOME A SETTLING INSURER.

         D. Supplemental Settling Insurer Injunction.                     Formatted: No widow/orphan control, Don't keep with next


     PURSUANT TO SECTIONS 105(A) AND 363 OF THE BANKRUPTCY CODE,
AND IN CONSIDERATION OF THE UNDERTAKINGS OF THE SETTLING INSURERS
PURSUANT TO THE INSURANCE SETTLEMENT AGREEMENTS, INCLUDING ANY
SETTLING INSURERS’ PURCHASE OF THE APPLICABLE SETTLING INSURER
POLICIES FREE AND CLEAR OF ALL CLAIMS AND INTERESTS PURSUANT TO
SECTION 363(F) OF THE BANKRUPTCY CODE, ANY AND ALL PERSONS WHO
HAVE HELD, NOW HOLD, OR WHO MAY IN THE FUTURE HOLD ANY CLAIMS OR
INTERESTS (INCLUDING ALL DEBT HOLDERS, ALL PERSONS HOLDING A
CLAIM, GOVERNMENTAL, TAX AND REGULATORY AUTHORITIES, LENDERS,
TRADE AND OTHER CREDITORS, ABUSE CLAIMANTS, NON-SETTLING
INSURERS, PERPETRATORS AND ALL OTHERS HOLDING INTERESTS OF ANY
KIND OR NATURE WHATSOEVER, INCLUDING THOSE CLAIMS RELEASED OR
TO BE RELEASED PURSUANT TO AN INSURANCE SETTLEMENT AGREEMENT)
AGAINST ANY OF THE COVERED PARTIES OR THE SETTLING INSURERS,
WHICH, DIRECTLY OR INDIRECTLY, ARISE FROM, RELATE TO, OR ARE IN
CONNECTION WITH ANY ABUSE CLAIMS THAT ARE COVERED OR ALLEGED TO
BE COVERED UNDER THE SETTLING INSURER POLICIES, OR ANY

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CONTRIBUTION CLAIMS, ARE HEREBY PERMANENTLY STAYED, ENJOINED,
BARRED, AND RESTRAINED FROM TAKING ANY ACTION, DIRECTLY OR
INDIRECTLY, TO ASSERT, ENFORCE OR ATTEMPT TO ASSERT OR ENFORCE
ANY SUCH CLAIM OR INTEREST AGAINST THE SETTLING INSURERS OR THE
SETTLING INSURER POLICIES INCLUDING:

         1. COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR
            OTHER PROCEEDING, WHETHER LEGAL, EQUITABLE OR
            OTHERWISE, AGAINST THE SETTLING INSURERS OR THE
            PROPERTY OF THE SETTLING INSURERS;

         2. ENFORCING, ATTACHING, COLLECTING, OR RECOVERING, OR
            SEEKING TO DO ANY OF THE PRECEDING, BY ANY MANNER OR
            MEANS, ANY JUDGMENT, AWARD, DECREE OR ORDER AGAINST
            THE SETTLING INSURERS OR THE PROPERTY OF THE SETTLING
            INSURERS;

         3. CREATING, PERFECTING, OR ENFORCING, OR SEEKING TO DO ANY
            OF THE PRECEDING, ANY LIEN OF ANY KIND AGAINST THE
            SETTLING INSURERS OR THE PROPERTY OF THE SETTLING
            INSURERS;

         4. ASSERTING OR ACCOMPLISHING ANY SETOFF, RIGHT OF
            INDEMNITY, SUBROGATION, CONTRIBUTION, OR RECOUPMENT
            OF ANY KIND AGAINST ANY OBLIGATION DUE TO THE SETTLING
            INSURERS OR THE PROPERTY OF THE SETTLING INSURERS; AND

         5. TAKING ANY ACT, IN ANY MANNER, IN ANY PLACE WHATSOEVER,
            THAT DOES NOT CONFORM TO, OR COMPLY WITH, THE
            PROVISIONS OF THE PLAN.

     THE SUPPLEMENTAL SETTLING INSURER INJUNCTION WILL BE
EFFECTIVE WITH RESPECT TO A SETTLING INSURER ONLY AS OF THE DATE
THAT THE TRUST RECEIVES THE SETTLEMENT AMOUNT AS DEFINED IN THE
INSURANCE SETTLEMENT AGREEMENT FOR SUCH SETTLING INSURER. THE
FOREGOING INJUNCTIVE PROVISIONS ARE AN INTEGRAL PART OF THE PLAN
AND ARE ESSENTIAL TO ITS IMPLEMENTATION.

     FOR THE AVOIDANCE OF DOUBT, THE SUPPLEMENTAL SETTLING                Formatted: No widow/orphan control
INSURER INJUNCTION WILL NOT BE FOR THE BENEFIT OF THE NON-SETTLING
INSURERS, EXCEPT TO THE EXTENT A NON-SETTLING INSURER BECOMES A
SETTLING INSURER.

         E. Release by Debtor.                                            Formatted: No widow/orphan control, Don't keep with next


     EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR THE
CONFIRMATION ORDER, AND TO THE FULLEST EXTENT AUTHORIZED BY
APPLICABLE LAW, FOR GOOD AND VALUABLE CONSIDERATION, THE

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ADEQUACY OF WHICH IS HEREBY CONFIRMED, THE RELEASED PARTIES AND
THE SETTLING INSURERS ARE DEEMED RELEASED AND DISCHARGED BY THE
DEBTOR, ITS ESTATE AND ANY PERSON SEEKING TO EXERCISE THE RIGHTS
OF THE DEBTOR OR ITS ESTATE AND ITS PROPERTY (AND EACH SUCH
RELEASED PARTY SHALL BE DEEMED RELEASED BY THE DEBTOR AND ITS
ESTATE AND ITS RESPECTIVE PROPERTY) FROM ANY AND ALL CLAIMS
RELATING TO THE DEBTOR, ITS ESTATE OR ITS AFFILIATES, THE CONDUCT
OF THE DEBTOR’S BUSINESS, THE FORMULATION, PREPARATION,
SOLICITATION, DISSEMINATION, NEGOTIATION, OR FILING OF THE
DISCLOSURE STATEMENT OR PLAN OR ANY CONTRACT, INSTRUMENT,
RELEASE, OR OTHER AGREEMENT OR DOCUMENT CREATED OR ENTERED
INTO IN CONNECTION WITH OR PURSUANT TO THE DISCLOSURE STATEMENT,
THE PLAN, THE FILING AND PROSECUTION OF THE CHAPTER 11 CASE, THE
PURSUIT OF CONSUMMATION OF THE PLAN, THE SUBJECT MATTER OF, OR
THE TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR INTEREST
THAT IS TREATED IN THE PLAN, THE BUSINESS OR CONTRACTUAL
ARRANGEMENTS BETWEEN THE DEBTOR, ITS ESTATE OR ITS AFFILIATES, ON
THE ONE HAND, AND ANY RELEASED PARTY, ON THE OTHER HAND, OR ANY
OTHER ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER
OCCURRENCE TAKING PLACE BEFORE THE EFFECTIVE DATE; PROVIDED
THAT, TO THE EXTENT THAT A CLAIM IS DETERMINED BY A FINAL ORDER TO
HAVE RESULTED FROM FRAUD, GROSS NEGLIGENCE, OR WILLFUL
MISCONDUCT OF A RELEASED PARTY, SUCH CLAIM SHALL NOT BE SO
RELEASED AGAINST SUCH RELEASED PARTY; PROVIDED FURTHER THAT, THE
FOREGOING “DEBTOR RELEASE” SHALL NOT OPERATE TO WAIVE OR
RELEASE ANY CLAIMS OF THE DEBTOR OR ITS CHAPTER 11 ESTATE AGAINST
A RELEASED PARTY (OR OF A RELEASED PARTY AGAINST THE DEBTOR AND
ITS CHAPTER 11 ESTATE) ARISING UNDER ANY CONTRACTUAL OBLIGATION
OWED TO THE DEBTOR THAT IS ENTERED INTO OR ASSUMED PURSUANT TO
THE PLAN.

     THE DEBTOR SHALL RELEASE ALL OF SETTLING INSURERS RESPECTIVE      Formatted: No widow/orphan control
CURRENT AND FORMER OFFICERS, DIRECTORS, PRINCIPALS, STOCKHOLDERS
(AND ANY FUND MANAGERS, FIDUCIARIES OR OTHER AGENTS OF
STOCKHOLDERS WITH ANY INVOLVEMENT WITH THE DEBTOR), MEMBERS,
PARTNERS, EMPLOYEES, AGENTS, ADVISORY BOARD MEMBERS, FINANCIAL
ADVISORS,   ATTORNEYS,    ACCOUNTANTS,    INVESTMENT     BANKERS,
CONSULTANTS, REPRESENTATIVES, MANAGEMENT COMPANIES, FUND
ADVISORS AND OTHER PROFESSIONALS, SOLELY TO THE EXTENT SUCH
PERSONS AND ENTITIES ACTED ON THE BEHALF OF THE RELEASED PARTIES
IN CONNECTION WITH THE MATTERS AS TO WHICH EXCULPATION OR
RELEASES ARE PROVIDED IN THE PLAN.

         F. Release by Holders of Claims.                              Formatted: No widow/orphan control, Don't keep with next


    EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR THE
CONFIRMATION ORDER, AND TO THE FULLEST EXTENT AUTHORIZED BY

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APPLICABLE LAW, THE RELEASING PARTIES SHALL BE DEEMED TO PROVIDE
A FULL RELEASE TO THE RELEASED PARTIES AND THE SETTLING INSURERS
AND THEIR RESPECTIVE PROPERTY FROM ANY AND ALL CLAIMS RELATING
TO THE DEBTOR, ITS ESTATE OR ITS AFFILIATES, THE CONDUCT OF THE
DEBTOR’S BUSINESS, THE FORMULATION, PREPARATION, SOLICITATION,
DISSEMINATION, NEGOTIATION, OR FILING OF THE DISCLOSURE STATEMENT
OR PLAN OR ANY CONTRACT, INSTRUMENT, RELEASE, OR OTHER
AGREEMENT OR DOCUMENT CREATED OR ENTERED INTO IN CONNECTION
WITH OR PURSUANT TO THE DISCLOSURE STATEMENT, THE PLAN, THE FILING
AND PROSECUTION OF THE CHAPTER 11 CASE, THE PURSUIT OF
CONSUMMATION OF THE PLAN, THE SUBJECT MATTER OF, OR THE
TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR INTEREST THAT
IS TREATED IN THE PLAN, THE BUSINESS OR CONTRACTUAL ARRANGEMENTS
AMONG THE RELEASING PARTIES AND ANY RELEASED PARTY, OR ANY OTHER
ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER
OCCURRENCE TAKING PLACE BEFORE THE EFFECTIVE DATE; PROVIDED
THAT, TO THE EXTENT THAT A CLAIM IS DETERMINED BY A FINAL ORDER TO
HAVE RESULTED FROM FRAUD, GROSS NEGLIGENCE, OR WILLFUL
MISCONDUCT OF A RELEASED PARTY, SUCH CLAIM SHALL NOT BE SO
RELEASED AGAINST SUCH RELEASED PARTY.

     HOLDERS OF CLAIMS SHALL RELEASE ALL OF SETTLING INSURERS           Formatted: No widow/orphan control
RESPECTIVE CURRENT AND FORMER OFFICERS, DIRECTORS, PRINCIPALS,
STOCKHOLDERS (AND ANY FUND MANAGERS, FIDUCIARIES OR OTHER
AGENTS OF STOCKHOLDERS WITH ANY INVOLVEMENT WITH THE DEBTOR),
MEMBERS, PARTNERS, EMPLOYEES, AGENTS, ADVISORY BOARD MEMBERS,
FINANCIAL ADVISORS, ATTORNEYS, ACCOUNTANTS, INVESTMENT BANKERS,
CONSULTANTS, REPRESENTATIVES, MANAGEMENT COMPANIES, FUND
ADVISORS AND OTHER PROFESSIONALS, SOLELY TO THE EXTENT SUCH
PERSONS AND ENTITIES ACTED ON THE BEHALF OF THE RELEASED PARTIES
IN CONNECTION WITH THE MATTERS AS TO WHICH EXCULPATION OR
RELEASES ARE PROVIDED IN THE PLAN.

         G. Exculpation; Limitation of Liability.                       Formatted: No widow/orphan control, Don't keep with next


      FROM AND AFTER THE EFFECTIVE DATE, NONE OF THE EXCULPATED
PARTIES SHALL HAVE OR INCUR ANY LIABILITY FOR, AND EACH
EXCULPATED PARTY SHALL BE RELEASED FROM, ANY CLAIM TO ANY OTHER
EXCULPATED PARTY, TO ANY HOLDER OF A CLAIM, OR TO ANY OTHER PARTY
IN INTEREST, FOR ANY ACT OR OMISSION THAT OCCURRED DURING AND IN
CONNECTION WITH THIS CHAPTER 11 CASE OR IN CONNECTION WITH THE
PREPARATION AND FILING OF THIS CHAPTER 11 CASE, THE FORMULATION,
NEGOTIATION, OR PURSUIT OF CONFIRMATION OF A PLAN, THE
CONSUMMATION OF THE PLAN, AND THE ADMINISTRATION OF THE PLAN OR
THE PROPERTY TO BE DISTRIBUTED UNDER THE PLAN, EXCEPT FOR CLAIMS
ARISING FROM THE GROSS NEGLIGENCE, WILLFUL MISCONDUCT, FRAUD, OR
BREACH OF THE FIDUCIARY DUTY OF LOYALTY OF ANY EXCULPATED PARTY,

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IN EACH CASE SUBJECT TO DETERMINATION OF SUCH BY FINAL ORDER OF A
BANKRUPTCY COURT OF COMPETENT JURISDICTION AND PROVIDED THAT
ANY EXCULPATED PARTY SHALL BE ENTITLED TO REASONABLY RELY UPON
THE ADVICE OF COUNSEL WITH RESPECT TO ITS DUTIES AND
RESPONSIBILITIES (IF ANY) UNDER THE PLAN. WITHOUT LIMITING THE
GENERALITY OF THE FOREGOING, THE TORT COMMITTEE AND THE TRADE
COMMITTEE AND THE DIOCESE AND THEIR RESPECTIVE OFFICERS, BOARD
AND RESPECTIVE COMMITTEE MEMBERS, EMPLOYEES, ATTORNEYS,
FINANCIAL ADVISORS, AND OTHER PROFESSIONALS SHALL BE ENTITLED TO
AND GRANTED BENEFITS OF SECTION 1125(E) OF THE BANKRUPTCY CODE AND
THE CHANNELING INJUNCTION.

           H. Vesting of Assets in Reorganized Debtor.

        Except as otherwise provided in the Plan Documents or the Trust Documents Plan, on the
Effective Date, all property in the Estate, all Causes of Action, and any property acquired by the
Debtor pursuant to the Plan shall vest in the Reorganized Debtor, free and clear of all Liens,
Claims, charges or other encumbrances (except for Liens expressly preserved and continued under
the Plan). On and after the Effective Date, except as otherwise provided in the Plan, the
Reorganized Debtor may operate its businesses and may use, acquire or dispose of property and
compromise or settle any Claims or Causes of Action without supervision or approval by the
Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.
Without limiting any of the foregoing, the Reorganized Debtor may pay the charges incurred on
or after the Effective Date for Professionals’ fees, disbursements, expenses, or related support
services without application to the Bankruptcy Court.

           I. Causes of Action.

        Except as set forth otherwise herein, the Reorganized Debtor, on behalf of and for the
benefit of the Debtor’s estate, shall be vested with and shall retain and may enforce any and all
Claims of any kind or nature whatsoever held by, through or on behalf of the Debtor and/or its
Estate against any other Person, arising before the Effective Date that have not been fully resolved
or disposed of prior to the Effective Date whether or not such Claims and Interests are specifically
identified in the Disclosure Statement accompanying the Plan and whether or not litigation with
respect to same has been commenced prior to the Effective Date.

           J. Dismissal of Adversary Proceedings and Appeal.

       On the Effective Date, the Tort Committee shall dismiss with prejudice all adversary
proceedings filed by the Tort Committee in the Debtor’s bankruptcy case, including, but not
limited to, Adv. Pro Nos. 21-01393 (JNP), 21-01394 (JNP), and 21-01493 (JNP). For the
avoidance of doubt, this section 11.9 does not pertain to the Insurance Coverage Adversary
Proceeding. In addition, on the Effective Date, the Tort Committee shall dismiss the appeal of the
Order Denying Motion for Derivative Standing with prejudice.




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                                      ARTICLE XXI.                                                     Formatted: No widow/orphan control
                                RETENTION OF JURISDICTION

        Until such time as a Final Decree is entered by the Bankruptcy Court, the Bankruptcy Court
shall retain jurisdiction of this Chapter 11 Case pursuant to the provisions of chapter 11 of the
Bankruptcy Code to make such orders as are necessary or appropriate to carry out the provisions
of the Plan, and with respect to the following matters:

              (a)     To enable the Plan Proponents to consummate the Plan and to resolve any
       disputes arising therefrom;

              (b)    To adjudicate all controversies concerning the classification, estimation or
       allowance of any Claim herein (other than Class 5 and Class 6 Claims);

              (c)    To determine the classification, estimation and priority of all claims against
       the Debtor and to re-examine any Claims (other than Class 5 and Class 6 Claims) which
       may have been allowed;

               (d)     To determine applications for the rejection or assumption of Executory
       Contracts or unexpired leases pursuant to the provisions of the Plan which are not
       determined prior to Confirmation and to determine allowance of Claims for damages with
       respect to rejection of any such Executory Contracts or unexpired leases within such time
       as the Bankruptcy Court may direct;

             (e)    To oversee and issue further appropriate orders respecting disbursement of
       amounts deposited as may be required by the Plan;

              (f)     To conduct hearings on valuation, as necessary, and to determine whether
       any party in interest is entitled to recover against any Person any Claim, whether arising
       under section 506(c) of the Bankruptcy Code, or arising out of a voidable preference, a
       fraudulent transfer, or otherwise;

             (g)     To hear and determine all applications for compensation and other
       Administrative Expense Claims;

               (h)    To hear and determine any and all pending adversary proceedings or
       contested matters, including but not limited to, the Insurance Coverage Adversary
       Proceeding and all claims or causes of action related thereto or arising therefrom, whether
       or not presently asserted in the operative complaint therein;

               (i)     To hear and determine any and all Claims and causes of action that belong
       to the Debtor or its Estate on or prior to the Effective Date, including but not limited to,
       such Claims and causes of action that vest in the Trust on the Effective Date pursuant to
       the Plan, whether or not asserted prior to the occurrence of the Effective Date, including
       but not limited to, all Claims and causes of action presently asserted in, or that could be
       asserted in, the Insurance Coverage Adversary Proceeding;

                (j)      To determine all causes of action which may exist in favor of the Debtor or

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       the Trust;

               (k)   To determine any modification of the Plan after confirmation pursuant to
       section 1127 of the Bankruptcy Code;

               (l)     To enter any order, including injunctions, necessary to establish and enforce
       the rights and powers of the Debtor, or the Trust, under the Plan;

                (m)      To enter the Final Decree pursuant to Rule 3022 of the Bankruptcy Rules;

               (n)    To hear and determine all controversies, suits and disputes, if any, as may
       arise in connection with the interpretation or enforcement of the Plan;

              (o)     To hear and determine all controversies, suits and disputes, if any, as may
       arise with regard to orders of the Bankruptcy Court in the Chapter 11 Case entered on or
       before Confirmation;

              (p)        To hear and determine any and all objections to payments to be made under
       the Plan;

              (q)    To liquidate damages in connection with any disputed, contingent or
       unliquidated Claims;

               (r)    To adjudicate all Claims to a security or ownership interest in any property
       of the Debtor or in any proceeds thereof;

              (s)     To adjudicate all causes of action to recover all assets and properties of the
       Debtor or the Trust wherever located;

               (t)    To enter any order, including injunctions, necessary to enforce the title,
       rights and powers of the Debtor and the Trust, and to impose such limitations, restrictions,
       terms and conditions on such title rights and powers as the Bankruptcy Court may deem
       necessary or appropriate;

              (u)     Over matters related to the assets of the Estate or of the Trust, including the
       terms of the Trust, or the recovery, liquidation, or abandonment of Trust Assets;

              (v)     Over conflicts and disputes among the Trust, the Reorganized Debtor and
       holders of Claims; and

              (w)     To make such orders as are necessary or appropriate to carry out the
       provisions of the Plan, including but not limited to orders interpreting, or enforcing the
       provisions thereof.

        In addition, the Bankruptcy Court shall retain jurisdiction to implement the provisions of
the Plan in the manner as provided under section 1142, sub-paragraphs (a) and (b) of the
Bankruptcy Code. If the Bankruptcy Court abstains from exercising, or declines to exercise
jurisdiction, or is otherwise without jurisdiction over any matter set forth in this Section, or if the


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Plan Proponents, or their successors, elects to bring an action or proceeding in any other forum,
then this Section shall have no effect upon and shall not control, prohibit or limit the exercise of
jurisdiction by any other court, public authority or commission having competent jurisdiction over
such matters.

                                     ARTICLE XXII.                                                     Formatted: No underline
                              BANKRUPTCY RULE 9019 REQUEST

      Pursuant to Bankruptcy Rule 9019 and through the Plan, the Plan Proponents request
approval of all compromises and settlements included in the Plan.

                              ARTICLE XXIII.                                                           Formatted: No underline
               INCORPORATION OF CHILD PROTECTION PROTOCOLS.                                            Formatted: No widow/orphan control


        The Child Protection Protocols are incorporated into and made a part of the Plan as if fully
set forth herein.

                                  ARTICLE XXIV.                                                        Formatted: No widow/orphan control
                       MISCELLANEOUS PROVISIONS OF THE PLAN

           A. Amendment or Modification of the Plan.

        On or before the Effective Date, the Plan or any exhibits hereto may be amended, modified,
or supplemented by the Plan Proponents in the manner provided for by section 1127 of the
Bankruptcy Code or as otherwise permitted by law without additional disclosure pursuant to
section 1125 of the Bankruptcy Code. In addition, after the Confirmation Date, the Reorganized
Debtor or Trust Administrator, as applicable, may institute proceedings in the Bankruptcy Court
to remedy any defect or omission or reconcile any inconsistencies in the Plan or the Confirmation
Order with respect to such matters as may be necessary to carry out the purposes and effects of the
Plan. The Plan Proponents may make appropriate technical adjustments and modifications to the
Plan prior to the Effective Date without further order or approval of the Bankruptcy Court.

           B. Revocation or Withdrawal of the Plan.

        The Plan Proponents reserve the right to revoke or withdraw the Plan before the
Confirmation Date. If the Plan Proponents revoke or withdraw the Plan before the Confirmation
Date, then the Plan shall be deemed null and void. In such event, nothing contained herein shall
constitute or be deemed a waiver or release of any Claims by or against the Debtor or the Trust
Administrator or to prejudice in any manner the rights of the Plan Proponents or the Trust
Administrator in any further proceedings.

           C. Reports.

        Until a Final Decree is entered, the Debtor or the Reorganized Debtor, as the case may be,
shall submit all post-Confirmation quarterly reports to the U.S. Trustee as required by the U.S.
Trustee guidelines (with a copy served on the Office of the U.S. Trustee) setting forth all receipts
and disbursements of the Debtor. The first report shall be filed within thirty (30) days after the
end of the quarter in which the Effective Date occurs. The Reorganized Debtor shall be responsible

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to request that a Final Decree be entered in this Chapter 11 Case. The Reorganized Debtor shall
also be responsible for any quarterly fees due to the U.S. Trustee from and after the Effective Date
until the Chapter 11 Case is closed.

           D. Severability of Plan Provisions.

        If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court
to be invalid, void or unenforceable, the Bankruptcy Court, at the request of the Plan Proponents,
shall have the power to alter and interpret such term or provision to make it valid or enforceable
to the maximum extent practicable, consistent with the original purpose of the term or provision
held to be invalid, void or unenforceable, and such term or provision shall then be applicable as
altered or interpreted. Notwithstanding any such holding, alteration or interpretation, the
remainder of the terms and provisions of the Plan shall remain in full force and effect and shall in
no way be affected, impaired or invalidated by such holding, alteration or interpretation. The
Confirmation Order shall constitute a judicial determination and shall provide that each term and
provision of the Plan, as it may be altered or interpreted in accordance with the foregoing, is valid
and enforceable pursuant to its terms.

           E. No Interest.

       Except as expressly stated in the Plan, no interest, penalty or late charge is allowed or shall
be paid on any Claim.

           F. Allocation of Distributions Between Principal and Interest.

       To the extent that any Allowed Claim entitled to a Distribution under the Plan comprises
indebtedness and accrued but unpaid interest thereon, such Distribution shall be allocated to the
principal amount of the Claim first and then, to the extent the consideration exceeds the principal
amount of the Claim, to accrued but unpaid prepetition interest.

           G. Notices.

        Any notices or requests by parties in interest under or in connection with the Plan shall be
in writing and served either by: (i) certified mail, return receipt requested, postage prepaid, (ii)
hand delivery, or (iii) reputable overnight delivery service, all charges prepaid, and shall be
deemed to have been given when received by the following parties:

 IF TO THE DEBTOR:                                  IF TO THE TORT COMMITTEE:                            Formatted Table


 TRENK ISABEL SIDDIQI &                             LOWENSTEIN SANDLER LLP
 SHAHDANIAN P.C.                                    Jeffrey D. Prol, Esq.
 Richard D. Trenk, Esq.                             Michael A. Kaplan, Esq.
 Robert S. Roglieri, Esq.                           Brent Weisenberg, Esq.
 290 Mt. Pleasant Avenue, Suite 2350,               One Lowenstein Drive
 Livingston, New Jersey 07037                       Roseland, NJ 07068
 Email: rtrenk@trenkisabel.law                      Email: jprol@lowenstein.com
 Email: rroglieri@trenkisabel.law                   Email: mkaplan@lowenstein.com
                                                    Email: bweisenberg@lowenstein.com

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           H. Controlling Documents.

        Notwithstanding anything to the contrary contained herein or in the Disclosure Statement,
in the event and to the extent that any provision of the Plan is inconsistent with any provision of
the Disclosure Statement, the provisions of the Plan shall control and take precedence. In the event
of any inconsistency between the Plan and the Confirmation Order, the Confirmation Order shall
control. In the event of any inconsistency among the Plan Documents, the Confirmation Order
and any Insurance Settlement Agreement, the Insurance Settlement Agreement shall control.

           I. Filing of Additional Documents.

       Prior to the Effective Date, the Plan Proponents may File with the Bankruptcy Court such
agreements or other documents as may be necessary or appropriate to effectuate and further
evidence the terms and conditions of the Plan that are not inconsistent with the terms of the Plan.
On or after the Effective Date, the Reorganized Debtor or the Trust Administrator may file with
the Bankruptcy Court such agreements or other documents as may be necessary or appropriate to
effectuate the terms and conditions of the Plan.

           J. Reservation of Rights.

       If the Plan is not confirmed by the Bankruptcy Court for any reason, the rights of the
Debtor, the Tort Committee and all parties in interest in the Bankruptcy Case shall and will be
reserved in full. Statements and provisions made in the Plan or in the Disclosure Statement are
made only for the purpose(s) of the Plan. If the Plan is withdrawn, the Confirmation Order is not
entered, or if the Effective Date does not occur, no Person shall be bound by or deemed prejudiced
by any such statement or provision.

           K. Computation of Time.

        In computing any period of time prescribed or allowed by the Plan, unless otherwise
specifically designated herein, the provisions of Bankruptcy Rule 9006(a) shall apply.

           L. Successors and Assigns.

        The rights, duties and obligations of any Person named or referred to in the Plan, including
all Creditors, shall be binding on, and shall inure to the benefit of, the successors and assigns of
such Person.

           M. Waiver of Subordination.

       Notwithstanding any provision of the Plan to the contrary, all holders of Claims shall be
deemed to have waived any and all contractual subordination rights to which they may have with
respect to the distributions made pursuant to the Plan and the Confirmation Order shall
permanently enjoin, effective as of the Effective Date, all holders of Claims from enforcing or
attempting to enforce any such rights against any Person receiving distributions under the Plan.



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           N. Post-Effective Date Professional Fees.

       The reasonable fees and actual and necessary expenses incurred after the Effective Date by
professionals for the Reorganized Debtor shall be paid by the Reorganized Debtor upon the
submission of an invoice to the Reorganized Debtor without the need for further notice to any
Person or approval by the Bankruptcy Court.

           O. Governing Law.

        Unless a rule of law or procedure is supplied by federal law, including the Bankruptcy
Code and Bankruptcy Rules, (a) the construction and implementation of the Plan and any
agreements, documents, and instruments executed in connection with the Plan and (b) governance
matters shall be governed by the laws of the State of New Jersey, without giving effect to the
principles of conflict of law thereof.

           P. Headings.

        Headings are used in the Plan for convenience and reference only and shall not constitute
a part of the Plan for any other purpose.

           Q. No Admissions.

      Notwithstanding anything herein to the contrary, nothing contained in the Plan shall be
deemed an admission by any entity with respect to any matter set forth herein.

                                       ARTICLE XXV.
                              RISK FACTORS/TAX CONSEQUENCES

     HOLDERS OF CLAIMS AGAINST THE DEBTOR SHOULD READ AND
CONSIDER CAREFULLY THE FACTORS SET FORTH BELOW, AS WELL AS THE
OTHER INFORMATION SET FORTH IN THIS DISCLOSURE STATEMENT AND THE
DOCUMENTS DELIVERED TOGETHER HEREWITH OR INCORPORATED BY
REFERENCE, PRIOR TO VOTING TO ACCEPT OR REJECT THE PLAN. THESE
FACTORS SHOULD NOT, HOWEVER, BE REGARDED AS CONSTITUTING THE
ONLY RISKS INVOLVED IN CONNECTION WITH THE PLAN AND ITS
IMPLEMENTATION. THERE ARE RISKS, UNCERTAINTIES, AND OTHER
IMPORTANT FACTORS THAT COULD CAUSE THE DEBTOR’S ACTUAL
PERFORMANCE OR ACHIEVEMENTS TO BE MATERIALLY DIFFERENT FROM
THOSE THEY MAY PROJECT, AND THE DEBTOR UNDERTAKES NO OBLIGATION
TO UPDATE ANY SUCH STATEMENT.

           A. Tax Consequences of Plan

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 To ensure compliance with requirements imposed by the Internal Revenue Service (the
 “IRS”), the Debtor informs all creditors that any U.S. federal tax advice contained in this
 communication (including any attachments) is not intended or written to be used, and

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 cannot be used, for the purpose of (i) avoiding tax-related penalties under the Internal
 Revenue Code or (ii) promoting, marketing or recommending to another party any
 transaction or tax-related matter(s) addressed herein.
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        CREDITORS AND INTEREST HOLDERS CONCERNED WITH HOW THE
PLAN MAY AFFECT THEIR TAX LIABILITY SHOULD CONSULT WITH THEIR
OWN ACCOUNTANTS, ATTORNEYS, AND/OR ADVISORS. The following disclosure of
possible tax consequences is intended solely for the purpose of alerting readers to possible tax
issues the Plan may present to Debtor. The Plan Proponents CANNOT and DO NOT represent
that the tax consequences contained below are the only tax consequences of the Plan because the
Tax Code embodies many complicated rules which make it difficult to state completely and
accurately all the tax implications of any action.

        Confirmation may have federal income tax consequences for the Debtor and Holders of
Claims. The Plan Proponents have not obtained and do not intend to request a ruling from the
Internal Revenue Service, nor have the Plan Proponents obtained an opinion of counsel with
respect to any tax matters. Any federal income tax matters raised by Confirmation of the Plan are
governed by the Internal Revenue Code and the regulations promulgated thereunder. The
following is intended to be a summary only and not a substitute for careful tax planning with a tax
professional. The federal, state and local tax consequences of the Plan may be complex in some
circumstances and, in some cases, uncertain. Accordingly, each Holder of a Claim is strongly
urged to consult with his or her own tax advisor regarding the federal, state, local and foreign tax
consequences of the Plan.

           B. Bankruptcy Risk Factors

       The following discussion is intended to be a non-exclusive summary of certain risks
attendant upon the consummation of the Plan. You are encouraged to supplement this summary
with your own analysis and evaluation of the Plan and Disclosure Statement, in their entirety, and
in consultation with your own advisors. Based on the analysis of the risks summarized below, the
Debtor believes that the Plan is viable and will meet all requirements of confirmation.

        Any entity emerging from Chapter 11 faces risks. In particular, the Debtor herein faces
the following risks: (i) the Diocese will need its parishioners and others to continue to support its
mission and programs; and (ii) the general economic conditions of the Diocese territory may have
a financial and service impact on its revenues and program needs.

                     a. Risk of Non-Confirmation of the Plan

        Although the Plan Proponents believe that the Plan satisfies all legal requirements
necessary for confirmation by the Bankruptcy Court, there can be no assurance that the Bankruptcy
Court will confirm the Plan as proposed. There can also be no assurance that modifications of the
Plan will not be required for confirmation or that such modifications would not necessitate a
solicitation of votes to accept or reject the Plan. If the Plan is not confirmed and consummated,
there can be no assurance that the Chapter 11 Case will continue rather than be dismissed. The
Bankruptcy Court, which sits as a court of equity, may exercise substantial discretion with respect
to the affairs of the Debtor during the Chapter 11 Case. Section 1129 of the Bankruptcy Code sets

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forth the requirements for confirmation of a plan and requires, among other things, that the value
of distributions to dissenting creditors not be less than the value of distributions such creditors and
shareholders would receive if the Debtor were liquidated under chapter 7 of the Bankruptcy Code.
Although the Plan Proponents believe that the Plan will meet such tests, there can be no assurance
that the Bankruptcy Court will reach the same conclusion.

       The Debtor could experience material adverse changes in its liquidity as a result of such
delay and increased administrative fees and expenses. Further, since Chapter 7 is not an option, a
dismissal will restart the “race to the courthouse” for Abuse Claimants. In addition, the Diocese
reserves the right to dismiss its Chapter 11 case. Such dismissal will jeopardize recoveries by
many claimants.

                     b. The Debtor May Object to the Amount or Classification of a Claim

        Except as otherwise provided in the Plan, the Plan Proponents reserve the right to object to
the amount or classification of any Claim under the Plan. The estimates set forth in this Disclosure
Statement cannot be relied on by any Holder of a Claim where such Claim is subject to an
objection. Any Holder of a Claim that is subject to an objection thus may not receive their expected
share of the estimated distributions described in this Disclosure Statement.

                     c. Risk of Additional or Larger Claims

        The Disclosure Statement and its attached exhibits necessarily include estimates, including
estimates of future events. These estimates include, but are not limited to, estimates of future
income and expenses, estimates as to the total amount of Claims that will be asserted against the
Debtor and the outcome of Disputed Claims. The Plan Proponents believe that the estimates
presented are reasonable and appropriate under the circumstances. Nevertheless, there is a risk
that unforeseen future events may cause one or more of these estimates to be materially inaccurate.
Among the potential risks is that additional Administrative Expense Claims may be asserted, that
Disputed Claims may be resolved at higher amounts than expected or that the resolution of such
Claims may require the expenditure of unanticipated professional fees. If one or more of these
estimates proves to be inaccurate, the amount of funds available for Distribution pursuant to the
Plan may be reduced.

                     d. Other Parties in Interest Might be Permitted to Propose Alternative
                        Plans of Reorganization

       Under the Bankruptcy Code, a debtor in possession initially has the exclusive right to
propose and solicit acceptances of a plan of reorganization. However, such exclusivity period can
be reduced or terminated upon order of the Bankruptcy Court, or it may expire under the applicable
provisions of the Bankruptcy Code. If such an order were to be entered or such expiration were to
occur, other parties in interest would then have the opportunity to propose alternative plans of
reorganization.

        If other parties in interest were to propose an alternative plan of reorganization following
expiration or termination of the Debtor’s exclusivity period, such a plan may be less favorable to
the Debtor, its Estate, and its stakeholders. In addition, if there were competing plans of
reorganization, the Chapter 11 Cases would likely become longer, more complicated, and more

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expensive, thereby reducing recoveries to holders of Claims.

                     e. Non-Consensual Confirmation

        If any Impaired Class of Claims does not accept or is deemed not to accept a plan of
reorganization, a Bankruptcy Court may nevertheless confirm such plan at the proponent’s request
if at least one Impaired Class has accepted the plan (with such acceptance being determined
without including the vote of any “insider” in such class), and as to each impaired class that has
not accepted the plan, the Bankruptcy Court determines that the plan “does not discriminate
unfairly” and is “fair and equitable” with respect to the dissenting impaired classes. If any Class
votes to reject or is deemed to reject the Plan, then these requirements must be satisfied with respect
to such rejecting Class. The Debtor believes that the Plan satisfies these requirements.

                     f. Parties in Interest May Object to the Debtor’s Classification of Claims

        Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an interest
in a particular class only if the claim or interest is substantially similar to the other claims or
interests in that class. Parties in interest may object to the classification of certain claims and
interests both on the grounds that certain claims and interests have been improperly placed in the
same Class and/or that certain claims have been improperly placed in different Classes. The Plan
Proponents believe that the classification of Claims under the Plan complies with the requirements
of the Bankruptcy Code because the Classes established under the Plan each encompass Claims
that are substantially similar to similarly classified Claims. Nevertheless, there can be no assurance
that the Bankruptcy Court will reach the same conclusion. Parties in interest may object to the
classification of certain Claims both on grounds that certain Claims have been improperly placed
in the same Class and/or that certain Claims and Interests have been improperly placed in different
Classes.

                     g. The Recovery to Holders of Allowed Claims and Abuse Claims Cannot
                        be Provided with Absolute Certainty

        Due to the inherent uncertainties associated with projecting financial results, litigation
outcomes, and the projected of number and amount of Abuse Claims that will be liquidated
pursuant to the Trust Distribution Procedures, the projections contained in this Disclosure
Statement should not be considered assurances or guarantees of the amount of Claims that may be
allowed in the various Classes or amounts that will be paid by the Trust on account of Abuse
Claims. While the Debtor believes that the projections and estimates contained in this Disclosure
Statement are reasonable, including with respect to the number and valuation range related to
Abuse Claims, certain parties, such as the Tort Committee, have indicated that they believe that
the projected number and value of the Abuse Claims is much higher than the Debtor has projected.
To the extent that Claims, including Abuse Claims, are allowed at numbers or amounts that are
higher than the total projected number or valuation ranges for each Class, distributions/recoveries
to holders of Claims, including Abuse Claim may be lower, and there can be no assurance that the
distributions/recoveries set forth in the projections in the Disclosure Statement will be realized.
Also, because the Liquidation Analysis, distribution projections, and other information contained
herein and attached hereto are estimates only, the timing and amount of actual distributions to
holders of Allowed Claims and Abuse Claims satisfied by the Trust in accordance with the Trust


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Distribution Procedures, if applicable, may be affected by many factors that cannot be predicted.

                     h. Distributions Under the Trust Distribution Procedures

        Abuse Claims, including Unknown Abuse Claims, will be resolved pursuant to the Trust
Agreement, and their treatment will be based upon, among other things, estimates of the number,
types, and amount of Abuse Claims, the value of the assets of the Trust, the liquidity of the Trust,
the Trust’s expected future income and expenses, and other matters. There can be no certainty as
to the precise amounts that will be distributed by the Trust in any particular time period or when
Abuse Claims will be resolved by the Trust. In addition, the Plan Proponents believe that the
insurance assignment provided for in the Plan represents a valuable asset of the Trust. The Plan
Proponents cannot, at this time, predict the value of the insurance assignment. The Trust is being
assigned the insurance proceeds of the Debtor. The sole cost of litigating these claims will be
borne by the Trust. This may affect the timing and value of the distributions made from the Trust
to Abuse Claims.

                     i. Amendment of Plan Prior to Confirmation by the Debtor

       The Plan Proponents, subject to the terms and conditions of the Plan, reserve the right to
modify the terms and conditions of the Plan or waive any conditions thereto if and to the extent
necessary or desirable for confirmation. The potential impact of any such amendment or waiver
on holders of Claims cannot presently be foreseen but may include a change in the economic
impact of the Plan on some or all of the proposed Classes or a change in the relative rights of such
Classes.

                     j. Financial Projections

        The Debtor has prepared financial projections based on certain assumptions, as set forth
herein. The projections have not been compiled, audited, or examined by independent accountants,
and neither the Debtor nor its advisors make any representations or warranties regarding the
accuracy of the projections or the ability to achieve forecasted results.

        Many of the assumptions underlying the projections are subject to significant uncertainties
that are beyond the control of the Debtor, including the timing, Confirmation, and consummation
of the Plan. Some assumptions may not materialize, and unanticipated events and circumstances
may affect the actual results. Projections are inherently subject to substantial and numerous
uncertainties and to a wide variety of significant economic, and operational risks, and the
assumptions underlying the projections may be inaccurate in material respects. In addition,
unanticipated events and circumstances occurring after the approval of this Disclosure Statement
by the Bankruptcy Court including any natural disasters, terrorist attacks, or health epidemics may
affect the actual financial results achieved. Such results may vary significantly from the forecasts
and such variations may be material. The Debtor’s projections reflect expectations of continued
donor support. However, the Debtor cannot state with certainty that such donation programs will
achieve their targeted results.

                     k. Potential Settlements

       The Plan Proponents have been in negotiations with certain mediation parties in hopes of

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resolving certain controversies related to the structure of the Plan and the level of contribution by
the Insurers, which may result in additional settlements pursuant to Bankruptcy Rule 9019 and
may be included in the Plan. If a Settlement Agreement is reached, the Plan may be modified prior
to the Confirmation Hearing to incorporate any number of resolutions. The potential impact of any
such settlements or resolutions on holders of Claims cannot presently be foreseen but may include
a change in the economic impact of the Plan on some or all of the proposed Classes or a change in
the relative rights of such Classes.

       However, certain parties may object to such settlements, including with respect to the
contribution amounts in such settlements. Additionally, there can be no assurance the Bankruptcy
Court will approve the Plan, including such settlements over objections. If the settlements are not
approved, the amounts will not be contributed to the Trust.

        Moreover, if the Plan Proponents reach settlements with Insurers, such insurers will
provide contributions to the Trust in order to be treated as a “Settling Insurer” under the Plan. It is
likely that such settlements may involve the sale of insurance policies issued by such insurance
company back to such insurance company in exchange for a contribution to the Trust.

                     l. Insurance Contributions

       If the Plan Proponents are unable to reach a settlement with the Insurers, there is a risk that
the Trust may not realize contributions from Insurers, or that the Trust’s efforts to realize
recoveries on account of the insurance coverage will be the subject of litigation that is expensive
and time consuming and in which Insurers could raise meritorious coverage defenses that may
reduce the amount of coverage available under the respective insurance policy.

                     m. Insurance Coverage Actions

         In accordance with the Plan, the Debtor will contribute to the Trust, among other things,
rights to its insurance policies (but not the policies themselves), which includes the pending
Insurance Coverage Adversary Proceeding. It is not currently known whether the Insurance
Coverage Adversary Proceeding will result in a favorable outcome for the Trust. Even if a
favorable outcome is realized, the amounts awarded and the costs associated with pursuing such
litigation cannot be determined at this time. Therefore, the ultimate value of the Insurance Action
being contributed to the Trust is unknown.

                     n. Insurance Coverage Risks

        The Insurers have reserved rights to contest various Abuse Claims tendered to them based
on various coverage defenses. While the Plan Proponents believe these defenses have no merit and
are working to resolve these disputes, to the extent any of these defenses prevail, rights to payment
with respect to such insurance policies related to Abuse Claims could be reduced or barred entirely.

        Additionally, the obligation to pay certain deductibles or self-insured retentions under
certain insurance policies is disputed. The Debtor may not be able to pay the deductibles or self-
insured retentions. This could affect payments from the Insurers and whether the Debtor can
access excess policy limits.


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        Any of the forgoing disputes could potentially reduce or eliminate the right to payment
under certain insurance policies. Moreover, defenses, disputes, and other relevant circumstances
could arise that could potentially reduce or eliminate the right to payment under certain insurance
policies.

                      o. Insurance Assignment Risks

        Pursuant to the Plan, the insurance rights of the Debtor, including the Other Catholic
Entities, under their insurance policies will be assigned and transferred to the Trust to be used to
satisfy Abuse Claims in accordance with the Trust Distribution Procedures. Certain parties in
interest, including certain of the Insurers, contest the ability of the Debtor to assign those rights
under these insurance policies to the Trust without insurer consent. To the extent that such
assignment is not allowed, the assets contributed to the Trust to satisfy Abuse Claims will be
reduced or insurance coverage may be voided by the assignment.

                      p. Failure to Obtain Approval of Releases, Injunctions, and Exculpation,
                         Including the Channeling Injunction

        The Plan provides for certain Releases, Injunctions (including the Channeling Injunction),
and exculpations, including third-party releases that may otherwise be asserted against the Debtor,
the Reorganized Debtor, the Released Parties and their respective related parties, or Covered
Parties, as applicable. The Releases, Injunctions, and exculpations (including, the Channeling
Injunction) provided in the Plan are subject to objection by parties in interest and may not be
approved.

        In the Third Circuit, non-consensual third-party releases are permissible if they satisfy the
Continental hallmarks of “fairness and necessity to the reorganization,” which must be supported
by specific factual findings. In re Millennium Lab Holdings II, LLC, 575 B.R. 252, 272 (Bankr.
D. Del. 2017) (citing Gillman v. Cont’l Airlines (In re Cont’l Airlines), 203 F.3d 203, 214 (3d Cir.
2000)). In determining whether such a release satisfies this standard, courts apply the Master
Mortgage factors: (1) an identity of interest between the debtor and the third party, such that a suit
against the non-debtor is, in essence, a suit against the debtor or will deplete assets of the estate;
(2) substantial contribution by the non-debtor of assets to the reorganization; (3) the essential
nature of the injunction to the reorganization to the extent that, without the injunction, there is little
likelihood of success; (4) an agreement by a substantial majority of creditors to support the
injunction, specifically if the impacted class or classes ‘overwhelmingly’ votes to accept the plan;
and (5) provision in the plan for payment of all or substantially all of the claims of the class or
classes affected by the injunction. Id. (quoting In re Zenith Elecs. Corp., 241 B.R. 92, 110 (Bankr.
D. Del. 1999)). “These factors are neither exclusive nor conjunctive requirements, but simply
provide guidance in the Bankruptcy Court’s determination of fairness.” In re Washington Mut.
Inc., 442 B.R. 314, 346 (Bankr. D. Del. 2011).

         If the Releases are not approved, including the non-consensual third-party releases, certain
parties may not be considered Released Parties or Covered Parties, and certain of these parties
could withdraw their support for the Plan and/or contributions to the Trust based on the Plan’s
failure, absent such releases, to release and enjoin claims against such parties.



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                     q. The Channeling Injunction

        The Channeling Injunction, which, among other things, bars the assertion of any Abuse
Claims against the Covered Parties, is a necessary element of the Plan. Although the Plan, the
Trust Agreement, and the Trust Distribution Procedures all have been drafted with the intention of
complying with the Bankruptcy Code, there is no guarantee that the validity and enforceability of
the Channeling Injunction or the application of the Channeling Injunction to Abuse Claims will
not be challenged, either before or after Confirmation of the Plan. While the Plan Proponents
believe that the Plan satisfies the requirements of the Bankruptcy Code, certain objections might
be lodged on grounds that the requirements of the Bankruptcy Code cannot be met given the unique
facts of the Chapter 11 Cases. At this juncture, the Plan Proponents believe that the Plan provides
a sufficient basis for the issuance of the Channeling Injunction under section 105(a) of the
Bankruptcy Code.

                     r. Voting Requirements

       If sufficient votes are not received, the Plan Proponents may seek to confirm an alternative
chapter 11 plan. There can be no assurance that the terms of any such alternative chapter 11 plan
would be similar or as favorable to the holders of Allowed Claims and Abuse Claims satisfied by
the Trust in accordance with the Trust Distribution Procedures as those proposed in the Plan.

                     s. Time Risk

       There is a material risk that failure to emerge from the Chapter 11 Case in a timely manner
could endanger the future of the Diocese. In order to rebuild trust of its congregants, the Debtor
must emerge from the cloud of this Chapter 11 Case. If the support of the Diocese’s community is
substantially reduced from projections, the Diocese could lack the means to meet their operational
needs or otherwise emerge from bankruptcy. Timely emergence from Chapter 11 is essential to
the Debtor’s ability to maintain its operations and mission.

         Substantial professional fees will continue to accrue until a plan is confirmed and becomes
effective. At this time, the Debtor’s bankruptcy estate bears the burden for the fees of the
professionals and advisors to the Debtor, the Tort Committee, and the Trade Committee. In
addition, the Debtor is required to pay the fees of its lender, PNC Bank. The length of the case
also requires continued fees for the United States Trustee. Such fees are substantial. To date the
Debtor has incurred more than $7 million in professional fees related to this restructuring. By the
end of December 2021, the Debtor estimates the professional fees in the Chapter 11 Cases will
equal or exceed $10 million. Each successive month costs the estate approximately $1 million or
more. The Debtor believes this is wholly inappropriate for a non-profit chapter 11 proceeding and
seeks to emerge from bankruptcy as soon as possible to stop the accrual of additional professional
fees. The potential for protracted litigation with insurance companies is great and will cause
increased costs and expenses to the Debtor, including with respect to professional fees. If such
litigation ensues, there is a material risk that professional fees could be much higher than the
Debtor anticipates or is able to pay.




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                     t. Parties in Interest May Object to the Plan Based on Section 1129(a)(7)            Formatted: No widow/orphan control
                        of the Bankruptcy Code

        The Debtor may need to satisfy the “best interests of creditors” test, embodied in section
1129(a)(7) of the Bankruptcy Code. As a threshold matter, the Debtor does not believe the best
interests test applies to non-profit organizations such as the Debtor in light of the restrictions on
the forced sale of a non-profit’s assets under the Bankruptcy Code and applicable state law. If the
Bankruptcy Court disagrees with this position, then the best interests test should apply only with
respect to recoveries of claimants on account of their claims against the Debtor in a hypothetical
liquidation of the Debtor. However, to the extent the Bankruptcy Court determines that the Plan
must satisfy the best interests test, the Debtor will be prepared at confirmation to address those
standards, including through the Liquidation Analysis, which shows that the Debtor satisfies the
test, and/or through other expert testimony related to whether holders of Impaired Claims will
receive or retain under the Plan property of a value, as of the Effective Date, that is not less than
the value such holder would receive in a liquidation under chapter 7. If the Bankruptcy Court
determines that the Plan does not satisfy the requirements of the best interests test, to the extent it
applies, the Plan may not be Confirmed or may only be Confirmed with modifications, including
potential modifications to the nonconsensual third party releases included in the Plan. If the Plan
cannot be Confirmed because of this issue, the Debtor’s options going forward may be limited to:
(1) reaching agreement on a fully consensual plan; (2) satisfying the best interest of creditors test;
and (3) voluntary or involuntary dismissal.

                     u. Historical Financial Information of the Debtor

       As a result of the consummation of the Plan and the transactions contemplated thereby, the
financial condition and results of operations of the Reorganized Debtor from and after the Effective
Date may not be comparable to the financial condition or results of operations reflected in the
Debtor’s historical financial statements.

           C. Other Factors

                     a. Plan Proponents Could Withdraw the Plan

       Subject to, and without prejudice to, the rights of any party in interest, the Plan may be
revoked or withdrawn before the Confirmation Date by the Plan Proponents.

                     b. Plan Proponents Have No Duty to Update

        The statements contained in this Disclosure Statement are made by the Plan Proponents as
of the date hereof, unless otherwise specified herein, and the delivery of this Disclosure Statement
after that date does not imply that there has been no change in the information set forth herein
since that date. Additionally, the Plan Proponents have no duty to update this Disclosure Statement
unless otherwise ordered to do so by the Bankruptcy Court.

                     c. No Representations Outside this Disclosure Statement Are Authorized

       No representations concerning or related to the Debtor, the Chapter 11 Case, or the Plan
are authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this

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Disclosure Statement. Any representations or inducements made to secure your acceptance or
rejection of the Plan that are other than those contained in, or included with, this Disclosure
Statement should not be relied upon in making the decision to accept or reject the Plan.




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                     d. No Legal or Tax Advice Is Provided by this Disclosure Statement                    Formatted: No widow/orphan control


        The contents of this Disclosure Statement should not be construed as legal, business, or tax
advice. Each holder of a Claim should consult its own legal counsel and accountant as to legal,
tax, and other matters concerning their Claim or Interest. This Disclosure Statement is not legal
advice to you. This Disclosure Statement may not be relied upon for any purpose other than to
determine how to vote on the Plan or object to Confirmation of the Plan.

                     e. No Admission Made

       Nothing contained herein or in the Plan shall constitute an admission of, or shall be deemed
evidence of, the tax or other legal effects of the Plan on the Debtor or holders of Claims or Interests.

                                       ARTICLE XXVI.
                                  FEASIBILITY OF THE PLAN

        As a condition to Confirmation, section 1129(a)(11) of the Bankruptcy Code involves the
feasibility of the Plan, which means that confirmation of the Plan is not likely to be followed by
the liquidation or the need for further financial reorganization of Debtor or any successor to Debtor
under the Plan.

        There are at least two important aspects of a feasibility analysis. The first aspect considers
whether Debtor will have enough cash on hand on the Effective Date of the Plan to pay all the
claims and expenses that are entitled to be paid on such date. The Debtor maintains that this aspect
of feasibility is satisfied as illustrated here, based upon the value of the Debtor’s assets.

        The second aspect considers whether the Debtor will have enough cash over the life of the
Plan to make the required Plan payments. The Debtor believes that this second aspect of the
feasibility requirement is met based on the work in progress and historical performance. A copy
of the Debtor’s projections is annexed hereto as Exhibit B. Accordingly, the Debtor believes, on
the basis of the foregoing, that the Plan is feasible.

      ALTHOUGH EVERY EFFORT WAS MADE TO BE ACCURATE, THE
PROJECTIONS WERE NOT PREPARED WITH A VIEW TOWARD COMPLIANCE WITH
THE GUIDELINES ESTABLISHED BY THE AMERICAN INSTITUTE OF CERTIFIED
PUBLIC ACCOUNTS OR IN ACCORDANCE WITH GENERALLY ACCEPTED
ACCOUNTING PRINCIPALS IN THE UNITED STATES, THE FINANCIAL ACCOUNTING
STANDARDS BOARD, OR THE RULES AND REGULATIONS OF THE SECURITIES AND
EXCHANGE COMMISSION REGARDING PROJECTIONS. FURTHERMORE, NEITHER
THE DEBTOR’S ACCOUNTANTS, NOR ANY OTHER ACCOUNTANTS, HAVE
COMPILED, EXAMINED, OR PERFORMED ANY PROCEDURES WITH RESPECT TO THE
PROJECTIONS CONTAINED HEREIN, NOR HAVE THEY EXPRESSED ANY OPINION OR
ANY OTHER FORM OF ASSURANCE ON SUCH INFORMATION OR ITS
ACHIEVABILITY, AND ASSUME NO RESPONSIBILITY FOR, AND DISCLAIM ANY
ASSOCIATION WITH, THE PROSPECTIVE FINANCIAL INFORMATION. WHILE
PRESENTED WITH NUMERICAL SPECIFICITY, THE PROJECTIONS ARE BASED ON A
VARIETY OF ASSUMPTIONS, WHICH MAY NOT BE REALIZED, AND ARE SUBJECT TO
SIGNIFICANT BUSINESS, ECONOMIC AND COMPETITIVE UNCERTAINTIES AND

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CONTINGENCIES, WHICH ARE BEYOND THE CONTROL OF THE DEBTOR.
CONSEQUENTLY, THE PROJECTIONS SHOULD NOT BE REGARDED AS A
REPRESENTATION OR WARRANTY BY THE DEBTOR, OR ANY OTHER PERSON, THAT
THE PROJECTIONS WILL BE REALIZED. ACTUAL RESULTS MAY VARY
MATERIALLY FROM THOSE PRESENTED IN THE PROJECTIONS. HOLDERS OF
CLAIMS MUST MAKE THEIR OWN DETERMINATION AS TO THE REASONABLENESS
OF SUCH ASSUMPTIONS AND THE RELIABILITY OF THE PROJECTIONS IN
REACHING THEIR DETERMINATIONS OF WHETHER TO ACCEPT OR REJECT THE
PLAN. THE DEBTOR’S FINANCIAL ADVISORS HAVE NOT EXPRESSED AN OPINION
ON OR MADE A REPRESENTATION REGARDING THE ACHIEVABILITY OF THE
FINANCIAL PROJECTIONS.

                                      ARTICLE XXVII.
                                   BEST INTERESTS TEST

        Another confirmation requirement is the “Best Interest Test,” which requires a liquidation
analysis. Under the Best Interest Test, if a claimant is in an impaired class and that claimant does
not vote to accept the Plan, then that claimant must receive or retain under the Plan property of a
value not less than the amount that such holder would receive or retain if the Debtor’s assets were
liquidated under Chapter 7 of the Bankruptcy Code.

        In a Chapter 7 case, the Debtor’s assets are usually sold by a Chapter 7 trustee. Secured
creditors are paid first from the sales proceeds of properties on which the secured creditor has a
lien. Administrative claims are paid next. Next, unsecured creditors are paid from any remaining
sales proceeds, according to their rights to priority. Unsecured creditors with the same priority
share in proportion to the amount of their allowed claims.

       In order for the Bankruptcy Court to be able to confirm the Plan, the Bankruptcy Court
must find that all creditors who do not accept the Plan will receive at least as much under the Plan
as such holders would receive under a Chapter 7 liquidation. The Debtor maintains that this
requirement is met here for the following reasons:

        Conversion of the case to Chapter 7 is not available because the Diocese is a nonprofit
religious corporation. 11 U.S.C. § 303(a). Therefore, the only remedy available would be
dismissal under 11 U.S.C. § 1112. If dismissal occurred, the “race to the courthouse” would ensue.
In such event, it is highly likely that many creditors would be treated unfairly and inequitably
because the first creditor(s) to obtain judgments would likely substantially deplete the available
assets. In addition, the resources needed to adjudicate the claims would be substantial.

        As such, the Debtor believes that secured, priority unsecured, and general unsecured
creditors are better off by implementation of the Chapter 11 Plan of Reorganization, as opposed to
dismissal of the case. A copy of the Debtor’s liquidation analysis is annexed hereto as Exhibit E.

                                   ARTICLE XXVIII.
                          PLAN PROPONENTS’ RECOMMENDATION

       THE PLAN PROPONENTS RECOMMEND THAT ALL STAKEHOLDERS VOTE
TO    “ACCEPT” THE PLAN. THE PLAN PROPONENTS BELIEVE THAT

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CONFIRMATION OF THE PLAN IS PREFERABLE TO ANY OF THE ALTERNATIVES
DESCRIBED ABOVE AND THAT THE PLAN IS DESIGNED TO PROVIDE GREATER
RECOVERIES THAN THOSE AVAILABLE IN ANY OTHER FORM OF
LIQUIDATION. ANY OTHER ALTERNATIVE WOULD CAUSE SIGNIFICANT
DELAY AND UNCERTAINTY, AS WELL AS ADDITIONAL ADMINISTRATIVE
COSTS.
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Dated: May 2, 2022                          THE DIOCESE OF CAMDEN, NEW JERSEY           Formatted: Normal, No bullets or numbering, No
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                                                                                        numbers
                                            By: Reverend Robert E. Hughes
                                               Reverend Robert E. Hughes,
                                               Vicar General

                                                   -   and -

Dated: May 2, 2022                          TRENK ISABEL SIDDIQI
                                             & SHAHDANIAN P.C.

                                            /s/ Richard D. Trenk
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                                            Robert S. Roglieri, Esq.
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                                        Counsel to The Diocese of Camden, New Jersey,
                                        Chapter 11 Debtor and Debtor-in-Possession
                                       ARTICLE XXIV.
                             TRADE COMMITTEE’S RECOMMENDATION

     AS SET FORTH IN DETAIL IN THE TRADE COMMITTEE STATEMENT
CIRCULATED HEREWITH, THE TRADE COMMITTEE RECOMMENDS THAT
CLASS 3 CLAIMANTS VOTE TO “ACCEPT” THE PLAN. THE TRADE COMMITTEE
BELIEVES THAT TREATMENT OF CLASS 3 CLAIMANTS UNDER THE PLAN IS
FAIR AND EQUITABLE.

Dated: June 1, 2022                             Dated: June 1, 2022

THE DIOCESE OF CAMDEN,                          THE OFFICIAL COMMITTEE OF
NEW JERSEY                                      TORT CLAIMANT CREDITORS

By: /s/ Rev. Robert E. Hughes                   By: /s/ John Collins


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Reverend Robert E. Hughes,               John Collins
Vicar General/Vice President             Co-Chairperson

Dated: June 1, 2022                      Dated: June 1, 2022

TRENK ISABEL SIDDIQI &                   LOWENSTEIN SANDLER LLP
SHAHDANIAN P.C.
                                         By: /s/ Jeffrey Prol
By: /s/ Richard D. Trenk                 Jeffrey Prol, Esq.
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Robert S. Roglieri, Esq.                 Brent Weisenberg, Esq.

Counsel to The Diocese of Camden, New Counsel to the Official Committee
Jersey                                of Tort Claimant Creditors
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